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 Fill in this information to identify the case:

 Debtor name         Integrated Wealth Management, Inc., a California corporation

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)           6:17-bk-15816-MH
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Amber Lembo                                               Check all that apply.
           84156 Azzura Way                                             Contingent
           Indio, CA 92203                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Andrew Castro                                             Check all that apply.
           1465 C Street, #3214                                         Contingent
           San Diego, CA 92101                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                                     Case number (if known)   6:17-bk-15816-MH
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Brenda Wallace                                             Check all that apply.
          41633 Adams Street, Apt #3                                    Contingent
          Indio, CA 92203                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Cortnie Deakyne                                            Check all that apply.
          79090 Ave 42 #N 202                                           Contingent
          Indio, CA 92203                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Dana Sanchez                                               Check all that apply.
          42349 Whisper Rock Street                                     Contingent
          Indio, CA 92203                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          David Thatcher                                             Check all that apply.
          43228 Moore Circle                                            Contingent
          Indio, CA 92203                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                                     Case number (if known)   6:17-bk-15816-MH
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Employment Dev. Dept.                                      Check all that apply.
          Bankruptcy Group MIC 92E                                      Contingent
          PO Box 826880                                                 Unliquidated
          Sacramento, CA 94280-0001                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Employment Development Dept.                               Check all that apply.
          800 Capitol Mall                                              Contingent
          Sacramento, CA 95814                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Erik Mora, RICP                                            Check all that apply.
          10 Michael Road                                               Contingent
          Ladera Ranch, CA 92694                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Financial Industry Regulatory                              Check all that apply.
          Auth.                                                         Contingent
          Attn: Legal Department                                        Unliquidated
          1735 K Street, NW
          Washington, DC 20006                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                                     Case number (if known)   6:17-bk-15816-MH
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Franchise Tax Board                                        Check all that apply.
          Bankruptcy Section MS: A-340                                  Contingent
          PO Box 2952                                                   Unliquidated
          Sacramento, CA 95812-2952                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                   Contingent
          Philadelphia, PA 19101-7346                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          John Wong, CIA, CRMA                                       Check all that apply.
          847 N. Topaz Circle                                           Contingent
          Palm Springs, CA 92262                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Kamryn Hafer                                               Check all that apply.
          73-905 Krug Avenue                                            Contingent
          Palm Desert, CA 92260                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                                     Case number (if known)   6:17-bk-15816-MH
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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Lee Ellen Walker                                           Check all that apply.
          72551 Theodora Lane                                           Contingent
          Palm Desert, CA 92260                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Nicole Smaga                                               Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Orange County Tax Collector                                Check all that apply.
          630 N. Broadway                                               Contingent
          Santa Ana, CA 92701                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Paula Hart                                                 Check all that apply.
          8309 Payton                                                   Contingent
          Irvine, CA 92620                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                                     Case number (if known)   6:17-bk-15816-MH
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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Penny Salamida                                             Check all that apply.
          76906 Scimitar Way                                            Contingent
          Palm Desert, CA 92211                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,993.08      $3,993.08
          Riverside Co. Tax Collector                                Check all that apply.
          4080 Lemon St.                                                Contingent
          PO Box 12005                                                  Unliquidated
          Riverside, CA 92501-3660                                      Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Property taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Ryan Delaney                                               Check all that apply.
          20740 Via Marisa                                              Contingent
          Yorba Linda, CA 92886                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Former Employee. Notice Purposes Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          Securities Investor Protection                             Check all that apply.
          Corp                                                          Contingent
          Attn: Legal Dept.                                             Unliquidated
          1667 K. Street. N.W., Suite 1000
          Washington, DC 20006                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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               Integrated Wealth Management, Inc., a California
 Debtor        corporation                                                                                    Case number (if known)          6:17-bk-15816-MH
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 2.23       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $0.00    $0.00
            State Board of Equalization                              Check all that apply.
            Executive Director                                          Contingent
            450 N. Street, MIC: 73                                      Unliquidated
            Sacramento, CA 95814-0073                                   Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     For notice purposes only.
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           A New Team                                                                  Contingent
           PO Box 431                                                                  Unliquidated
           Tuckahoe, NY 10707                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Notice Purposes Only
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           A Plus Cabinets, Inc.                                                       Contingent
           3465 E La Campana Way                                                       Unliquidated
           Palm Springs, CA 92262                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Notice Purposes Only
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           A&J's Moving and Delivery, Inc.                                             Contingent
           870 Research Drive #10                                                      Unliquidated
           Palm Springs, CA 92262                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Notice Purposes Only
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           A-1 Communicatons                                                           Contingent
           1022 N. Heliotrope Dr                                                       Unliquidated
           Los Angeles, CA 90029                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Notice Purposes Only
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           A.G.S                                                                       Contingent
           P.O.Box 747                                                                 Unliquidated
           La Quinta, CA 92253                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Notice Purposes Only
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ABC Recovery Center Inc.                                              Contingent
          44-359 Palm St.                                                       Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abdullah, Aidah                                                       Contingent
          8000 Glider Avenue                                                    Unliquidated
          Los Angeles, CA 90452                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Above All Advertising Inc.                                            Contingent
          6980 Corte Sante Fe                                                   Unliquidated
          San Diego, CA 92121                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Abriss, Arthur                                                        Contingent
          80570 Knightswood Rd                                                  Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Access Medical Group                                                  Contingent
          4644 Lincoln Blvd.                                                    Unliquidated
          Marina Del Rey, CA 90292                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ace Parking                                                           Contingent
          610 Newport Center Drive, Ste 50                                      Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $675.00
          Ace Parking Management, Inc.                                          Contingent
          Attn: Corp. Officer                                                   Unliquidated
          610 Newport Center Dr., Ste. 50                                       Disputed
          Newport Beach, CA 92660
                                                                             Basis for the claim:    Parking fees
          Date(s) debt was incurred Various
          Last 4 digits of account number 5143                               Is the claim subject to offset?     No       Yes




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 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ace Printing                                                          Contingent
          948 S. Vella Road                                                     Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Acqua Pazza                                                           Contingent
          71800 Highway 111                                                     Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Act for MS                                                            Contingent
          73-710 Fred Waring Dr. Ste 118                                        Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Actor Susan                                                           Contingent
          906 South Tenth Street                                                Unliquidated
          Mount Vernon, WA 98274                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Actors Fund                                                           Contingent
          5757 Wilshire Blvd. Suite 400                                         Unliquidated
          Los Angeles, CA 90036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Actuarial Benefits Corp.                                              Contingent
          2790 Skypark Dr. Ste. 300                                             Unliquidated
          Torrance, CA 90505-5345                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adame, Angelica                                                       Contingent
          970 Green Bay Court                                                   Unliquidated
          Ventura, CA 93004                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adams, Joseph                                                         Contingent
          205 Carrizo Dr                                                        Unliquidated
          Santa Barbara, CA 93015                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Advance Lock & Key                                                    Contingent
          2478 Lincoln Blvd.                                                    Unliquidated
          Venice, CA 90921                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Advent Software                                                       Contingent
          301 Brannan Street                                                    Unliquidated
          San Francisco, CA 94107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Adviser 2 Advisors LLC                                                Contingent
          1650 Talmadge Street                                                  Unliquidated
          Los Angeles, CA 90027                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Advisor Consultant Network, Inc. (ACN)                                Contingent
          600 Superior Avenue Suite 1300                                        Unliquidated
          Cleveland, OH 00044-1144                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Advisor Growth Strategies LLC                                         Contingent
          2850 East Camelback Road Suite 200                                    Unliquidated
          Phoenix, AZ 85016                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aetna                                                                 Contingent
          P. O. Box 894938                                                      Unliquidated
          Los Angelas, CA 90189-4938                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AFCO                                                                  Contingent
          Department 7200                                                       Unliquidated
          Los Angeles, CA 90088                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AFP Attn: AFP Desert Communities Chapter                              Contingent
          P.O Box 2213                                                          Unliquidated
          Palm Desert, CA 92261                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AFTRA Foundation                                                      Contingent
          5757 Wilshire Boulevard 9th Fl.                                       Unliquidated
          Los Angeles, CA 90036-0800                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Agua Caliente Cultural Museum                                         Contingent
          901 E. Taquitz Canyon Way                                             Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AICCO, Inc.                                                           Contingent
          777 South Figueroa Street                                             Unliquidated
          Los Angeles, CA 90017                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AIDS Services Foundation Orange County                                Contingent
          17982 Sky Park Circle Suite J                                         Unliquidated
          Irvine, CA 92614                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aihara, Carlton                                                       Contingent
          30 Cabrillo Terrace                                                   Unliquidated
          Alisco Viejo, CA 92656                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Al Miller & Sons Roofing Co, Inc                                      Contingent
          68760 Summit Dr.                                                      Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexander, Terry                                                      Contingent
          420 Mckinley St #111-476                                              Unliquidated
          Corona, CA 92879                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alexandra Sasha Meshkov                                               Contingent
          P.O. Box 10192                                                        Unliquidated
          Palm Desert, CA 92255-0192                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          All Smiles Valet, Inc.                                                Contingent
          P.O. Box 11035                                                        Unliquidated
          Palm Desert, CA 92255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          All Valley Appliance                                                  Contingent
          72-295 Ramon Road                                                     Unliquidated
          Thousand Palms, CA 92276                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Allred, Harold                                                        Contingent
          2251 E Smokewood Ave                                                  Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Allstate                                                              Contingent
          P.O. Box 660642                                                       Unliquidated
          Dallas, TX 75266-0642                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALSAC/St. Jude Children's Research Hospi                              Contingent
          12365 Lewis St Ste 101                                                Unliquidated
          Garden Grove, CA 92840                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alvarez, Delia                                                        Contingent
          2443 Fillmore St PMB 433                                              Unliquidated
          San Francisco, CA 94115                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Always Open Safe & Lock                                               Contingent
          45058 Larkspur Lane                                                   Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alzheimer's Association                                               Contingent
          5900 Wilshire Blvd.                                                   Unliquidated
          Los Angeles, CA 90036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amangani Resort                                                       Contingent
          1535 North East Butte Road                                            Unliquidated
          Jackson, WY 83001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amber Lembo                                                           Contingent
          84156 Azzura Way                                                      Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amber Lembo                                                           Contingent
          P.O Box 1122                                                          Unliquidated
          Desert Hot Springs, CA 92240                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American Cancer Society California Divis                              Contingent
          73161 Fred Waring                                                     Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American Express                                                      Contingent
          P.O. Box 0001                                                         Unliquidated
          Los Angeles, CA 90096                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American Heart Association                                            Contingent
          74-020 Allesandro                                                     Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American Realty Capital                                               Contingent
          P.O. Box 219865                                                       Unliquidated
          Kansas City, MO 64121-9865                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American Red Cross of Riverside County                                Contingent
          P.O.Box 55040                                                         Unliquidated
          Riverside, CA 92517                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American Registry, LLC                                                Contingent
          1040 Holland Drive                                                    Unliquidated
          Boca Raton, FL 33487                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American United Life Insurance Co.                                    Contingent
          5391 Reliable Parkway                                                 Unliquidated
          Chicago, IL 60686-0058                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American Youth Soccer Organization                                    Contingent
          68575 Conceptcion Rd.                                                 Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amesqua Gloria                                                        Contingent
          2441 Pepperwood Ave                                                   Unliquidated
          Long Beach, CA 90815                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ammons Elizabeth                                                      Contingent
          1807 Amalfi Drive                                                     Unliquidated
          Encinitas, CA 93003                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amy Kaufman                                                           Contingent
          68597 La Medera Road                                                  Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          An, Tongxin                                                           Contingent
          7027 N Vista St                                                       Unliquidated
          San Gabriel, CA 91775                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $960.00
          Anabel Torres                                                         Contingent
          PO Box 517                                                            Unliquidated
          Indio, CA 92202                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andersen, Pete                                                        Contingent
          6520 S Skagit Ave                                                     Unliquidated
          Spokane, WA 99208                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anderson Kathleen                                                     Contingent
          17250 Orangewood Lane                                                 Unliquidated
          Yorba Linda, CA 92886                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anderson, Dennis                                                      Contingent
          2419 E harbor Blvd # 347                                              Unliquidated
          Ventura, CA 93001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anderson, Edward                                                      Contingent
          31311 Arabasca Circle                                                 Unliquidated
          Temecula, CA 92592                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anderson, Karl                                                        Contingent
          23452 Ancia Ln                                                        Unliquidated
          Mission Viejo, CA 92691                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ando, Hide                                                            Contingent
          928 East 238th St                                                     Unliquidated
          Carson, CA 90745                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andre Sobel River of Life Foundation                                  Contingent
          PO Box 361460                                                         Unliquidated
          Los Angeles, CA 90036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrew Castro                                                         Contingent
          1465 C Street, #3214                                                  Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrews ,Michael & Susan                                              Contingent
          2712 E. Jacaranda Rd.                                                 Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Andrews, Elizabeth                                                    Contingent
          1423 E Todd Drive                                                     Unliquidated
          Tempe, AZ 85283                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Angel View Crippled Children's Foundatio                              Contingent
          12379 Miracle Hill Rd.                                                Unliquidated
          Desert Hot Springs, CA 92270                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Animal Samaritans                                                     Contingent
          72307 Ramon Rd                                                        Unliquidated
          Thousand Palms, CA 92276-3331                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Animal Samaritans SPCA                                                Contingent
          P.O.Box 513                                                           Unliquidated
          Thousand Palms, CA 92276                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anne Marie Middleton                                                  Contingent
          15912 Clearwater Way                                                  Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Anthony Gerald                                                        Contingent
          35887 Royal Sage Ct.                                                  Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Apperson Diana                                                        Contingent
          2675 East Gate Rd.                                                    Unliquidated
          Prescott, AZ 86301                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Appliance Repair Experts                                              Contingent
          81264 Francis Avenue                                                  Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          April, Dawn                                                           Contingent
          578 Mt Ida Drive                                                      Unliquidated
          Coldstream, BC V1B4A8                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aquino Jr, James E                                                    Contingent
          81844 Rustic Canyon Drive                                             Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Aria Resort & Casino                                                  Contingent
          3730 Las Vegas Boulevard South                                        Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Armanino LLP                                                          Contingent
          12667 Alcosta Blvd. Suite 500                                         Unliquidated
          San Ramon, CA 94583-4427                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arnold, Brad                                                          Contingent
          2323 S Calle Palo Fierro                                              Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arrigo Stacie                                                         Contingent
          103 Bramble Lane                                                      Unliquidated
          Aliso Viejo, CA 92656                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arthritis Foundation                                                  Contingent
          PO Box 96280                                                          Unliquidated
          Washington, D.C. 20077-7491                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arthritis Foundation Palm Desert                                      Contingent
          73710 Fred Waring Dr.                                                 Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Arthritis National Research Foundation                                Contingent
          200 Oceangate Suite 830                                               Unliquidated
          Long Beach, CA 90802                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Asbagh, Greg                                                          Contingent
          817 Wood Drive                                                        Unliquidated
          Leucadia, CA 92024                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ascensus Trust Company                                                Contingent
          PO Box 10699                                                          Unliquidated
          Fargo, ND 58106                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ash, Randy                                                            Contingent
          472 Tammany Lane                                                      Unliquidated
          Hamilton, MT 59840                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Assistance League of Palm Springs Desert                              Contingent
          P.O.Box 3056                                                          Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Atlantic Label & Printing, Inc.                                       Contingent
          P.O. Box 564                                                          Unliquidated
          Valley Cottage, NY 10989                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Atwood, Eugene                                                        Contingent
          2191 Lamplight Ln                                                     Unliquidated
          Lincoln, CA 95648                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Avalos Paul                                                           Contingent
          1568 Via Vista Drive                                                  Unliquidated
          Riverside, CA 92506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Avaya Financial Services Attn: CIT Commu                              Contingent
          P.O.Box 93000                                                         Unliquidated
          Chicago, IL 60673-3000                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Avedian, Sergio                                                       Contingent
          17674 Mahoney Pl                                                      Unliquidated
          Granada Hills, CA 91344                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Avery, Andre                                                          Contingent
          4213 Pondhill Ct                                                      Unliquidated
          Riverside, CA 92505                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ayres, David                                                          Contingent
          PO Box 1146                                                           Unliquidated
          Donnelly, ID 83615                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bachlor, Peggy                                                        Contingent
          13278 Woodbrook Circle                                                Unliquidated
          Garden Grove, CA 92844                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Badger, James                                                         Contingent
          122 Temple Ave                                                        Unliquidated
          Beaumont, CA 92223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Baker, Jane                                                           Contingent
          4562 Knoxville Ave                                                    Unliquidated
          Lakewood, CA 90713                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ballard Lynda                                                         Contingent
          3275 5th Ave. #304                                                    Unliquidated
          San Diego, CA 92103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bands of Cathedral City High School Band                              Contingent
          P.O.Box 3206                                                          Unliquidated
          Cathedral City, CA 92235                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BankDirect Capital Finance                                            Contingent
          Two Conway Park 150 North Field Drive                                 Unliquidated
          Lake Forest, IL 60045                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Banks Belenda                                                         Contingent
          431 Ramble Ridge                                                      Unliquidated
          Thousand Oaks, CA 91360                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Banniza Barbara                                                       Contingent
          1864 E. Desert Palms Drive                                            Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bar Boulud                                                            Contingent
          1900 Broadway                                                         Unliquidated
          New York, NY 10023                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barbara Sinatra Childrens Center                                      Contingent
          39000 bBob Hope Drive                                                 Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barbier Ed                                                            Contingent
          78247 Brookhaven Lane                                                 Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barbour Mary                                                          Contingent
          1714 Colina Terrestre                                                 Unliquidated
          San Clemente, CA 92673                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barnes Jeff                                                           Contingent
          1610 Sandpiper Street                                                 Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barnes Robert                                                         Contingent
          333 E. Enos Dr. Apt 127                                               Unliquidated
          Santa Monica, CA 93454                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barry Ralph                                                           Contingent
          PO Box 8                                                              Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barton, William                                                       Contingent
          36056 Blue Hill Drive                                                 Unliquidated
          Beaumont, CA 92223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barva, Charlene                                                       Contingent
          6 Royal Birch Grove N.W.                                              Unliquidated
          Calgary, Alberta T3G5K4                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Basile, Thomas                                                        Contingent
          503 Pleasant Valley Fr                                                Unliquidated
          Ione, CA 95640                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bastedo Barbara                                                       Contingent
          218-6505 3 Avenue                                                     Unliquidated
          Delta, BC V4L2N1                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bates, Gina                                                           Contingent
          19415 Ironwood Lane                                                   Unliquidated
          Huntington Beach, CA 92648                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Batten Ron                                                            Contingent
          78846 Tamarisk Flower Dr.                                             Unliquidated
          Palm Desert, CA 00092-2111                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bautista, Angelo                                                      Contingent
          7523 Cram Rd                                                          Unliquidated
          Highland, CA 92346                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bayne, Ryan                                                           Contingent
          3307 Country Ait Ln Apt 204                                           Unliquidated
          Las Vegas, NV 89117                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BCG Securities, Inc.                                                  Contingent
          600 Delran Parkway                                                    Unliquidated
          Delran, NJ 08075                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Beard Ronald                                                          Contingent
          27442 Hidden Trail Road                                               Unliquidated
          Laguna Hills, CA 92653                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Beasley, Wendy                                                        Contingent
          10597 Sunflower St                                                    Unliquidated
          Ventura, CA 93004                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Beaty, Kathleen                                                       Contingent
          8541 SW 86th Terrace                                                  Unliquidated
          Ocala, FL 34481                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Beerck, Jeanette                                                      Contingent
          16923 Summeroak Ct                                                    Unliquidated
          Fountain Valley, CA 92708                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Behrman, Marjorie                                                     Contingent
          1283 Pintail Dr                                                       Unliquidated
          Qualicum Beach, BC V9K2K5                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Beitler Commercial Realty Services                                    Contingent
          825 S. Barrington Avenue                                              Unliquidated
          Los Angeles, CA 90049                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Belisle, Helene                                                       Contingent
          200 Oceangate Ste 830                                                 Unliquidated
          Long Beach, CA 90802                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bell, Nigel                                                           Contingent
          3938 196 Street                                                       Unliquidated
          Langley, BC V3A6G1                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bella, Henry                                                          Contingent
          1915 Curtis Avenue No B                                               Unliquidated
          Redondo Beach, CA 90278                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bellagio                                                              Contingent
          3600 Las Vegas Blvd South                                             Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benham James                                                          Contingent
          18289 John F. Kennedy Dr.                                             Unliquidated
          Riverside, CA 92508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benham, Ryan                                                          Contingent
          18289 John F Kennedy Dr                                               Unliquidated
          Riverside, CA 92508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benker Christine                                                      Contingent
          Shorline Loop #214                                                    Unliquidated
          San Ramon, CA 94582                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Benson, Marianne                                                      Contingent
          6 Queens Ct                                                           Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Berdon Creative Services                                              Contingent
          210 E 36th Street Apartment 10h                                       Unliquidated
          New York, NY 10016-3660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bertelsen, Marion J                                                   Contingent
          204 Anderson                                                          Unliquidated
          Holmen, WI 54636                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bertilson, Carla                                                      Contingent
          1234 E Royal Palm Rd                                                  Unliquidated
          Phoenix, AZ 85020                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Best Friends of D. Disabled                                           Contingent
          6 Queens Court                                                        Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Best Signs                                                            Contingent
          1550 S. Gene Autry Trail                                              Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Betty Ford Center                                                     Contingent
          41990 Cook St.    Ste. C-301                                          Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Beverly Hills Courier Publishing Co. LLC                              Contingent
          8840 West Olympic Blvd.                                               Unliquidated
          Beverly Hills, CA 90211                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Biegner, Jan                                                          Contingent
          10690 El Soneto Ave                                                   Unliquidated
          Fountain Valley, CA 92708                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Big Brothers Big Sisters of the Desert I                              Contingent
          42-600 Cook St.                                                       Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Biggs, Robert                                                         Contingent
          213 Verde Hts                                                         Unliquidated
          Cotonwood, AZ 86326                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bittner, Valerie                                                      Contingent
          363 Tomahawk Drive                                                    Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bivens, Leslie                                                        Contingent
          6305 S Marina Pacifica Drive                                          Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blaine Yoshimura                                                      Contingent
          547 E. 1250 So.                                                       Unliquidated
          Kaysville, UT 84037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blair Heating & Air                                                   Contingent
          653 Oleander Road                                                     Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blair, Marlene                                                        Contingent
          68 Via Candelaria                                                     Unliquidated
          Coto De Caza, CA 92679                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blanchard & Johnson Associated                                        Contingent
          27371 Valderas                                                        Unliquidated
          Mission Viejo, CA 92691                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blanchard David                                                       Contingent
          2477 Golf links Circle                                                Unliquidated
          Santa Clara, CA 95050-7010                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blankenburg Donald                                                    Contingent
          1802 Autumn Lane                                                      Unliquidated
          Lansing, MI 48912                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blattner Kathy                                                        Contingent
          2260 Swarthmore Drive                                                 Unliquidated
          Sacramento, CA 95825                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blower Michael                                                        Contingent
          79620 Citrus                                                          Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blue Shield of CA LIfe & Health                                       Contingent
          P.O. Box 25208                                                        Unliquidated
          Santa Ana, CA 92799-5208                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,788.69
          Blue Shield of California                                             Contingent
          Attn: Corporate Officer                                               Unliquidated
          PO Box 749415                                                         Disputed
          Los Angeles, CA 90074
                                                                             Basis for the claim:    Insurance premiums
          Date(s) debt was incurred Various
          Last 4 digits of account number 1000                               Is the claim subject to offset?     No       Yes


 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Boespflug Donald                                                      Contingent
          3925 Parkhill Drive                                                   Unliquidated
          Billings, MT 59102                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bogan, Kathleen                                                       Contingent
          111 Marlborough Street                                                Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bond New York Properties, LLC                                         Contingent
          1776 Broadway 19th Floor                                              Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Booker, Joyce                                                         Contingent
          6730 Green River Dr.                                                  Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BookPALS                                                              Contingent
          5757 Wilshire Blvd. Suite #124                                        Unliquidated
          Los Angeles, CA 90036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Borgeson, Pam                                                         Contingent
          24 Captain Carlson Way                                                Unliquidated
          West Bridgewater, MA 02379                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bottomley, Judith                                                     Contingent
          2 Aikens Road                                                         Unliquidated
          Hopkinton, CA .                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Boucher, Phyllis                                                      Contingent
          4131 Marber Ave                                                       Unliquidated
          Lakewood, CA 90713                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bourne Eugene                                                         Contingent
          6428 S. Blackhawk Way                                                 Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bowyer Wendy                                                          Contingent
          465 Kelly Street                                                      Unliquidated
          New Westminster, BC V3L3T8                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Boyer Diane                                                           Contingent
          6 Cortez Ct.                                                          Unliquidated
          Oakland, CA 94611                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Boys & Girls Club of Cathedral C                                      Contingent
          32141 Whispering Palms Trail                                          Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Boys & Girls Club of Coachella V                                      Contingent
          42-600 Cook Street Suite #120                                         Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Boys Club of Palm Springs, Inc.                                       Contingent
          450 S. Sunrise Way                                                    Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brackett, Steven                                                      Contingent
          PO BOX 2630                                                           Unliquidated
          Palm Desert, CA 92261                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Braille Institute                                                     Contingent
          70251 Ramon Rd.                                                       Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandini Enterprises                                                  Contingent
          42560 Bob Hope Drive                                                  Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandon Marley                                                        Contingent
          79379 Paseo Del Rey                                                   Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandt Kuhn, CFP                                                      Contingent
          76445 Pala Palms Drive                                                Unliquidated
          Indian Wells, CA 92210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandt, Rudy                                                          Contingent
          359 River Rd S                                                        Unliquidated
          Rosenort, Mb R0G1W0                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Braverman, Sigrun                                                     Contingent
          50135 Valencia Court                                                  Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bremner, Donald                                                       Contingent
          107-6735 Station Hill Crt                                             Unliquidated
          Burnaby, BC V3N4W5                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brenda Wallace                                                        Contingent
          41633 Adams Street Apt #3                                             Unliquidated
          Bermuda Dunes, CA 92203                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brennecke Denise                                                      Contingent
          P.O.Box 263                                                           Unliquidated
          Oak View, CA 93022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Briden, James                                                         Contingent
          2721 Atlin Place                                                      Unliquidated
          Coquitlam, BC V3C5B1                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bridenstine, James                                                    Contingent
          711 S 3rd Street                                                      Unliquidated
          Lander, WY 82520                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brighthaus Marketing LLC                                              Contingent
          125 E. Tahquitz Canyon Way #203                                       Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brightscope, Inc.                                                     Contingent
          9191 Towne Centre Drive                                               Unliquidated
          San Diego, CA 92122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brills Pamela                                                         Contingent
          4205 Oak St.                                                          Unliquidated
          Eugene, OR 97405                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bringel Pat                                                           Contingent
          725 St. George Road                                                   Unliquidated
          Danville, CA 94526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brinkmeyer Terri                                                      Contingent
          2031 Erin Court                                                       Unliquidated
          Simi Valley, CA 00090-3065                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brittany Lipe                                                         Contingent
          45-832 Sutter Creek                                                   Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brogan, Cindy                                                         Contingent
          68-225 Marina Road                                                    Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brooks, Jack                                                          Contingent
          4739-49A Ave                                                          Unliquidated
          Lacombe, Alberta T4L1N4                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brown, Elaine                                                         Contingent
          81855 Golden Star Way                                                 Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Browning Jessica                                                      Contingent
          12912 Hill Country Blvd. Suite F240                                   Unliquidated
          Austin, TX 78738                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bryson, Kathy                                                         Contingent
          PO Box 2223                                                           Unliquidated
          Idyllwild, CA 92549                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Buch, Pamela                                                          Contingent
          26234 Eshelman Ave                                                    Unliquidated
          Lomita, CA 90717                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Buchholz, Barbara                                                     Contingent
          1800 Cubhouse Drive # 77                                              Unliquidated
          Bullhead City, AZ 86442                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Buchta, Sigurd                                                        Contingent
          54790 Oaktree                                                         Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Budke Gordon                                                          Contingent
          911 W. 33rd Ave.                                                      Unliquidated
          Spokane, WA 99203                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Burcio-Marple Katherine                                               Contingent
          12382 Brewster Dr.                                                    Unliquidated
          Moreno Valley, CA 92555                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Burke, David                                                          Contingent
          1588 Via Romero                                                       Unliquidated
          Alamo, CA 94507                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Burnham, David                                                        Contingent
          5017 Auckland Ave                                                     Unliquidated
          North Hollywood, CA 91601                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Burris Barbara                                                        Contingent
          218 Wellington Dr.                                                    Unliquidated
          Santa Maria, CA 93455                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bush, Clarice                                                         Contingent
          10556 Combie Road PMB 6247                                            Unliquidated
          Auburn, CA 95602                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Business Wire, Inc.                                                   Contingent
          Department 34182                                                      Unliquidated
          San Francisco, CA 94139                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Buski, Carol                                                          Contingent
          101 Lakefront                                                         Unliquidated
          Rancho Mirage, CA 09270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bussman, John                                                         Contingent
          24037 Senna Drive                                                     Unliquidated
          Wildomar, CA 92595                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Butala, Nancy                                                         Contingent
          10575 St Croix Tr No                                                  Unliquidated
          Stillwater, MN 55082                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Buzz Factory                                                          Contingent
          1801 East Tahquitz Canyon Way                                         Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Buzz Factory (A Christmas Gift)                                       Contingent
          1801 East Tahquitz Canyon Way                                         Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          By Dzign, LLC                                                         Contingent
          5625 Arville Street Suite E                                           Unliquidated
          Las Vegas, NV 89118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Byrne, Bonnie                                                         Contingent
          169 Rivo Alto Canal                                                   Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bystedt, Robert                                                       Contingent
          4728 E Blue Jay Ave                                                   Unliquidated
          Orange, CA 92869                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bystry, Phil                                                          Contingent
          3022 E Plamyra Ave                                                    Unliquidated
          Orange, CA 92869                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          C. Schwab & Co., Inc.                                                 Contingent
          1900 Avenue Of The Stars                                              Unliquidated
          Los Angeles, CA 90067                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CA Dept. of Insurance                                                 Contingent
          PO Box 1139                                                           Unliquidated
          Sacremento, CA 95812-0311                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Caballos, David                                                       Contingent
          5282 Marietta Ave                                                     Unliquidated
          Garden Grove, CA 92845                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cable One                                                             Contingent
          P.O. Box 78000                                                        Unliquidated
          Phoenix, AZ 85062-8000                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cabot's Museum Foundaiton                                             Contingent
          E Desert View Ave                                                     Unliquidated
          Desert Hot Springs, CA 92240                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cabote, Lorena                                                        Contingent
          352 Lilac Ln                                                          Unliquidated
          Lincoln, CA 95648                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          California Board of Equalization                                      Contingent
          P.O. Box 942879                                                       Unliquidated
          Sacramento, CA 94279                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          California Dept. Of Insurance                                         Contingent
          P.O. Box 311                                                          Unliquidated
          Sacremento, CA 95812-0311                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          California Desert Association of Realtor                              Contingent
          44475 Monterey Ave                                                    Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          California Secretary of State                                         Contingent
          1500 11th Street                                                      Unliquidated
          Sacramento, CA 95814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cameron Beth                                                          Contingent
          1212 Sheffield Way                                                    Unliquidated
          Saugus, MA 01906                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cameron, Charles                                                      Contingent
          725 Parkway Ct NE                                                     Unliquidated
          Bremerton, WA 98311                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Camp of Champions                                                     Contingent
          64477 Spyglass Avenue                                                 Unliquidated
          Desert Hot Springs, CA 92240                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Campbell, Kelly                                                       Contingent
          11021 28th Ave NE                                                     Unliquidated
          Seattle, WA 98125                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Canas, Daniel                                                         Contingent
          77430 Calle Sonora                                                    Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Canez Sandra                                                          Contingent
          6028 Winter Ridge Dr.                                                 Unliquidated
          Bakersfield, CA 93313                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Capital Forensics, Inc.                                               Contingent
          3850 N Wilke Road Suite 333                                           Unliquidated
          Arlington Heights, IL 60004                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Capital One                                                           Contingent
          Capital Guardian Trust Co.                                            Unliquidated
          Brea, CA 92622-4600                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Capitis Sotheby's International Real Est                              Contingent
          515 North Palm Canyon Dr. Bldg # B-12                                 Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Caravan Dispatch                                                      Contingent
          1182 Tiffany Circle N                                                 Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cardiff Transportation                                                Contingent
          75-Sheryl Avenue                                                      Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Career Track                                                          Contingent
          5700 Broadmoor Street Ste. 300                                        Unliquidated
          Mission, KS 66202                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carmichael, Steve                                                     Contingent
          PO Box 2241                                                           Unliquidated
          Truckee, CA 96160                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carry Charles                                                         Contingent
          431-101 Marbora Court                                                 Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carson Chris                                                          Contingent
          1285 Sunflower Circle North                                           Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carson Shizuko                                                        Contingent
          1705 River Oaks Dr.                                                   Unliquidated
          Allen, AL 75002                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CASA for Riverside County Inc.                                        Contingent
          44199 Monroe St.                                                      Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CASA for Riverside County, Inc.                                       Contingent
          P.O.Box 3008                                                          Unliquidated
          Indio, CA 92202                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Case Mary                                                             Contingent
          76749 Chrysanthemum Way                                               Unliquidated
          Palm Desert, CA 09221                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Case, Svetlana                                                        Contingent
          PO Box 5983                                                           Unliquidated
          La Quinta, CA 92248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Casey Suellen                                                         Contingent
          533 N. Michaelangelo Dr.                                              Unliquidated
          Green Valley, AZ 85614                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cathedral City High School Girls Golf Te                              Contingent
          69250 Dinah Shore Dr                                                  Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cattoor, Denise                                                       Contingent
          3123 Garden Hill Lane                                                 Unliquidated
          St. Louis, MO 63139                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cavazos Lynnette                                                      Contingent
          536 E. Lake Street                                                    Unliquidated
          Pentwater, MI 49449                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cayetano, Flora                                                       Contingent
          11 St Kitts                                                           Unliquidated
          Dana Point, CA 92629                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CC School Girls Golf                                                  Contingent
          69250 Dinah Shore Drive                                               Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cedrone, Mary Alice                                                   Contingent
          3625 Vista Oceana Unit 9                                              Unliquidated
          Oceanside, CA 92057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Centino, Patricia                                                     Contingent
          12181 Tunstall St                                                     Unliquidated
          Garden Grove, CA 92845                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chand, Che-Kang                                                       Contingent
          1866 Pritchard Way                                                    Unliquidated
          Hacienda Heights, CA 91745                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chang, Rita                                                           Contingent
          1829 Santa Ysabela Dr                                                 Unliquidated
          Rowland Heights, CA 91748                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chap Ceremony                                                         Contingent
          13529 Behrens Ave                                                     Unliquidated
          Norwalk, CA 90650                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Schwab                                                        Contingent
          1901 Avenue Of The Stars                                              Unliquidated
          Los Angeles, CA 90067                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Schwab                                                        Contingent
          .                                                                     Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Schwab & Co. Inc. Attn: IST West                              Contingent
          3133 E. Camelback Rd.                                                 Unliquidated
          Phoenix, AZ 85016                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Schwab & Co. Inc. Attn: IST West                              Contingent
          PO Box 52013                                                          Unliquidated
          Phoenix, AZ 85072-2013                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Charles Schwab Mgmt Fees Attn: Document                               Contingent
          1945 Northwestern Drive                                               Unliquidated
          El Paso, TX 79912                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chen, Raymond                                                         Contingent
          1115 S 3rd Ave                                                        Unliquidated
          Arcadia, CA 91006                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chen, Shihhang                                                        Contingent
          5908 Bixby Village Drive                                              Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chen, Yen-Ling                                                        Contingent
          1114 Cleghorn Dr Unit A                                               Unliquidated
          Diamond Bar, CA 91765                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cheryl Ravenscroft                                                    Contingent
          4630 Sandpiper Trail                                                  Unliquidated
          Cottage Cove, WI 53527                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chetwood, David                                                       Contingent
          7625 Park Forest Dr                                                   Unliquidated
          Huntington Beach, CA 92648                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chew Marsha                                                           Contingent
          3030 Cumberland Court                                                 Unliquidated
          Thousand Oaks, CA 91362                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Children Affected by AIDS Foundation                                  Contingent
          6033 W Century Blvd. Ste 603                                          Unliquidated
          Los Angeles, CA 90045                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Children's Discovery Museum                                           Contingent
          71701 Gerald Ford Drive                                               Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chinese American Golf Foundation                                      Contingent
          20530 Earlgate St # 100                                               Unliquidated
          Diamond Bar, CA 91789                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Choi, Andrew                                                          Contingent
          41125 Prospect Court                                                  Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chris Risenmay, CFP                                                   Contingent
          37290 Bosley Street                                                   Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christian B. Risenmay                                                 Contingent
          37-290 Bosley Street                                                  Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christmas Foundation                                                  Contingent
          P.O. Box 723                                                          Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christoffersen, Paul                                                  Contingent
          352332 Moorbrook Rd                                                   Unliquidated
          Palm Desert, CA 92211-2786                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,771.16
          Christopher Waruch                                                    Contingent
          667 Grand Street, #4A                                                 Unliquidated
          Brooklyn, NY 11211
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gardening services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Waruch                                                    Contingent
          667 Grand Street, #4A                                                 Unliquidated
          Brooklyn, NY 11211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher's Clubhouse                                               Contingent
          P.O. Box 5444                                                         Unliquidated
          La Quinta, CA 92248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chueh, Sherry                                                         Contingent
          2257 Wind River Lane                                                  Unliquidated
          Rowland Hts, CA 91748                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chung, Dave                                                           Contingent
          20204 Via Medici                                                      Unliquidated
          Northridge, CA 91326                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ciampa, Emilio                                                        Contingent
          30 Ellesmere Dr                                                       Unliquidated
          St. Albert, Alberta T8N5N2                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cintas Document Management                                            Contingent
          P.O.Box 633842                                                        Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CIT Technology Fin Serv. Inc                                          Contingent
          P.O.Box 100706                                                        Unliquidated
          Pasadena, CA 91189-0706                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Citibank                                                              Contingent
          P.O. Box 6005                                                         Unliquidated
          The Lakes, NV 89163-6005                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Citrix Systems Inc                                                    Contingent
          PO Box 50264                                                          Unliquidated
          Los Angeles, CA 90074-0264                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Citroen, Stewart                                                      Contingent
          PO Box 460                                                            Unliquidated
          Hermosa Beach, CA 90254                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          City of Hope                                                          Contingent
          P.O.Box 13544                                                         Unliquidated
          Palm Desert, CA 92255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          City of LA Business Tax                                               Contingent
          P.O. Box 513996                                                       Unliquidated
          Los Angeles, CA 90051-3996                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          City of Los Angeles                                                   Contingent
          P.O.Box 30420                                                         Unliquidated
          Los Angeles, CA 90030                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          City Of Los Angeles Municipal Services                                Contingent
          PO Box 30808                                                          Unliquidated
          Los Angeles, CA 90030-0808                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          City Of Los Angeles Office of Finance                                 Contingent
          P.O. Box 513996                                                       Unliquidated
          Los Angeles, CA 90051-3996                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          City of Newport Beach                                                 Contingent
          100 Civic Center Drive                                                Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          City of Newport Beach Revenue                                         Contingent
          PO Box 3080                                                           Unliquidated
          Newport Beach, CA 92658-3080                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          City Of Palm Desert                                                   Contingent
          73510 Fred Waring Drive                                               Unliquidated
          Palm Desert, CA 92260-2578                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clamp Cynthia                                                         Contingent
          6779 Tiara Ave                                                        Unliquidated
          Highland, CA 92346                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clare, Mary Ann                                                       Contingent
          311 Kessler Drive                                                     Unliquidated
          Ben Lomond, CA 95005                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clark Patricia                                                        Contingent
          81620 Avenue 49 #251 618 Kochar Drive Ci                              Unliquidated
          Ottawa, Ontario K2C4H4                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clark Penney                                                          Contingent
          41990 Cook Street, Suite C302                                         Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clark, Lydia                                                          Contingent
          13568 Caliente                                                        Unliquidated
          Desert Hot Springs, CA 92240                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clarke, Mary Lou                                                      Contingent
          3606 Sunset Ranch Drive                                               Unliquidated
          Kelowna, BC V1X8C7                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clarkson Sue                                                          Contingent
          410 Sierra St.                                                        Unliquidated
          Bishop, CA 93514                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clausen, Karen S                                                      Contingent
          45427 Garden Square                                                   Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Clayton Richard                                                       Contingent
          2113 Linda Lane                                                       Unliquidated
          Richardson, TX 75081                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Client Server Specialists                                             Contingent
          P.O. Box 1985                                                         Unliquidated
          Southeastern, PA 19399                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cline, Robert                                                         Contingent
          7423 Westwind Road                                                    Unliquidated
          Traverse City, MI 49686                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cload Sharon                                                          Contingent
          7 Granville Road                                                      Unliquidated
          Cambridge, MA 02138                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Coachella Valley Economic Partnership At                              Contingent
          3111 E. Tahquitz Canyon Way                                           Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Coachella Valley R/C Club                                             Contingent
          73800 Flagstone Lane                                                  Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Coates, Rae                                                           Contingent
          1073 Glen Forest Way                                                  Unliquidated
          Victoria, BC V9C3X8                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cohen, Ben                                                            Contingent
          229 N Castillian Avenue                                               Unliquidated
          Thousand Oaks, CA 91320                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cohen, Marilyn                                                        Contingent
          33902 Vinca Lane                                                      Unliquidated
          Murrieta, AL 92563                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cohen, Martyn                                                         Contingent
          33902 Vinca Lane                                                      Unliquidated
          Murrieta, AL 92563                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Coke, Janet                                                           Contingent
          113 Calle Agosto                                                      Unliquidated
          San Dimas, CA 91773                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cole Ann                                                              Contingent
          6209 El Toro Place NW                                                 Unliquidated
          Albuquerque, NM 87120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cole Lois                                                             Contingent
          1217 Irwin Drive                                                      Unliquidated
          Buckhorn, Ontario KoL1Jo                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          College of Desert Foundation                                          Contingent
          43-500 Monterey Ave                                                   Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Comis, Elaine                                                         Contingent
          180 Linwood Street                                                    Unliquidated
          Abington, MA 02351                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Community Center @ Tierra Del Sol                                     Contingent
          31-171 W Buddy Rogers Ave                                             Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Comtron Systems                                                       Contingent
          41-651 Corporate Way Suite 6                                          Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $809.90
          ConferTel                                                             Contingent
          Attn: Legal Dept.                                                     Unliquidated
          2385 Camino Cide Roble, Ste. 202                                      Disputed
          Carlsbad, CA 92011
                                                                             Basis for the claim:
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Conlin Patricia                                                       Contingent
          99 Beaver Dam Road                                                    Unliquidated
          Toconic, CT 06079                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Conroy, Sandra                                                        Contingent
          8551 SVL Box 13290 Tamarisk Rd                                        Unliquidated
          Victorville, CA 92395                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Consolidated Disposal Services                                        Contingent
          PO Box 78829                                                          Unliquidated
          Phoenix, AZ 85062-8829                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Consulting Connections, LLC                                           Contingent
          3900 Woodlake Blvd Suite 303                                          Unliquidated
          Greenacres, FL 33463                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Contour Dermatology                                                   Contingent
          42-600 Mirage Road Bldg A1                                            Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Contract Decor, Inc.                                                  Contingent
          72-184 North Shore Street                                             Unliquidated
          Thousand Palms, CA 92276                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cook, Larry                                                           Contingent
          6902 Pflumm Road                                                      Unliquidated
          Shawnee, KS 66216                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Coontz Robert                                                         Contingent
          810 E. Valencia Avenue                                                Unliquidated
          Burbank, CA 91501                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Coplen, David                                                         Contingent
          350 S Hope St # 2500                                                  Unliquidated
          Los Angeles, CA 90071                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Copy Doctor                                                           Contingent
          5757 Wilshire Blvd. Suite 502                                         Unliquidated
          Los Angeles, CA 90036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Corcoran Dave                                                         Contingent
          3400 Water Hole Trail                                                 Unliquidated
          Bozeman, MT 59715                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cord Media Company                                                    Contingent
          P.O. Box 1208                                                         Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Core & Legal Services, Inc.                                           Contingent
          5920 Friars Road                                                      Unliquidated
          San Diego, CA 92108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Core Compliance & Legal Services, Inc. (                              Contingent
          1350 Columbia Street Suite 300                                        Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cormier, Justin                                                       Contingent
          10350 W McDowell Road Apt 3157                                        Unliquidated
          Avondale, AZ 85392                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Corporate Concierges Unlimited                                        Contingent
          11105 Andenwood Drive                                                 Unliquidated
          Ausitn, TX 78726                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Corporate Icon                                                        Contingent
          42263 50th St. West #536                                              Unliquidated
          Quartz Hill, CA 93536                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Corporate IT Group                                                    Contingent
          18344 Oxnard St.                                                      Unliquidated
          Tarzana, CA 91356                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Corporon, Nancy                                                       Contingent
          5075 Southern Star Terrace                                            Unliquidated
          Columbia, MD 21044                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Corso, James                                                          Contingent
          22939 E Long Drive                                                    Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CORT                                                                  Contingent
          5432 West Chester Road                                                Unliquidated
          West Chester, OH 45069                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cortesi Rosina                                                        Contingent
          6211 Ridgemont Drive                                                  Unliquidated
          Oakland, CA 94619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cortnie Deakyne                                                       Contingent
          79090 Ave 42 #n 202                                                   Unliquidated
          Bermuda Dunes, CA 92203                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cosgrove Cosgrove & Humphrey                                          Contingent
          41-610 Indian Trail Rd Ste.2                                          Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Costco Membership                                                     Contingent
          P.O. Box 34783                                                        Unliquidated
          Seattle, WA 98124-1783                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cote, Cheryl                                                          Contingent
          1162 Tiehack Rd                                                       Unliquidated
          Aspen, CO 81611                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          County of Orange Attn: Treasurer-Tax Col                              Contingent
          P.O. Box 1438                                                         Unliquidated
          Santa Ana, CA 92702-1438                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cowan Brian                                                           Contingent
          RR#1 Site 8 Comp 34                                                   Unliquidated
          Christopher Lake, Saskatchewan S0J0N0                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,318.07
          Cox Business                                                          Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 53280                                                          Disputed
          Phoenix, AZ 85072-3280
                                                                             Basis for the claim:    Internet/Phone services
          Date(s) debt was incurred Various
          Last 4 digits of account number 3801                               Is the claim subject to offset?     No       Yes


 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cox Communications                                                    Contingent
          P.O. Box 53280                                                        Unliquidated
          Phoenix, AZ 85072-3280                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cox, Jim                                                              Contingent
          38745 Elna Way                                                        Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Crawford Carol                                                        Contingent
          3040 Lasita Place                                                     Unliquidated
          Georgetown, CA 95634                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Creager, Douglas                                                      Contingent
          625 Lincoln St                                                        Unliquidated
          Piqua, OH 45356                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Crouch Peg                                                            Contingent
          27761 Almont Way                                                      Unliquidated
          Romoland, AL 92585                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Crouch, Peg J                                                         Contingent
          27761 Almont Way                                                      Unliquidated
          Romoland, CA 92585                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Crowell, Christie                                                     Contingent
          1824 Deserta Dr                                                       Unliquidated
          Glendora, CA 91740                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cruce Michele                                                         Contingent
          38 H Calle Aragon                                                     Unliquidated
          Laguna Woods, CA 92637                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CrystalTech Web Hosting Inc.                                          Contingent
          1125 W. Pinnacle Peak Road Suite 103                                  Unliquidated
          Phoenix, AZ 85027                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cummings Sue                                                          Contingent
          3334 Owasso Heights Rd.                                               Unliquidated
          Shoreview, MN 55126                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cunningham, Barbara                                                   Contingent
          28455 Sand Lake Rd                                                    Unliquidated
          Cloverdale, OR 97112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Curley Cathleen                                                       Contingent
          628 Daisy Ave. Unit 305                                               Unliquidated
          Long Beach, CA 90802                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CV Autism Society                                                     Contingent
          P.O. Box 11052                                                        Unliquidated
          Palm Desert, CA 92255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CV RC Club                                                            Contingent
          73-800 Flagstone Lane                                                 Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CV Rescue Mission                                                     Contingent
          47-518 Van Buren St.                                                  Unliquidated
          Indio, CA 92202                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CV Symphony                                                           Contingent
          P.O.Box 10727                                                         Unliquidated
          Palm Desert, CA 92255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CVEP Workforce Excellence                                             Contingent
          3111 E. Tahquitz Canyon Way                                           Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          D.D.S. Plumbing, Inc.                                                 Contingent
          2408 Fisk Lane                                                        Unliquidated
          Redondo Beach, CA 90278                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          D.W. Johnston Construction, Inc.                                      Contingent
          1445 N. Sunrise Way                                                   Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dalton Keith                                                          Contingent
          P.O.Box 2241                                                          Unliquidated
          Julian, CA 92036                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dana Sanchez                                                          Contingent
          42349 Whisper Rock Street                                             Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Danielle Bisutti                                                      Contingent
          11706 Montana Avenue Unit 109                                         Unliquidated
          Los Angeles, CA 90049                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dargon, Vicki                                                         Contingent
          514 Americas Way # 2537                                               Unliquidated
          Box Elder, SD 57719                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daubney Judy                                                          Contingent
          138-3948 Finnerty Road                                                Unliquidated
          Penticton, BC V2A8P8                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Donaldson Attn: ERISA Smart, Inc.                               Contingent
          2419 Harbor Blvd Suite 163                                            Unliquidated
          Ventura, CA 93001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Thatcher                                                        Contingent
          78158 Sombrero Court                                                  Unliquidated
          Bermuda Dunes, CA 92203                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David Thatcher, CFP                                                   Contingent
          43228 Moore Circle                                                    Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Davidson, Keith                                                       Contingent
          312 2nd Avenue W Apt 601                                              Unliquidated
          Seattle, WA 98119                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Davis Timothy                                                         Contingent
          10707 Jasper Ave.                                                     Unliquidated
          Redlands, CA 92374                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Davis, Candace                                                        Contingent
          4370 Nelson Rd                                                        Unliquidated
          Belgrade, MT 59714                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Davis, Vern                                                           Contingent
          9051 Canberra Drive                                                   Unliquidated
          Sacramento, CA 95826                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dawes Robert                                                          Contingent
          500 S. Center St.                                                     Unliquidated
          Redlands, CA 92373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          de Haas, Selma                                                        Contingent
          2664 Capella                                                          Unliquidated
          George, BC V2N5lc                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          De Leon, Rodolfo                                                      Contingent
          21601 Devonshire St # 116                                             Unliquidated
          Chatsworth, CA 91311                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deacon, Graham                                                        Contingent
          6842-111 Street NW                                                    Unliquidated
          Edmonton, AB T6H3G3                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dean Electric & Construction                                          Contingent
          78206 Varner Road Suite D                                             Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deidre Lembo                                                          Contingent
          84045 Colibri Court                                                   Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deines, Roben                                                         Contingent
          3331 S. Magnolia St.                                                  Unliquidated
          Denver, CO 80224                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Deitch, Jeffrey                                                       Contingent
          79880 Citrus                                                          Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DeMartini Cynthia                                                     Contingent
          5804 Blue Beech Ct.                                                   Unliquidated
          Antelope, CA 95843                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dementia Help Center                                                  Contingent
          70-080 Calle Amigo Suite 100                                          Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dencker, Mike                                                         Contingent
          887 Big Spring Ct                                                     Unliquidated
          Corona, CA 92880                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dent Anne                                                             Contingent
          238 Chaparral Villas SE                                               Unliquidated
          Calgary, Alberta T2X3N2                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Depackh, Terence                                                      Contingent
          32195 Corte Parado                                                    Unliquidated
          Temecula, CA 92592                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Department of Corporations                                            Contingent
          980 9th Street Suite 500                                              Unliquidated
          Sacremento, CA 95814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Department of Labor Attn: Vicky Ryan Jun                              Contingent
          Field Tax Office P.O. Box 115509                                      Unliquidated
          Juneau, AK 99811                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Department of Motor Vehicles                                          Contingent
          P.O. Box 942839                                                       Unliquidated
          Sacremento, CA 94239-0099                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DePriest, Herbert                                                     Contingent
          1548 Eucalyptus Hill Rd                                               Unliquidated
          Santa Barbara, CA 93103                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Derrick, Becky                                                        Contingent
          40553 Pinnacle Way                                                    Unliquidated
          Palmdale, CA 93551                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert AIDS Project                                                   Contingent
          1695 North Sunrise Way                                                Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Aids Project                                                   Contingent
          1695 North Sunrise Way, PO Box 2890                                   Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Arc                                                            Contingent
          73255 Country Club Drive                                              Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Arc Attn: Richard Ballaco                                      Contingent
          73-255 Country Club Dr                                                Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Best Friend's Closet                                           Contingent
          74040 Highway 111 Suite F                                             Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Cancer Foundation                                              Contingent
          74-091 Larrea Street                                                  Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Champion LLC                                                   Contingent
          78-200 Miles Avenue                                                   Unliquidated
          Indian Wells, CA 92210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Christian Academy                                              Contingent
          40-770 Yucca Lane                                                     Unliquidated
          Bermuda Dunes, CA 92203                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Classic Charities                                              Contingent
          PO Box 865                                                            Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Drain Cleaning                                                 Contingent
          P.O. Box 2066                                                         Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Fire Extinguishers Co., Inc                                    Contingent
          P.O. Box 1607                                                         Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Friends of the Developmentally Di                              Contingent
          6 Queens Ct                                                           Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Health                                                         Contingent
          P.O. Box 802                                                          Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Ice Castle                                                     Contingent
          68-600 Perez Road                                                     Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Paws                                                           Contingent
          PO Box 5066                                                           Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Publications Inc.                                              Contingent
          PO Box 2724                                                           Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Recreation Foundation                                          Contingent
          45-305 Oasis Street                                                   Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Samaritans for Seniors                                         Contingent
          75105 Merle Dr Suite 500                                              Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Sun Publishing Co                                              Contingent
          PO Box 677368                                                         Unliquidated
          Dallas, TX 75267-7368                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Water Agency                                                   Contingent
          P.O. Box 1710                                                         Unliquidated
          Palm Springs, CA 92263-1710                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Woman's Show                                                   Contingent
          57893 Hidden Gold Drive                                               Unliquidated
          Yucca Valley, CA 92284                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Desert Women for Equality                                             Contingent
          555 S. Sunrise Way                                                    Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DesertArc                                                             Contingent
          73255 Country Club Drive                                              Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dewey Pest Control                                                    Contingent
          72-395 Varner Rd.                                                     Unliquidated
          Thousand Palms, CA 92276-3342                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dezart Performs                                                       Contingent
          611 S Palm Canyon Dr Suite 7538                                       Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dietz, Sandy J                                                        Contingent
          4264 Encore Dr.                                                       Unliquidated
          Santa Barbara, AL 93110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Diffoot, Agnes                                                        Contingent
          21401 Mildred Ave                                                     Unliquidated
          Torrance, AL 90503                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Disabled Golfers Learning Foundation                                  Contingent
          809 Redriver Way                                                      Unliquidated
          Corona, CA 92882                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dixon, Joanne                                                         Contingent
          1658 Carnoustie Dr                                                    Unliquidated
          Banning, CA 92220                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DMV Renewal                                                           Contingent
          P.O. Box 942894                                                       Unliquidated
          Sacramento, CA 94294-0894                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dodson, Janet                                                         Contingent
          1965 Milan Avenue                                                     Unliquidated
          South Pasadena, CA 91030                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donahue, Guy                                                          Contingent
          181 Ave des Cerisiers                                                 Unliquidated
          Orford, Quebec J1X6W8                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donelly Sheila                                                        Contingent
          944 9797 E.32nd St.                                                   Unliquidated
          Yuma, AZ 85365                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Donna, Mansell                                                        Contingent
          1325 Cedar Ridge Dr.                                                  Unliquidated
          Brownsville, TX 78520                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dooling Jack                                                          Contingent
          23151 Mora glen Drive                                                 Unliquidated
          Loa Altos, CA 94024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dorazio, Renee                                                        Contingent
          5832 Osmundsen Ct.                                                    Unliquidated
          Madison, WI 53711                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dorrough, Gary                                                        Contingent
          41805 Via Aregio                                                      Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dorsey Elizabeth                                                      Contingent
          5004 Sable Oaks Dr                                                    Unliquidated
          Round Rock, TX 78664                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Douglas, Jeffrey                                                      Contingent
          108 Encino Ave                                                        Unliquidated
          Camarillo, CA 93010                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dove Printing                                                         Contingent
          P.O. Box 14243                                                        Unliquidated
          Palm Desert, CA 92255-4243                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dowling, Maureen                                                      Contingent
          40616 Singing Hills Drive                                             Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dr. & Mrs Morrison                                                    Contingent
          4790 Blue Mountain Dr                                                 Unliquidated
          Yorba Linda, CA 92887                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dr. Susan Love Research Foundation                                    Contingent
          2811 Wilshire Blvd.                                                   Unliquidated
          Santa Monica, CA 90403                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dream Foundation                                                      Contingent
          1528 Chapala St                                                       Unliquidated
          Santa Barbara, CA 93101                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dreier Christel                                                       Contingent
          1132 N. Eucalyptus Ave.                                               Unliquidated
          Rialto, CA 92376                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Drews, Ronald                                                         Contingent
          1221 W Clarendon Rd                                                   Unliquidated
          Arlington Heights, IL 60004                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Drinkuth Patrick                                                      Contingent
          9990 Arborwood Dr. #413                                               Unliquidated
          Cincinnati, OH 45238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Drogitis Joanne                                                       Contingent
          943 Clearfield Dr.                                                    Unliquidated
          Millbrae, CA 94030                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dropkin, Randi                                                        Contingent
          4501 New Hampshire St                                                 Unliquidated
          San Diego, CA 92116                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DST Industries, Inc.                                                  Contingent
          3589 McCarthy                                                         Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Duarte, Philip                                                        Contingent
          1343 Red Bluff Lane                                                   Unliquidated
          Diamond Bar, AL 91789                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Duda, Carol                                                           Contingent
          1 Le Conte                                                            Unliquidated
          Laguna Niguel, CA 92677                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Duerr, Judi                                                           Contingent
          1741 Thistle Dr                                                       Unliquidated
          Canton, MI .                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dumpit Romeo                                                          Contingent
          7062 Brookhaven Road                                                  Unliquidated
          San Diego, CA 92114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Duncan William                                                        Contingent
          208 Lakecrest Lane                                                    Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dunlap, Jan                                                           Contingent
          10907 Magnolia Bl # 193                                               Unliquidated
          North Hollywood, CA 91601                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dunn John                                                             Contingent
          24 Magnolia Drive S.                                                  Unliquidated
          Ormand Beach, FL 32174                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dunwoody Alicia                                                       Contingent
          16 Canyon Lake Dr.                                                    Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Durkee, Patrick                                                       Contingent
          9524 Pettswood Drive                                                  Unliquidated
          Huntington Beach, CA 92646                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Durocher, Gail                                                        Contingent
          114 Trinity Blvd                                                      Unliquidated
          Lac Le Biche, Ab T0A2C1                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dusablon, Louise                                                      Contingent
          15503 Quicksilver Dr.                                                 Unliquidated
          Reno, NV 89511                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DuVal, Frank                                                          Contingent
          PO Box 109                                                            Unliquidated
          Frederick, AL 21705                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DW Johnston                                                           Contingent
          1445 North Sunrise Way                                                Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DWP                                                                   Contingent
          PO Box 10324                                                          Unliquidated
          Van Nuys, CA 91410-0324                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          East Meets West Catering                                              Contingent
          265 East V a Altamira                                                 Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eber, Dave                                                            Contingent
          21672 Saluda Cir                                                      Unliquidated
          Huntington Beach, CA 92646                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ebihara, Yushi                                                        Contingent
          4676 Admarality                                                       Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ebner, Paul                                                           Contingent
          2701 E Mesquite Ave Unit Y126                                         Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Echelon Partners                                                      Contingent
          1500 Rosecrans Ave Suite 414                                          Unliquidated
          Manhattan Beach, CA 90266                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDD                                                                   Contingent
          P.O. Box 826880 MIC 83                                                Unliquidated
          Sacramento, CA 94280-0001                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edelstein, David                                                      Contingent
          5089 Aegina Way                                                       Unliquidated
          Oceanside, CA 92056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edward S. Zizmor, Esq.                                                Contingent
          60 Court Street                                                       Unliquidated
          Hackensack, NJ 07601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwards Dave                                                          Contingent
          44 Hobart Road SW                                                     Unliquidated
          Calgary, Alberta T2V3K1                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwards Sandra                                                        Contingent
          12 Eisenhower Drive                                                   Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Edwards Wayne                                                         Contingent
          5868 Sunset Ranch Dr.                                                 Unliquidated
          Riverside, CA 92506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          eFax                                                                  Contingent
          C/O j2 Global Communications Inc.                                     Unliquidated
          Los Angeles, CA 90051-6173                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Egan Douglas                                                          Contingent
          10771 Ashcroft Ave.                                                   Unliquidated
          Richmond, BC V7A3C2                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eisenhower Medical Center                                             Contingent
          39000 Bob Hope Dr.                                                    Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elkins, Kalt Et Al                                                    Contingent
          2049 Century Park East                                                Unliquidated
          Los Angeles, CA 90067                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ellestad, Leigh                                                       Contingent
          81419 Avenida Esmeralda                                               Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Elli Tourje                                                           Contingent
          80261 Paseo De Montana                                                Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Endless Road Entertainment, Inc.                                      Contingent
          1438 N. Gower Street Bldg 5 Suite 100                                 Unliquidated
          Hollywood, CA 90028                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Engelman Andrea                                                       Contingent
          500 S. Farrell Dr. P-100                                              Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          English Sharon                                                        Contingent
          3507 Calle Verano                                                     Unliquidated
          San Clemente, AL 92673                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Envestnet Tamarac Attn: Director of Fina                              Contingent
          701 Fifth Avenue, 14th Floor                                          Unliquidated
          Seattle, WA 92612                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EQCA                                                                  Contingent
          314 N. Palm Canyon Dr.                                                Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Equality California                                                   Contingent
          314 N. Palm Canyon Dr.                                                Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eric Espinoza                                                         Contingent
          54694 Harrison Street                                                 Unliquidated
          Thermal, CA 92274                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $2,000,000.00
          Erica Murray                                                          Contingent
          c/o Derrick Coleman, Esq.                                             Unliquidated
          201 Nevada St.
          El Segundo, CA 90245                                                  Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Litigation claim.
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erica Murray c/o Derrick Coleman, Esq.                                Contingent
          201 Nevada St.                                                        Unliquidated
          El Segundo, CA 90245                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Erik Mora, RICP                                                       Contingent
          10 Michael Road                                                       Unliquidated
          Ladera Ranch, CA 92694                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Esperanza Padilla                                                     Contingent
          11721 Patton Road                                                     Unliquidated
          Downey, CA 90241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Esposa de Gadi                                                        Contingent
          1229 Calet                                                            Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Estrada Cabinet Design                                                Contingent
          15331 Notre Dame Street                                               Unliquidated
          Westminster, CA 92683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Estrera, Bunny                                                        Contingent
          6004 Bixby Village Dr #21                                             Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eugene Ehe                                                            Contingent
          8515 SLV Box                                                          Unliquidated
          Victorville, CA 92395-5126                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Evans, Janice                                                         Contingent
          75 Sam Snead Circle                                                   Unliquidated
          Etters, PA 17319                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EVault Inc.                                                           Contingent
          15422 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Event Management Productions                                          Contingent
          73-647 Sun Lane                                                       Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Eventertainment, LLC                                                  Contingent
          550 S. Oleander Rd.                                                   Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ewing, Norene                                                         Contingent
          4521 Cronton Circle                                                   Unliquidated
          El Paso, TX 79924-6827                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          F.I.N.D. Food Bank, Inc.                                              Contingent
          P.O. Box 10080                                                        Unliquidated
          Indio, CA 92202                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Facet Studios                                                         Contingent
          13323 Lake Forest Dr                                                  Unliquidated
          Draper, UT 84020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FAIR Allocations in Reseach & Donations                               Contingent
          78-629 Bougainvillea Drive                                            Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fallesen, Geoffrey                                                    Contingent
          744 4th Pl                                                            Unliquidated
          Downey, CA 90241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Family Equality Council                                               Contingent
          PO Box 206                                                            Unliquidated
          Boston, MA 02133                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Family Services of the Desert                                         Contingent
          81-711 Highway 111 Suite 101                                          Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Family YMCA of the Desert                                             Contingent
          43-390 San Pablo Ave                                                  Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fang, Xing                                                            Contingent
          16 Quail Creek Ln                                                     Unliquidated
          Pomona, CA 91766                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Father's Heart Ranch                                                  Contingent
          71-175 Aurora Road                                                    Unliquidated
          Desert Hot Springs, CA 92241                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Faulkner, Jerry                                                       Contingent
          880 NE 25th Ave Ste 2-170                                             Unliquidated
          Hillsboro, OR 97124                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Federal Express                                                       Contingent
          P.O.Box 7221                                                          Unliquidated
          Pasadena, CA 91109-7321                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Feix, Mike                                                            Contingent
          14901 Frost Avenue # 79                                               Unliquidated
          Chino Hills, CA 91709                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Felberg, Janet                                                        Contingent
          29 Brindisi                                                           Unliquidated
          Laguna Niguel, CA 92677                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Felton Leslie                                                         Contingent
          1501 S. Beach Blvd. Apt. F604                                         Unliquidated
          La Habra, CA 90631                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Felton, Barry                                                         Contingent
          2440 Purdue Circle                                                    Unliquidated
          Corona, CA 92881                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Feminist Majority Foundation                                          Contingent
          1600 Wilson Blvd., Suite 801                                          Unliquidated
          Arlington, VA 22209                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fennell David                                                         Contingent
          102 Valley Woods Landing NW                                           Unliquidated
          Calgary, Alberta T3B6A4                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ferguson, Robert                                                      Contingent
          38 Via Bella                                                          Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ferguson, Zola                                                        Contingent
          PO Box 9869                                                           Unliquidated
          Reno, NV 89507                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ferree's Group Home, Inc.                                             Contingent
          P.O. Box 570                                                          Unliquidated
          Cabazon, CA 92230                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FINRA                                                                 Contingent
          P.O. Box 418911                                                       Unliquidated
          Boston, MA 02241-8911                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FINRA Office of Dispute Resolution                                    Contingent
          300 S Grand Ave Suite 1700                                            Unliquidated
          Los Angeles, CA 90071-3135                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Firestone, Andrew                                                     Contingent
          27475 Ynez Rd # 105                                                   Unliquidated
          Temecula, CA 92591                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          First Digital Solutions                                               Contingent
          PO Box 749469                                                         Unliquidated
          Los Angeles, CA 90074-9469                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          First Insurance Funding Corp                                          Contingent
          P.O.Box 3306                                                          Unliquidated
          Northbrook, IL 60065-3306                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fishell, Sandy                                                        Contingent
          675 Desert Gardens Dr.                                                Unliquidated
          El Centro, CA 92243                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Five Star Profession                                                  Contingent
          2117 Cliff Drive                                                      Unliquidated
          Eagan, MN 55122                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Flaa, John                                                            Contingent
          16520 22nd Ave N                                                      Unliquidated
          Plymouth, MN 55447                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Flex Benefit Systems                                                  Contingent
          23882 Hall Road                                                       Unliquidated
          Cheshire, OR 97419                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Flister Gail                                                          Contingent
          31 meyer Hill Drive                                                   Unliquidated
          Acton, MA 01720                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Flood, Donna                                                          Contingent
          13900 Marquesas Way                                                   Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Flores, Dulce                                                         Contingent
          4819 San Vicente Blvd # 18 LA C                                       Unliquidated
          Los Angeles, CA                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Flores, Gabriela                                                      Contingent
          400 E Imperial HWY Apt A                                              Unliquidated
          Brea, CA 92821                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Flotlin Michele                                                       Contingent
          13899 SE. 64th Street                                                 Unliquidated
          Bellevue, WA 98006                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fogwill, Jeff                                                         Contingent
          212 Scenic Glen Bay NW                                                Unliquidated
          Calgary, Alberta T3L1J2                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Franchise Tax Board                                                   Contingent
          P.O. Box 942857                                                       Unliquidated
          Sacramento, CA 94257                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Franchise Tax Board of California                                     Contingent
          P.O. Box 942840                                                       Unliquidated
          Sacremento, CA 94240-0002                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Franchuk, Sydney                                                      Contingent
          6433 Foxglove Terrace                                                 Unliquidated
          Victoria, BC V8Z0A3                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Francisco, Laurie                                                     Contingent
          10388 Reindeer Cir                                                    Unliquidated
          Franktown, CO 80116                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Franks Martha                                                         Contingent
          535 Via Assisi                                                        Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Frederick William                                                     Contingent
          39156 Avenida Juarez                                                  Unliquidated
          Cathedreal City, CA 92234                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Freedom Fire Protection                                               Contingent
          1534 N. Moorpark rd. # 141                                            Unliquidated
          Thousand Oaks, CA 91360                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          French, John                                                          Contingent
          2980 Calle Arandas                                                    Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Friends of PS Animal Shelter                                          Contingent
          P.O. Box 4808                                                         Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Friends of the Desert Mountains                                       Contingent
          P.O. Box 1281                                                         Unliquidated
          Palm Desert, CA 92261                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Frigillana Ed                                                         Contingent
          5441 Azure Court                                                      Unliquidated
          Discovery Bat, CA 94505                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Froese, Judy                                                          Contingent
          1741 Davie Street                                                     Unliquidated
          Victoria, BC V8R4W5                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $278.03
          Frontier Communications                                               Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 740407                                                         Disputed
          Cincinnati, OH 45274-0407
                                                                             Basis for the claim:    Communication services
          Date(s) debt was incurred
          Last 4 digits of account number       1710                         Is the claim subject to offset?     No       Yes


 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fullerton Technology Foundation                                       Contingent
          6449 Independence Avenue                                              Unliquidated
          Woodland Hills, CA 91367                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fulton, Dave                                                          Contingent
          79751 Oxford Dr                                                       Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Furmidge, Julie                                                       Contingent
          1370 Linda Ridge Rd                                                   Unliquidated
          Pasadena, CA 91103                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Furtado, Jonathan                                                     Contingent
          74401 Hovley Lane E. #717                                             Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fusselman, Susan                                                      Contingent
          1656 E Brockton Avenue                                                Unliquidated
          Redlands, CA 92374                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gabriel, Roy                                                          Contingent
          12056 SE 104th Court                                                  Unliquidated
          Happy Valley, AL 97086                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gagnon James                                                          Contingent
          2325 N. Mountain Ave.                                                 Unliquidated
          San Bernadino, CA 92404                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gall, Cheryl                                                          Contingent
          89 Castano                                                            Unliquidated
          Rancho Santa Margarita, CA 92688                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gallagher, Mike                                                       Contingent
          35205 Vista del Monte                                                 Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Galloway, Darlene                                                     Contingent
          39680 Tandika Tral S.                                                 Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Galpin David                                                          Contingent
          111 Hampshire Place NW                                                Unliquidated
          Calgary, Alberta T3A4Y7                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gambrel William                                                       Contingent
          2162 Garden Terrace                                                   Unliquidated
          Mountain View, CA 94040                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gannett                                                               Contingent
          651 N. Boonville                                                      Unliquidated
          Springfield, MO 65806                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ganz Deborah                                                          Contingent
          P.O. Box 108                                                          Unliquidated
          Pope Valley, CA 94567                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ganz Susan                                                            Contingent
          P.O.Box 108                                                           Unliquidated
          Pope Valley, CA 94567                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Garcia, Dolores                                                       Contingent
          25869 McBean parkway # 79                                             Unliquidated
          Valencia, CA 91355                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Garcia, Reynaldo                                                      Contingent
          5 Courtney Circle                                                     Unliquidated
          Ladera Ranch, CA 92694                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gardner Pyle, Kay                                                     Contingent
          32120 SW Boones Bend Rd                                               Unliquidated
          Wilsonville, OR 97070-6414                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Garfield, Lani                                                        Contingent
          835 N Avenida Palmas                                                  Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Garry Nancy                                                           Contingent
          2244 Vista Valley Lane                                                Unliquidated
          Vista, CA 92084                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Garvin Jeani                                                          Contingent
          11970 Pine Mountain Court                                             Unliquidated
          Rancho Cucamonga, CA 91739                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gary K. Shaw                                                          Contingent
          11307 1/2 Kling Street                                                Unliquidated
          W. Toluca Lake, CA 91602                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gates, Fred                                                           Contingent
          720 Lamplighter SE                                                    Unliquidated
          Salem, OR 97302                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gaudreau Laurie                                                       Contingent
          20811 Montana Bend In                                                 Unliquidated
          Cypress, AL 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gay, Patrick                                                          Contingent
          3343 So. Barcelona St                                                 Unliquidated
          Spring Valley, AL 91977                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gazda, Gregory                                                        Contingent
          3566 Harwich Drive                                                    Unliquidated
          Carlsbad, CA 92010                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gennet Michael                                                        Contingent
          67 Oakmont Dr                                                         Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Geoghegan, Peter                                                      Contingent
          3258 Archibald Way                                                    Unliquidated
          Whistler, BC V0N1B3                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gerardi, Julie                                                        Contingent
          208 Black Eagle Ave                                                   Unliquidated
          Henderson, NV 89002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gernot Kolb                                                           Contingent
          37068 Southham Court                                                  Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GGM Investments, LLC Attn: Gloria Maneli                              Contingent
          78329 Bonanza Drive                                                   Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ghang, Yoo-Jin                                                        Contingent
          5225 Pearblossom Dr Apt 19                                            Unliquidated
          Riverside, CA 92507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gibas Tom                                                             Contingent
          9050 Palmetto Drive                                                   Unliquidated
          Eden Prairie, MN 55347                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gibbons Thomas                                                        Contingent
          83 Cumberland Court                                                   Unliquidated
          Danville, CA 94526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gibbons, Scott                                                        Contingent
          1343 Mona Ave                                                         Unliquidated
          Redlands, CA 92374                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gibford, Richard                                                      Contingent
          43543 Kingston Ct                                                     Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gibson Maryann                                                        Contingent
          890 Singing Heights Drive                                             Unliquidated
          El Cajon, CA 92019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Giesler, Michele                                                      Contingent
          255 N El Cielo Rd Unit 140-233                                        Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gigliotti David                                                       Contingent
          306 Mary Belle Way                                                    Unliquidated
          Angels Camp, CA 95222                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gilbert, Irene                                                        Contingent
          475 East MacArthur Street                                             Unliquidated
          Sonoma, AL 95476                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gilbertson, Diana                                                     Contingent
          79395 Calle Palmeto                                                   Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gilbertson, John                                                      Contingent
          78206 Varner Rd Suite D Box 300                                       Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gilda's Club Desert Cities                                            Contingent
          67-625 East Palm Canyon Drive Suite 7A                                Unliquidated
          Palm Springs, CA 92234                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Giles, Brad                                                           Contingent
          51555 Monroe Street                                                   Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gill Jennifer                                                         Contingent
          228 Argonne                                                           Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gilman, Larry                                                         Contingent
          2346 Mandeville Canyon Road                                           Unliquidated
          Los Angeles, CA 90049                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Girl Scouts of San Gorgonio                                           Contingent
          77-734 Country Club Drive                                             Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gminski, Leonard                                                      Contingent
          13607 Pequot Drive                                                    Unliquidated
          Poway, CA 92064                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GNW Evergreen Ins. Services                                           Contingent
          16030 Ventura Blvd. Suite 500                                         Unliquidated
          Encino, CA 91423                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gochnour, Denver                                                      Contingent
          1402 Alki Ave SW # 501                                                Unliquidated
          Seattle, WA 98116                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Golden Rainbow Senior Center                                          Contingent
          258 North Palm Canyon Dr.                                             Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Golf Fore Africa                                                      Contingent
          32531 N. Scottsdale Road Suite 105                                    Unliquidated
          Scottdale, AZ 85266                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Golf On Earth Event Services                                          Contingent
          22918 Dolorosa St.                                                    Unliquidated
          Woodland Hills, CA 91367                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gonzalez, Ramon                                                       Contingent
          12844 Oriole Avenue                                                   Unliquidated
          Grand Terrace, CA 92313                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Goodwill Of SoCal                                                     Contingent
          68-100 Ramon Road Suite A-9                                           Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Goodwin, Mike                                                         Contingent
          3519 Alpine Ave.                                                      Unliquidated
          Sioux City, IA 51106                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gordon Orena                                                          Contingent
          Box 210                                                               Unliquidated
          Candle Lake, Saskatchewan S0J3E0                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gorsline, Ken                                                         Contingent
          468 Nueva Wynd                                                        Unliquidated
          Kamloops, BC V2H1S1                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Goshi, Vincent                                                        Contingent
          28610 Mount Rushmore Road                                             Unliquidated
          Rancho Palos Verdes, CA 90275                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gossett, Lisa                                                         Contingent
          2620 SE 35th Ave                                                      Unliquidated
          Portland, OR 97202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Goto, Shoichi                                                         Contingent
          3200 La Rotonda Dr. #311                                              Unliquidated
          Rancho Palos Verdes, CA 90275                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gottschall, Jean                                                      Contingent
          1768 N Fireside St                                                    Unliquidated
          Orange, CA 92867                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gough, Richard                                                        Contingent
          51 Cranbury Drive                                                     Unliquidated
          Trumbull, CT 06611                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gould Grace                                                           Contingent
          5886 242nd Street                                                     Unliquidated
          Langley, BC V2Z1J8                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Graham, Janice                                                        Contingent
          46 Creek Road Unit 4                                                  Unliquidated
          Provincetown, MA 02657                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Graham, Kim                                                           Contingent
          143 Lake Ave W                                                        Unliquidated
          Kirkland, WA 98033                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Grajiola, Pedro                                                       Contingent
          9061 Ventana Court                                                    Unliquidated
          Hesperia, CA 92344                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Graphtek Interactive Attn: OneEighty Mar                              Contingent
          72185-B Painters Path                                                 Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Grasdal, Warren                                                       Contingent
          2712 Lindstrom Drive S.W.                                             Unliquidated
          Calgary, Alberta T3E6E2                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Grassroots Junior Tennis Inc.                                         Contingent
          3100 Sunflower Circle West                                            Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gray, Bernice                                                         Contingent
          11251 Saddle Ridge Road                                               Unliquidated
          Moreno Valley, CA 92557                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Green Business Solutions                                              Contingent
          3579 E. Foothill Blvd. #285                                           Unliquidated
          Pasadena, CA 91107                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gregg Felsen                                                          Contingent
          1775 East Palm Canyon Drive #110-150                                  Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Grella, Jaclyn                                                        Contingent
          742 Summit Drive                                                      Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Grimshaw, Dale                                                        Contingent
          262 Wells Rd                                                          Unliquidated
          Cheshire, MH 01225                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gruver, Holly                                                         Contingent
          5245 Palmera Dr                                                       Unliquidated
          Oceanside, CA 92056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Guide Dogs of the Desert                                              Contingent
          P.O.Box 1692                                                          Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Guidera Linnette                                                      Contingent
          1676 W. Lisbon St.                                                    Unliquidated
          Upland, CA 91784                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gulf California Broadcast                                             Contingent
          PO Box 873808                                                         Unliquidated
          Kansas City, MO 64187-3808                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gurrola, David                                                        Contingent
          4298 Miramonte Pl                                                     Unliquidated
          Riverside, CA 92501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gushiken, Joichi                                                      Contingent
          PO Box 2232                                                           Unliquidated
          Malibu, CA 90265                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gutgesell Katharina                                                   Contingent
          1774 9th Avenue #1                                                    Unliquidated
          San Francisco, CA 94122                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gutierrez, Ezequiel                                                   Contingent
          P.O.Box 1894                                                          Unliquidated
          Cathedral City, CA 92235                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gutierrez, Sandra                                                     Contingent
          829 E Vista Del Playa                                                 Unliquidated
          Orange, CA 92865                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          H.D. Plumbing & Rooter                                                Contingent
          8670 Cadillac Avenue                                                  Unliquidated
          Los Angeles, CA 90034                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          H.W. Image Works                                                      Contingent
          72049 Petland Place - Suite B                                         Unliquidated
          Thousand Palms, Ca 92776                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Haas Cynthia                                                          Contingent
          917 El Cid                                                            Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Habeger, Ann                                                          Contingent
          4066 S Carspn Way                                                     Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Haber Melvyn                                                          Contingent
          200 W Ramon Rd                                                        Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Habitat for Humanity - CV                                             Contingent
          P.O.Box 11738                                                         Unliquidated
          Palm Desert, CA 92255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hachen, Dave                                                          Contingent
          20672 LaVonne Ln                                                      Unliquidated
          huntington Beach, CA 92646                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hadden, James                                                         Contingent
          118 Bay Meadows                                                       Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hafner, Joan                                                          Contingent
          703 Buckingham Dr                                                     Unliquidated
          NSL, UT 84054                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hagerman Tom                                                          Contingent
          10615 -24 Ave                                                         Unliquidated
          Edmonton, Alberta T6J4R4                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hall, James                                                           Contingent
          13041 S. 45th Place                                                   Unliquidated
          Phoenix, AZ 85044                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hallberg, Shirley                                                     Contingent
          73450 Country Club Dr SPC 275                                         Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Halldorson, Jeffrey                                                   Contingent
          1203 N 10th Pl Apt 1205                                               Unliquidated
          Renton, WA 98057                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hamano, Yoshiharu                                                     Contingent
          5548 Welland Ave # A                                                  Unliquidated
          Temple CIty, CA 91780                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hamburger Law Firm Attorney Trust Acct                                Contingent
          61 West Palisade Avenue                                               Unliquidated
          Englewood, NJ 07631                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,070.00
          Hamburger Law Firm, LLC                                               Contingent
          Attn: Managing Partner                                                Unliquidated
          61 W. Palisade Ave                                                    Disputed
          Englewood, NJ 07631-2706
                                                                             Basis for the claim:    Legal fees
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hanaoka, Toshiki                                                      Contingent
          15927 S Harvard Blvd # A                                              Unliquidated
          Gardena, CA 90247                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hands of Christ Ministries                                            Contingent
          67912 Nicole Ct                                                       Unliquidated
          Desert Hot Springs, CA 92240                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hansen, J C                                                           Contingent
          1043 N Leoma Ln                                                       Unliquidated
          Chandler, AZ 85225                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hansen, Wayne                                                         Contingent
          658 W Calle Artistica                                                 Unliquidated
          Green Valley, AZ 85614                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hanson Jim                                                            Contingent
          7664 West 84th Street                                                 Unliquidated
          Bloomington, MN 55438                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harb, Levy & Weiland LLP                                              Contingent
          One Market Landmark Suite 620                                         Unliquidated
          San Francisco, CA 94105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harrison Gloria                                                       Contingent
          1059 Cinnamon Lane                                                    Unliquidated
          Corona, CA 92882                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harrison, George                                                      Contingent
          77363 Sky Mesa Lane                                                   Unliquidated
          Indian Wells, CA 92210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harrison, Natalie                                                     Contingent
          6619 Wilson Rd                                                        Unliquidated
          Bakersfield, CA 93309                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hartley, Cathy                                                        Contingent
          17442 Arminta St                                                      Unliquidated
          Northridge, CA 91325                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Haskell & Davis                                                       Contingent
          22045 Del Valle Street                                                Unliquidated
          Woodland Hills, CA 91364                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hauser, Jeff J                                                        Contingent
          14780 Cobblestone Ln.                                                 Unliquidated
          Lake Elsinore, CA 92530                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hawes Sabrya                                                          Contingent
          8911 Kentville St.                                                    Unliquidated
          Riverside, CA 92502                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hawkins, Janice                                                       Contingent
          75275 Purple Hills Road                                               Unliquidated
          Indian Wells, CA 92210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hayek, Mark                                                           Contingent
          11 Vista Mirage Way                                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hayek-Manning Group                                                   Contingent
          74245 Highway 111 Suite 201                                           Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hayes, Sally Ann                                                      Contingent
          PO Box 303                                                            Unliquidated
          Mastic Beach, NY 11951                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Haysom Barry                                                          Contingent
          99 Ranchlands Lane NE                                                 Unliquidated
          Medincine Hat, Alberta T1C2A5                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Healthy Family Foundation                                             Contingent
          73555 San Gorgonio Way                                                Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Heather Eskey                                                         Contingent
          788 Columbus Ave. Apartment 5C                                        Unliquidated
          New York, NY 10025                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Heather James Fine Art                                                Contingent
          45188 Portola Avenue                                                  Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Heddema, Gina                                                         Contingent
          574 Nicola Street                                                     Unliquidated
          Vancouver, BC V6G3J7                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hedding, Judy                                                         Contingent
          9602 E. Sunridge Drive                                                Unliquidated
          Sun Lakes, AL 85248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hedlund, Mark                                                         Contingent
          1045 Tranquil Hills Ct.                                               Unliquidated
          Paso Robles, CA 93446                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Helping People Hear Again                                             Contingent
          40101 Monterey Ave Suite B1-PMB 327                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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              Name

 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henderson, Julie                                                      Contingent
          372 Carrol Park East Unit 304                                         Unliquidated
          Long Beach, CA 90814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hendrickson, Karen                                                    Contingent
          58 Colonial Drive                                                     Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Henson, Troy                                                          Contingent
          15029 N Thompson Peak parkway Suite                                   Unliquidated
          B111                                                                  Disputed
          Scottsdale, AZ 85260
                                                                             Basis for the claim:    Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hercus, Josephine                                                     Contingent
          36707 Avenida Del Sol                                                 Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Heyamoto Norman                                                       Contingent
          2165 E. Menlo Ave.                                                    Unliquidated
          Fresno, CA 93710                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hiett, Patricia                                                       Contingent
          26502 Cortina Dr                                                      Unliquidated
          Mission Viejo, Ca 92691                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          High Desert Homeless Services Inc.                                    Contingent
          14049 Amargosa Rd                                                     Unliquidated
          Victorville, CA 92392                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Higle, Jack                                                           Contingent
          PO Box 791                                                            Unliquidated
          Eureka, MT 59917                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hilden, Linda                                                         Contingent
          48372 Tacoma Narrows Pl                                               Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hilder, Christine                                                     Contingent
          78670 HWY 111 # 176                                                   Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hill Nancy                                                            Contingent
          544 Fifth St.                                                         Unliquidated
          Ann Arbor, MI 48103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hill, Karen                                                           Contingent
          8824 S 16th Place                                                     Unliquidated
          Phoenix, AZ 85042                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hillseth, Robert                                                      Contingent
          5633 Oaktree                                                          Unliquidated
          Whitehall, MI 49461                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hiner, Travis                                                         Contingent
          438 Monte Vista                                                       Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hing Dianne                                                           Contingent
          2010 20th Street #20                                                  Unliquidated
          Courtenay, BC V9N2G6                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hires, Lee                                                            Contingent
          5205 W 124th Terr                                                     Unliquidated
          Overland park, KS 66209                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hirvela, Marilyn                                                      Contingent
          16061 Marian Ave                                                      Unliquidated
          Lake Elsinore, CA 92530                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hodgin, Thomas                                                        Contingent
          7812 Gold Buckle Road                                                 Unliquidated
          Highland, CA 92346                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hoffmeyer, Douglas                                                    Contingent
          155 Desert Holly Dr North Slopes City                                 Unliquidated
          Sedona, AZ 86336                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hogg Linda                                                            Contingent
          12 Via Haciendas                                                      Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Holley Carol                                                          Contingent
          564 Stow Road                                                         Unliquidated
          Marlborough, MA 01752                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hollingsworth, Kenneth                                                Contingent
          1706 F Herault                                                        Unliquidated
          St Louis, MO 63125                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Holmes, Donald                                                        Contingent
          25 Lakewood Road                                                      Unliquidated
          Halfmood Bay, Alberta T4S1S1                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Holmes, Ronald                                                        Contingent
          2788 Wallace St                                                       Unliquidated
          Van Couver, BC V6R3V7                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Homes Run                                                             Contingent
          515 North Palm Canyon Drive                                           Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Honda, Takahiki                                                       Contingent
          9740 Irvine Blvd                                                      Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Honey, Karen                                                          Contingent
          4033 N. Broadmoor Ave.                                                Unliquidated
          Covina, CA 91722                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hooper, Carole                                                        Contingent
          21560 Thornton Avenue                                                 Unliquidated
          Maple Ridge, BC V4R2G8                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hoover, Earl                                                          Contingent
          1006 Ashley Lane                                                      Unliquidated
          Libertyville, IL 60048                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hope Lutheran Church                                                  Contingent
          45-900 Portola Ave.                                                   Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hopkins Janet                                                         Contingent
          22 W. Lee Street #502                                                 Unliquidated
          Seattle, WA 98119                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hornyak Barbara                                                       Contingent
          5779 S. Henderson Canyon Dr.                                          Unliquidated
          Green Valey, AZ 85622                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Houser Anna                                                           Contingent
          7 Willard Street                                                      Unliquidated
          South Portland, ME 04106                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Howard Carol                                                          Contingent
          649 Maple Court                                                       Unliquidated
          San Leandro, CA 94577                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Howard, Sandra                                                        Contingent
          1741 Windermere Loop Rd                                               Unliquidated
          Windermere, BC VOB2L2                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hoyer, Cheri                                                          Contingent
          1104 194 St                                                           Unliquidated
          Long Beach, CA 98631                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hoyt Charles                                                          Contingent
          10311 Malaguena Ct.                                                   Unliquidated
          Bakersfield, CA 93312                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hsieh, Kevin                                                          Contingent
          10533 Lynrose St                                                      Unliquidated
          Temple City, CA 91780                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hubbs, Don                                                            Contingent
          2322 Boulder Bluffs Ct                                                Unliquidated
          Riveside, CA 92506                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Huber, Dave                                                           Contingent
          25343 Silver Aspen Way Apt 1312                                       Unliquidated
          Valencia, CA 91381                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hudson, Jody                                                          Contingent
          17791 Norwood Park Place                                              Unliquidated
          Tustin, CA 92780                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hull, Jeff                                                            Contingent
          266 Avenida Victoria                                                  Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Humane Society of the Desert                                          Contingent
          P.O.Box 580798                                                        Unliquidated
          Palm Springs, CA 92258                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hung, Richard                                                         Contingent
          1681 16th Avenue                                                      Unliquidated
          San Francisco, CA 94122                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hung, Wan-Ting                                                        Contingent
          257 Van Buren St Apt A                                                Unliquidated
          Monterey, CA 93940                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hunsicker Barbara                                                     Contingent
          5593 Handwerk Road                                                    Unliquidated
          Germansville, PA 18053                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hunt, Darrell                                                         Contingent
          27906 NE 144th St                                                     Unliquidated
          Duvall, WA 98019-8119                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hurtado, Alfredo                                                      Contingent
          1094 Cabrillo Park Dr # G                                             Unliquidated
          Santa Ana, CA 92701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Huyghebaert Sherry                                                    Contingent
          1618 Benson Bat                                                       Unliquidated
          Regina, Saskatchewan S4V1S7                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Iavan, David                                                          Contingent
          4111 W 239th St Apt 35                                                Unliquidated
          Torrance, CA 90505                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ilovido, Megan                                                        Contingent
          2368 Fullercreek Road                                                 Unliquidated
          Chino Hills, CA 91709                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Image Source                                                          Contingent
          650 East Hospitality Lane Suite 540                                   Unliquidated
          San Bernardino, CA 92408                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Imanaka Stanley                                                       Contingent
          1115 Parkside Way                                                     Unliquidated
          Lompoc, CA 93436                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Indigo Marketing Agency LLC                                           Contingent
          13130 Decant Drive                                                    Unliquidated
          Poway, CA 92064                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Indio Youth Task Force                                                Contingent
          46-800 Jackson Street                                                 Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Indre, Michael                                                        Contingent
          5721 Hyland Greens Dr                                                 Unliquidated
          Bloomington, MN 55437                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Informa Investment Solutions Inc (Zehyr)                              Contingent
          PO Box 416014                                                         Unliquidated
          Boston, MA 02241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Integrated Weatlh Casualty Insurance Ser                              Contingent
          74245 Highway 111                                                     Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          IPFS Corporation                                                      Contingent
          601 S. Glen Oaks Blvd Suite 403                                       Unliquidated
          Burbank, CA 91502                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Irvine Company                                                        Contingent
          P.O. Box 841393                                                       Unliquidated
          Los Angeles, CA 90084-1393                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Irvine Company Attn: Legal Dept.                                      Contingent
          P.O. Box 841393,                                                      Unliquidated
          Los Angeles, CA 90084-1393                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ishii, Motoko                                                         Contingent
          9665 Genesee Ave Apt B1                                               Unliquidated
          San Diego, CA 92121                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ISN - Protected Wealth Insurance Service                              Contingent
          1525 Faraday Ave Suite 140                                            Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ISU Cunnington & Associates                                           Contingent
          P.O. Box 429                                                          Unliquidated
          Eagle, ID 83616                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Iverson Melanie                                                       Contingent
          312 Maliview Drive                                                    Unliquidated
          Salt Spring Island, BC V8k1B1                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          j2 Global Communications Inc.                                         Contingent
          PO Box 51873                                                          Unliquidated
          Los Angeles, CA 90051-6173                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacko Law Group, PC                                                   Contingent
          1350 Columbia Street Suite 300                                        Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jackson George                                                        Contingent
          558 Shannon Rd RR1                                                    Unliquidated
          Plainfield, Ontario K0K2V0                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,947.50
          Jackson Lewis P.C.                                                    Contingent
          Attn: Coprorate Officer                                               Unliquidated
          PO Box 416019                                                         Disputed
          Boston, MA 02241-6019
                                                                             Basis for the claim:    Legal fees
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacobs Patricia                                                       Contingent
          18131 Langlois Rd. Space G-18                                         Unliquidated
          Desert Hot Springs, CA 92241                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jacobson Patricia                                                     Contingent
          18131 Langlois Road Space G-18                                        Unliquidated
          Desert Hot Springs, CA 92241                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaeckel Michael                                                       Contingent
          5525 Camino De Bryant                                                 Unliquidated
          Yorba Linda, CA 92887                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jafari, Fred                                                          Contingent
          717 N Lake Ave                                                        Unliquidated
          Pasadena, CA 91104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaffe Insurance                                                       Contingent
          13160 Mindanao Way                                                    Unliquidated
          Marina Del Rey, CA 90292                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James Casey                                                           Contingent
          787 N. Palm Canyon Drive                                              Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          James, Randall                                                        Contingent
          224 Canterbury Court SW                                               Unliquidated
          Calgary, AL T2W6C4                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JAMS, Inc.                                                            Contingent
          PO Box 845402                                                         Unliquidated
          Los Angeles, CA 90084                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jane Fessier                                                          Contingent
          70360 Mottle Circle                                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jansson, Gunnar                                                       Contingent
          3076 Linksland Rd                                                     Unliquidated
          Mr Pleasant, SC 29466                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaque Maria                                                           Contingent
          13861 Jasperson Way                                                   Unliquidated
          Westminster, CA 92683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jaramillo, Chris                                                      Contingent
          1565 River Oak Road                                                   Unliquidated
          Independence, OR 97351                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jarvi Robin                                                           Contingent
          520 Smith Flat Road                                                   Unliquidated
          Angels Camp, CA 95222                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jarvis, Penfield                                                      Contingent
          195 Bloomfield Ave                                                    Unliquidated
          West Hartford, CT 06117                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jason Nettleton                                                       Contingent
          81608 Rancho Santana Drive                                            Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jay-Mar Designs, Inc.                                                 Contingent
          470 Enterprise Street                                                 Unliquidated
          San Marcos, CA 92078                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jean Robert                                                           Contingent
          38-99 Christie Pt SW                                                  Unliquidated
          Calgary, Alberta T3H3K8                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jearnow Lewis                                                         Contingent
          140 Loch Lomond Rd                                                    Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffer, Magels, Butler Et Al                                          Contingent
          P.O. Box 513267                                                       Unliquidated
          Los Angeles, CA 90051-3267                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey Lane & Associates, Inc.                                       Contingent
          155 N Crescent Dr Ste 411                                             Unliquidated
          Beverly Hills, CA 90210                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey, Keith                                                        Contingent
          39788 Somerset Ave                                                    Unliquidated
          Palm Desert, CA 92111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jeffrey, Ken                                                          Contingent
          213 Discovery Ridge Way SW                                            Unliquidated
          Calgary, Alberta T3H5G2                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jensen's                                                              Contingent
          2465 East Palm Canyon Dr                                              Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jensen, Jens Ole                                                      Contingent
          2405 Birney Place                                                     Unliquidated
          North Vancouver, BC V7H1J8                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jesse F. Rodriguez                                                    Contingent
          8550 1/2 Luxor Street                                                 Unliquidated
          Downey, CA 90241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jessica Tanner Event Planning                                         Contingent
          74114 Cosmopolitan Lane                                               Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jewish Family Service of Desert                                       Contingent
          801 E Tahquitz Canyon Way Suite 202                                   Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jim Bray, CFP                                                         Contingent
          802 Calle Dulcinea                                                    Unliquidated
          San Clemente, CA 92672                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joanne Baker                                                          Contingent
          13082 Mindanao Way                                                    Unliquidated
          Marina del Rey, CA 90292                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joanne Reiter Inc.                                                    Contingent
          7034 51ST AVE. NE                                                     Unliquidated
          Seattle, WA 98115                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jockers, Nancy                                                        Contingent
          6016 Sam Snead Tr                                                     Unliquidated
          Billings, MT 59106                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Andy McMullen                                                    Contingent
          1209 Masterpiece Drive                                                Unliquidated
          Oceanside, CA 92057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Deardorff                                                        Contingent
          245 Via San Lucia                                                     Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $54,883.43
          John Hancock                                                          Contingent
          Attn: Legal Dept.                                                     Unliquidated
          30 Dan Road, #55915                                                   Disputed
          Canton, MA 02021
                                                                             Basis for the claim:    Unpaid insurance premiums
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Hancock                                                          Contingent
          P.O. Box 7247-0290                                                    Unliquidated
          Philadelphia, PA 19170-0290                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Hancock Long-Term Care                                           Contingent
          P.O.Box 7247-0290                                                     Unliquidated
          Philadelphia, PA 19170-0290                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Wong, CIA, CRMA                                                  Contingent
          847 N. Topaz Circle                                                   Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnson Darrell                                                       Contingent
          26582 Blue Water Road                                                 Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnson Margaret                                                      Contingent
          4391 Polke Lane                                                       Unliquidated
          Rhinelander, WI 54501                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnson, Dianne                                                       Contingent
          34891 Middlecoff Ct                                                   Unliquidated
          Beaumont, CA 92223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnson, Larry                                                        Contingent
          1949 Comox St                                                         Unliquidated
          Vancouver, BC V6G1RY                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnson, Wanda Y                                                      Contingent
          450 W. Fairway Cir                                                    Unliquidated
          Mesa, AZ 85201                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnston, Douglas                                                     Contingent
          365 Canyon Court                                                      Unliquidated
          Grand Junction, CO 81507                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Johnston, Theresa                                                     Contingent
          162 Dore Crescent                                                     Unliquidated
          Saskatoon, Saskatchewan S7K4X7                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jonathan Johnson                                                      Contingent
          Attn: Johnson Builders                                                Unliquidated
          6940 Jellico Avenue                                                   Disputed
          Van Nuys, CA 91406
                                                                             Basis for the claim:    Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jones Marijorie                                                       Contingent
          W7772 Fur Ln                                                          Unliquidated
          Oxford, WI 53952                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joo, Jae Hyun                                                         Contingent
          250 N COllege Park Dr Q32                                             Unliquidated
          Upland, CA 91786                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph A. Davidson Plumbing, Inc                                      Contingent
          P.O.Box 5245                                                          Unliquidated
          Culver City, CA 90231-5245                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Huettl                                                         Contingent
          j67435 Tamara                                                         Unliquidated
          Cathedral Ciry, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Joseph Krensky                                                        Contingent
          3623 Jasmine Avenue #210                                              Unliquidated
          Los Angeles, CA 90034                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JSK Entertainment                                                     Contingent
          52890 Avenida Vallejo                                                 Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Junior Golf Foundation of the Desert                                  Contingent
          74403 Desert Bajada Trail                                             Unliquidated
          Indian Wells, CA 92210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Junior League of Palm Springs                                         Contingent
          Desert Community                                                      Unliquidated
          P.O.Box 2196                                                          Disputed
          Palm Desert, CA 92261
                                                                             Basis for the claim:    Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Junxure                                                               Contingent
          3651 Trust Drive                                                      Unliquidated
          Raleigh, NC 27616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Juvenile Diabetes Research Foundation                                 Contingent
          2023 Chicago Ave Suite B-13                                           Unliquidated
          Riverside, CA 92507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kahl, Heather                                                         Contingent
          13 Straddock Villas SW                                                Unliquidated
          Calgary, Alberta T3H5C7                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kajisa, Satoshi                                                       Contingent
          1041 Glendon Ave # 4180                                               Unliquidated
          Los Angeles, AL 90024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kakaria Vijay                                                         Contingent
          9680 Lido Court                                                       Unliquidated
          Desert Hot Springs, CA 92240                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kalkwarf, Rhonda                                                      Contingent
          112 South Louis Street                                                Unliquidated
          Mount Prospect, IL 60056                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kaminsky Productions                                                  Contingent
          303 N. Indian Canyon Drive                                            Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kamryn Hafer                                                          Contingent
          73-905 Krug Ave                                                       Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kan, Cher                                                             Contingent
          5758 Date Ave                                                         Unliquidated
          Rialto, CA 92377                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kane John                                                             Contingent
          21282 Avenida Nubes                                                   Unliquidated
          Lake Forest, CA 92630                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kanoski Painting                                                      Contingent
          82 682 Cody Dr                                                        Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kaplan Rebecca                                                        Contingent
          81655 Prism Dr.                                                       Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Karakuc Alex                                                          Contingent
          9 Straddock Villas SW                                                 Unliquidated
          Calgary, Alberta t3h5c7                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kass, Jeffrey                                                         Contingent
          2454 Upland Court                                                     Unliquidated
          Livermore, AL 94550                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Katieli Teu                                                           Contingent
          12746 Matteson Avenue #9                                              Unliquidated
          Mar Vista, CA 90066                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kato, Takuya                                                          Contingent
          307 Falcon Creek                                                      Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keating, John                                                         Contingent
          20 Windgate Drive                                                     Unliquidated
          Windsor Junction, Nova Scotia B2T1G3                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keeley, Moira                                                         Contingent
          2307 Jackson Ave                                                      Unliquidated
          Seaford, NY 11783                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keiffer Thomas                                                        Contingent
          1375 Elmwood Street                                                   Unliquidated
          Upland, CA 91786                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keller Allan                                                          Contingent
          70461 Boothill Road                                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kells, Lorna                                                          Contingent
          2700 Golf Club Drive #41                                              Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kelly Anna                                                            Contingent
          39320 Camino Piscina                                                  Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kelly, Wendy                                                          Contingent
          120 Mission Hills Drive                                               Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kempster Ward                                                         Contingent
          12321 Katydid Cir                                                     Unliquidated
          San Diego, CA 92129                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keple, Charles                                                        Contingent
          2315 Cornwall St # 103                                                Unliquidated
          Regina, SK S4P2L4                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Keren Simchas Chosson                                                 Contingent
          712 Montgomery Street                                                 Unliquidated
          Brooklyn, NY 11213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Key Mobile, Inc.                                                      Contingent
          78206 Varner Road #D149                                               Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kikuchi, Toshihiro                                                    Contingent
          9 Torrigiani Aisle                                                    Unliquidated
          Irvine, CA 92606                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Killarney, Laura                                                      Contingent
          706 West St                                                           Unliquidated
          Walpole, MA 02081                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kim, Bit Na                                                           Contingent
          6233 Adobe Cir                                                        Unliquidated
          Irvine, Ca 92617                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kim, James                                                            Contingent
          8357 Renwick Dr                                                       Unliquidated
          Corona, CA 92883                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.824    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kim, Jeff                                                             Contingent
          104 Black Calla Ct                                                    Unliquidated
          San Ramon, CA 94582                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.825    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kim, Renee                                                            Contingent
          2105 Kenilworth Ave                                                   Unliquidated
          Los Angeles, CA 90039                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.826    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kindem, Wayne                                                         Contingent
          14146 W. White Rock Drive                                             Unliquidated
          Sun City West, AZ 85375                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.827    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kinder, Scott                                                         Contingent
          43100 Cook St Suite 100                                               Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.828    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kiner Scott                                                           Contingent
          43100 Cook Street                                                     Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.829    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          King's School of the Desert                                           Contingent
          67675 Bolero Road                                                     Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.830    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          King, Elaine G                                                        Contingent
          81620 Ave 49 Lot 256                                                  Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.831    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kinworthy, Larry                                                      Contingent
          2316 Carol Dr                                                         Unliquidated
          Fullerton, CA 92833                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.832    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kirk Kim                                                              Contingent
          1480 Racquet Club Road                                                Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.833    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kistner Grace                                                         Contingent
          25 San Juan Court                                                     Unliquidated
          Saint Helena, CA 94574                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.834    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Klas, Leroy                                                           Contingent
          5148 Riverview Crescent                                               Unliquidated
          Fairmont Hot Springs, BC V0B1L1                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.835    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Klassen Alicja                                                        Contingent
          34 W. 47th Ave.                                                       Unliquidated
          Vancouver, BC V5Y2X8                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.836    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Klawon, Sandra                                                        Contingent
          3670 West Lake Rd PO Box 170                                          Unliquidated
          Stow, NY 14785                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.837    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kline Cheryl                                                          Contingent
          1 Avenida Carita                                                      Unliquidated
          Fort Myers Beach, FL 33931                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.838    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Knapp Paula                                                           Contingent
          667 Anne Lane                                                         Unliquidated
          Henderson, NV 89015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.839    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Knauss, Christopher                                                   Contingent
          28516 SW Cascade Loop                                                 Unliquidated
          Wilsonville, CA 97070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.840    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Knight, Patty                                                         Contingent
          7310 58th Ave NE                                                      Unliquidated
          Seattle, WA 98115                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.841    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Knowles, Michele                                                      Contingent
          28841 West Worcester Rd                                               Unliquidated
          Sun City, CA 92586                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.842    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Knox, Linda                                                           Contingent
          81379 Joshua Tree Ct                                                  Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.843    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kobayashi, Connie                                                     Contingent
          1610 Courtland Rd                                                     Unliquidated
          Belmont, CA 94002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.844    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kobayashi, Yoshihiro                                                  Contingent
          2950 Columbia Street                                                  Unliquidated
          Torrance, CA 90503                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.845    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kohs, Perla                                                           Contingent
          15455 Blackberry Hill Road                                            Unliquidated
          Los Gatos, CA 95030-7509                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.846    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Koizumi, Noriya                                                       Contingent
          1164 Camino Del Rey                                                   Unliquidated
          Chula Vista, CA 91910                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.847    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Konaka, Masayasu                                                      Contingent
          117 Shinzaike Hiraokacho                                              Unliquidated
          Kakagawa, Hyogo 675-0101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.848    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kono, Satoshi                                                         Contingent
          40 Mirador                                                            Unliquidated
          Irvine, CA 92612                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.849    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Korean American Coalition                                             Contingent
          3540 Wilshire Blvd #911                                               Unliquidated
          Los Angeles, CA 90010                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.850    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Koreatown Youth& Comm Center                                          Contingent
          3727 W. 6th Street Suite 300                                          Unliquidated
          Los Angeles, CA 90020                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.851    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kott Gary                                                             Contingent
          237 Loch Lomond                                                       Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.852    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kozaki, Takahiro                                                      Contingent
          16 Celano Ct                                                          Unliquidated
          Newport Coast, CA 92657                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.853    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kraft Nabisco Championship                                            Contingent
          2 Racquet Club Drive                                                  Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.854    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Krajchir Stephanie                                                    Contingent
          6932 Sylvia Avenue                                                    Unliquidated
          Reseda, CA 91335                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.855    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kravitz, Inc. Attn: Accounting Dept.                                  Contingent
          16030 Ventura Blvd. Suite 200                                         Unliquidated
          Encino, CA 91436                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.856    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kretz, Karen                                                          Contingent
          3725 Pacific Ave                                                      Unliquidated
          Long Beach, CA 90807                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.857    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Krizman, William                                                      Contingent
          613 12th Street                                                       Unliquidated
          Manhattan Beach, CA 90266                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.858    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KUB, T M                                                              Contingent
          28197 Ajilwood Ct.                                                    Unliquidated
          Menifee, CA 92584                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.859    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kuehlman Helen                                                        Contingent
          73321 Desert Greens Dr. No.                                           Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.860    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kuhn Brandt                                                           Contingent
          45950 LasColinas                                                      Unliquidated
          Las Quinta, CA 92253-7237                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.861    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kuhn, Thomsas                                                         Contingent
          1380 Callejon Cervantes                                               Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.862    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kunze, Jan                                                            Contingent
          1004 NW 38th St.                                                      Unliquidated
          Oklahoma City, OK 73118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.863    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kussner Suzanne                                                       Contingent
          30299 Buck Tail Drive                                                 Unliquidated
          Canyon Lake, CA 92587                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.864    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          L.A. Registrar Recorder/County Clerk                                  Contingent
          P.O. Box 53120                                                        Unliquidated
          Los Angeles, CA 90053-0120                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.865    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LA County Tax Collector                                               Contingent
          P.O. Box 54027                                                        Unliquidated
          Los Angeles, CA 90054-0027                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.866    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          La Quinta Arts Foundation                                             Contingent
          78150 Calle Tampico #215                                              Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.867    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          La Rocca, Carole                                                      Contingent
          1930 Kent Dr.                                                         Unliquidated
          Brentwood, CA 94513                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.868    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          La Salle Lighting                                                     Contingent
          PO Box 2859                                                           Unliquidated
          Cathederal City, CA 92235-2859                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.869    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lackey, Robert                                                        Contingent
          32175 Michelle Drive                                                  Unliquidated
          Lake Elsinore, CA 92530                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.870    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lake, Michael R.                                                      Contingent
          4168 Camino Paz                                                       Unliquidated
          Spring Valley, CA 91977-1106                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.871    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lakso, James                                                          Contingent
          4120 E Fernwood Ave                                                   Unliquidated
          Orange, CA 92869                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.872    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lambird Mikell                                                        Contingent
          22691 Revere Road                                                     Unliquidated
          Lake Forest, CA 92630                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.873    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Land, Judy                                                            Contingent
          19356 Branden Iron Road                                               Unliquidated
          Walnut, CA 91789                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.874    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Landberg Jan                                                          Contingent
          P.O.Box 794                                                           Unliquidated
          Friday Harbor, WA 98250                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.875    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Langdon Jacueline                                                     Contingent
          23 Warren Place                                                       Unliquidated
          Winnipeg, Manitoba R2V3P1                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.876    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lapidus & Lapidus                                                     Contingent
          177 South Beverly Drive                                               Unliquidated
          Beverly Hills, CA 90212                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.877    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Larsen Jan                                                            Contingent
          P.O.Box 669                                                           Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.878    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Larson, Leonard                                                       Contingent
          1681 East Beechwood Drive                                             Unliquidated
          Layton, UT 84040                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.879    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lauer Bonnie                                                          Contingent
          525 Via Laguna Vista                                                  Unliquidated
          San Luis Obispo, CA 93405                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.880    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Law Offices Cosgrove, Cosgrove & Hump                                 Contingent
          41-610 Indian Trail Rd                                                Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.881    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Law Offices of Adam Bram                                              Contingent
          1274 NORTH CRESCENT HEIGHTS BLVD.                                     Unliquidated
          #226                                                                  Disputed
          West Hollywood, CA 90046
                                                                             Basis for the claim:    Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.882    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lawrence Joseph                                                       Contingent
          227 Bellevue Way NE. #84                                              Unliquidated
          Bellevue, WA 98004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.883    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Le Vallauris                                                          Contingent
          385 West Tahquitz Canyon Way                                          Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.884    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leadership Coachella Valley                                           Contingent
          c/o Palm Desert Area Chamber of Commerce                              Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.885    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leadership Edu for Asian Pacifics                                     Contingent
          327 E. 2nd Street Suite 226                                           Unliquidated
          Los Angeles, CA 90012                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.886    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEAF                                                                  Contingent
          P.O.Box 644006                                                        Unliquidated
          Cincinnati, OH 45264-4006                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.887    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lee ChinYing                                                          Contingent
          2212 Calle Taxco                                                      Unliquidated
          West Covina, CA 91792                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.888    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lee Ellen Walker                                                      Contingent
          72551 Theodora Lane                                                   Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.889    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lee Robert                                                            Contingent
          8008 Modesto Drive                                                    Unliquidated
          Delta, BC V4C4B1                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.890    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lee, Gary                                                             Contingent
          703 Avenida Azor                                                      Unliquidated
          San Clamente, CA 92673                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.891    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lee, I-Hsaun                                                          Contingent
          150 E Grandview Ave                                                   Unliquidated
          Arcadia, CA 91006                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.892    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lee, Jin Ki                                                           Contingent
          2480 S Quebec St # G                                                  Unliquidated
          Denver, CO 80231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.893    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leidal, Karyn                                                         Contingent
          1910 21 Ave.                                                          Unliquidated
          Calgary, AB T2T6A2                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.894    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leidl William                                                         Contingent
          4259 Eileen Street                                                    Unliquidated
          Riverside, CA 92504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.895    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leitner Pam                                                           Contingent
          11077 Palm Blvd                                                       Unliquidated
          Los Angeles, CA 90034                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.896    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leliaert, Deborah                                                     Contingent
          401 Paradise Cove                                                     Unliquidated
          Shady Shores, TX 76208                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.897    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lemp Ron                                                              Contingent
          1687 NW Farewell Dr.                                                  Unliquidated
          Bend, OR 97701                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.898    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lentz Norman                                                          Contingent
          10927-41 Avenue                                                       Unliquidated
          Edmonton, Alberta T6J2P3                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.899    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leonard, Ray                                                          Contingent
          55727 Brae Burn                                                       Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.900    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lewis Judy                                                            Contingent
          184 Wild Horse Dr.                                                    Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.901    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lexus Financial Services                                              Contingent
          P.O. Box 4102                                                         Unliquidated
          Carol Stream, IL 60197-4102                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.902    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lezama, Antelmo                                                       Contingent
          4819 San Vicente Blvd #18                                             Unliquidated
          Los Angeles, CA 90019                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.903    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LFS                                                                   Contingent
          c/o DCH Lexus of Oxnard                                               Unliquidated
          Oxnard, CA 93036                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.904    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LIBCO INC Attn: Magical Holiday Designs                               Contingent
          512 E. Redlands Blvd                                                  Unliquidated
          San Bernadino, CA 92262                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.905    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Liberty Incorporated (Clark Penney)                                   Contingent
          9231 Atelier Drive                                                    Unliquidated
          Anchorage, AK 99507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.906    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Licata Shelley                                                        Contingent
          Western Pacific Band 7272 Joshua Lane                                 Unliquidated
          Yucca Valley, CA 92284                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.907    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lim Gene                                                              Contingent
          44444 Parkmeadow Dr.                                                  Unliquidated
          Fremont, CA 94539                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.908    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lim, Margy                                                            Contingent
          566 Little River Way                                                  Unliquidated
          Sacramento, CA 95831                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.909    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lin, Chuang Yan                                                       Contingent
          1651 E. Michelle St.                                                  Unliquidated
          West Covina, CA 91791                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.910    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,847.06
          Lincoln National Life Insurance Co.                                   Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 0821                                                           Disputed
          Carol Stream, IL 60132-0821
                                                                             Basis for the claim:    Insurance premiums
          Date(s) debt was incurred
          Last 4 digits of account number       7216                         Is the claim subject to offset?     No       Yes


 3.911    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lindberg, Gary                                                        Contingent
          PO Box 1100                                                           Unliquidated
          La Canada, CA 91012                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.912    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lindersmith, Steven                                                   Contingent
          45525 Via Puebla                                                      Unliquidated
          Temecula, CA 92592                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.913    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lindsay Sandra                                                        Contingent
          1920 SW River Dr #1101                                                Unliquidated
          Portland, OR 97201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.914    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lindstrom, Michele L                                                  Contingent
          2282 Via Mariposa West Unit O                                         Unliquidated
          Laguna Woods, CA 92637                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.915    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Linklater Amanda                                                      Contingent
          9622 Cottowood                                                        Unliquidated
          Howard City, MI 49329                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.916    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Linson, Patricia                                                      Contingent
          5507 162nd Street                                                     Unliquidated
          Omaha, NE 68116                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.917    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lisa Beaty                                                            Contingent
          57862 Santa Rosa Trail                                                Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.918    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lisa Dimaria                                                          Contingent
          82350 Puccini Drive                                                   Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.919    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lisberg David                                                         Contingent
          P.O.Box 4207                                                          Unliquidated
          Big Bear Lake, CA 92315                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.920    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Liu, Weipang                                                          Contingent
          11250 Dale St Apt 56                                                  Unliquidated
          Garden Grove, CA 92841                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.921    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Live It Up Productions                                                Contingent
          2080 Tangerine Court                                                  Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.922    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lobe, Judy                                                            Contingent
          6036 Tigertail Dr SW                                                  Unliquidated
          Olympia, WA 98512                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.923    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Locke Johnathan                                                       Contingent
          2252 Shady Hills Drive                                                Unliquidated
          Diamond Bar, CA 91765                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.924    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lodklin, Carol                                                        Contingent
          PO Box 852                                                            Unliquidated
          Rociada, NM 87742                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.925    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lofstrom Karin                                                        Contingent
          3492 Southgate Road                                                   Unliquidated
          Ottawa, Ontario K1V9P9                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.926    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Loma Linda University Children's Hos                                  Contingent
          P.O.Box 2000                                                          Unliquidated
          Loma Linda, CA 92354                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.927    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Loney Mary                                                            Contingent
          556 Sunset Lane West                                                  Unliquidated
          Hinesburg, VT 05461                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.928    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Long Karen                                                            Contingent
          2785 Arbor View Lane                                                  Unliquidated
          Lompoc, CA 93436                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.929    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lopez Tracy                                                           Contingent
          2966 Valera Court                                                     Unliquidated
          Vienna, VA 22181                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.930    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lopez, Ruelle                                                         Contingent
          12132 Ironstone Dr                                                    Unliquidated
          Rancho Cucamonga, CA 91739                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.931    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lopez, Tracy                                                          Contingent
          2966 Valera Court                                                     Unliquidated
          Vienna, VA 22181                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.932    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lord, Trevor                                                          Contingent
          Villa 8 25 Temperley Street                                           Unliquidated
          Nicholls, ACT 02913-0000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.933    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Los Angeles County Tax Collector                                      Contingent
          L.A. County Tax Collector                                             Unliquidated
          Los Angeles, CA 90054-0027                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.934    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Los Angeles Dept. of Water & Power                                    Contingent
          P.O. Box 30808                                                        Unliquidated
          Los Angeles, CA 90030-0808                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.935    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lott, Kay                                                             Contingent
          2320 Perry Court                                                      Unliquidated
          Claremont, CA 91711                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.936    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Loun Theresa                                                          Contingent
          462 Taylor Dr.                                                        Unliquidated
          Claremont, CA 91711                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.937    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Loving All Animals                                                    Contingent
          73-550 Alessandro Drive                                               Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.938    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lowery Property Advisors                                              Contingent
          105 Decker Court Suite 810                                            Unliquidated
          Irving, TX 75062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.939    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LQ Blackhawk Brigade Band                                             Contingent
          P.O. Box 10625                                                        Unliquidated
          Palm Desert, CA 92255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.940    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lu, Andrew                                                            Contingent
          8521 International Ave Apt 232                                        Unliquidated
          Canoga Park, CA 91304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.941    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lucero Sherri                                                         Contingent
          P.O.Box 8483                                                          Unliquidated
          Long Beach, CA 90808                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.942    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lulu California Bistro                                                Contingent
          200 S. Palm Canyon Dr.                                                Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.943    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lum Connie                                                            Contingent
          P.O.Box 4977                                                          Unliquidated
          El Dorado Hills, CA 95762                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.944    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lumpy's                                                               Contingent
          72769 Dinah Shore Drive                                               Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.945    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lund, Bob                                                             Contingent
          RR2 Site4 Box9                                                        Unliquidated
          Red Deer, Alberta T4N500                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.946    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lykken, Al                                                            Contingent
          3616 214th Ave E                                                      Unliquidated
          Lake Tapps, WA 98391                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.947    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lync Technologies Inc,                                                Contingent
          C/O Satuit Technologies Inc.                                          Unliquidated
          Norwell, MA 02061                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.948    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lynch, Richard                                                        Contingent
          PO BOX 985                                                            Unliquidated
          Temecula, CA 92593                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.949    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lysik William                                                         Contingent
          21 Woodridge Drive                                                    Unliquidated
          Hockessin, Al 19707                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.950    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MacLeod-Roemer, Jake                                                  Contingent
          267 Santa Barbara Cir                                                 Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.951    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Macros, Paulette                                                      Contingent
          7117 E Meseto Ave                                                     Unliquidated
          Mesa, AZ 85209                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.952    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maculans, Ronald                                                      Contingent
          900 W Sierra Madre Ave Unit # 74                                      Unliquidated
          Azusa, CA 91702                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.953    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Madigan Farro, Lorraine                                               Contingent
          82 Legendary Trail                                                    Unliquidated
          Stouffville, ON L4A1N6                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.954    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Madison Tim                                                           Contingent
          115 E. Main St. # 10                                                  Unliquidated
          Auburn, WA 98002                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.955    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maeda Chris                                                           Contingent
          1390 Iverson Place                                                    Unliquidated
          Riverside, CA 92506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.956    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maggiacomo Joseph                                                     Contingent
          4499 Chamonix Ct.                                                     Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.957    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mahlberg Ray                                                          Contingent
          5956 Silverleaf Drive                                                 Unliquidated
          Foresthill, CA 95631                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.958    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maile, Klein                                                          Contingent
          2070 Calle Lileta                                                     Unliquidated
          Palm Springs, CA 00092-2632                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.959    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MailFinance                                                           Contingent
          25881 Network Place                                                   Unliquidated
          Chicago, IL 60673-1258                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.960    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Make-A-Wish of Orange County & The Inlan                              Contingent
          14232 Red Hill Ave                                                    Unliquidated
          Tustin, CA 92780                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.961    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Makowski, David                                                       Contingent
          2734 Castlewood Lane                                                  Unliquidated
          Simi Valley, CA 93065                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.962    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maldonado, Viola                                                      Contingent
          15010 South Main Street                                               Unliquidated
          Gardena, CA 90248                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.963    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Malone, Yvonne                                                        Contingent
          808 S 10th Ave                                                        Unliquidated
          St. Charles, IL 60174                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.964    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mambourg Floris                                                       Contingent
          6546 SW Virginia Avenue                                               Unliquidated
          Portland, OR 97239                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.965    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Manatt Phelps Phillips                                                Contingent
          11355 West Olympic Blvd                                               Unliquidated
          Los Angeles, CA 90064-1614                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.966    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mangiaterra, Samuel                                                   Contingent
          10282 Farmington St                                                   Unliquidated
          Oak Hills, CA 92344                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.967    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mann Gelon Glodney & Augenstein                                       Contingent
          1880 Century Park East                                                Unliquidated
          Los Angeles, CA 90067                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.968    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mann Jeffrey                                                          Contingent
          33399 Manning St                                                      Unliquidated
          Yucaipa, CA 92399                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.969    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Manning, Reesa                                                        Contingent
          4 Wake Forest Ct.                                                     Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.970    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mantis Constance                                                      Contingent
          2701 S. Idaho Rd. #534                                                Unliquidated
          Apache Junction, AZ 85119                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.971    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Manus, Michael                                                        Contingent
          34663 Yale Drive                                                      Unliquidated
          Yucaipa, CA 92399                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.972    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marc Koven                                                            Contingent
          80621 Declaration Avenue                                              Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.973    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marchant Trisha                                                       Contingent
          11937 Blue Heron Dr.                                                  Unliquidated
          Draper, UT 84020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.974    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marchionni, Leonard                                                   Contingent
          33 Clubhouse Way                                                      Unliquidated
          Sutton, MA 01590                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.975    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Garcia                                                          Contingent
          3850 E. Calle do Ricardo #B                                           Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.976    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Hayek                                                            Contingent
          11 Vista Mirage Way                                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.977    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Hayek                                                            Contingent
          11 Vista Mirage Way                                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.978    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Hayek                                                            Contingent
          11 Vista Mirage Way                                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.979    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mark Thatcher, CRPC                                                   Contingent
          41866 Yucca Lane                                                      Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.980    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marks Teresa                                                          Contingent
          900 N. 90th                                                           Unliquidated
          Seatlle, WA 98103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.981    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marlo Productions, Inc.                                               Contingent
          57893 Hidden Gold Drive                                               Unliquidated
          Yucca Valley, CA 92284                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.982    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marshall, Mark                                                        Contingent
          1968 E. Chia Rd                                                       Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.983    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martha's Village & Kitchen                                            Contingent
          83791 Date Ave.                                                       Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.984    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin Marleh                                                         Contingent
          8612 Whitesails Circle                                                Unliquidated
          Huntington Beach, CA 92646                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.985    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin Michael                                                        Contingent
          10080 Sir Lancelot Drive                                              Unliquidated
          Santee, CA 92071                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.986    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin Ronald                                                         Contingent
          4308 NE 186th Street                                                  Unliquidated
          Lake Forest Park, WA 98155                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.987    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin Sandra                                                         Contingent
          17 Via Mariposa                                                       Unliquidated
          Rancho Santa Margarita, CA 92688                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.988    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martin, Greg                                                          Contingent
          13014 Canso Place SW 91 Laredo Lane                                   Unliquidated
          Calgary, AB T2W3B1                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.989    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martinez Louise                                                       Contingent
          4868 Serra Ave.                                                       Unliquidated
          Fremont, CA 94538                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.990    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Marywood Palm Valley School                                           Contingent
          35-525 Da Vall Road                                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.991    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Masco, Janis                                                          Contingent
          25 Rosalind Road                                                      Unliquidated
          Brick, NJ 08724                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.992    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mason Cindy                                                           Contingent
          1470 16th NE                                                          Unliquidated
          Salem, OR 97301                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.993    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Massey, David                                                         Contingent
          19965 Apple Creek Ln                                                  Unliquidated
          Yorba Linda, CA 92886                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.994    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Master's Refreshment Services, LLC                                    Contingent
          16666 Smoketree Street Suite B2                                       Unliquidated
          Hesperia, CA 92345-6116                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.995    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Matlock, Sheryl                                                       Contingent
          335 Prospect Ave                                                      Unliquidated
          Long Beach, CA 90814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.996    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maund, David                                                          Contingent
          14032 205th Ave NE                                                    Unliquidated
          Woodinville, WA 98077                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.997    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maximum Security                                                      Contingent
          P.O.Box 1566                                                          Unliquidated
          Palm Springs, CA 92263-1566                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.998    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maxon, Carolyn                                                        Contingent
          1142 Scott Avenue                                                     Unliquidated
          Bremerton, AL 98310                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.999    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          May Todd                                                              Contingent
          1255 E. Rosarito Way                                                  Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.100
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          May, M.Judith T.                                                      Contingent
          42600 Cook St. Suite 110                                              Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McCallum Theatre                                                      Contingent
          73000 Fred Waring Dr.                                                 Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McCarthy, Tim                                                         Contingent
          11382 Sage Street                                                     Unliquidated
          Ventura, CA 93004                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McCarty, Walter                                                       Contingent
          354 San Francisco Ave                                                 Unliquidated
          Ventura, CA 93004                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McCourt, Doug                                                         Contingent
          1775 E Palm Canyon Dr Suite 110-337                                   Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McCreary Tim                                                          Contingent
          7830 Mountain Ash Drive                                               Unliquidated
          Concord Twp, OH 44060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McCulley Laurie                                                       Contingent
          3195 Oakcrest Dr.                                                     Unliquidated
          Forest Grove, OR 97116                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.100
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McDonald Selznick Associates, Inc.                                    Contingent
          140 Broadway 46th Floor                                               Unliquidated
          New York, NY 10005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McDonald, Les                                                         Contingent
          608 34th Ave South                                                    Unliquidated
          Cranbrook, BC V1C6L9                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McDonald, Tom                                                         Contingent
          9351 Back Hills Way                                                   Unliquidated
          San Diego, CA 92129                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McFarland, Patricia                                                   Contingent
          55 Tierra Plano                                                       Unliquidated
          Rancho Santa Margarita, CA 92688                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mcginnis, Pamela                                                      Contingent
          2347 Westbrook Ct                                                     Unliquidated
          Claremont, CA 91711                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McGuire Kathleen                                                      Contingent
          400 Shea Lane                                                         Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McKenzie, John                                                        Contingent
          125 Harmonia Cres.                                                    Unliquidated
          Woodbridge, Ontario L4L3Y2                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.101
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McKnight, Barbara                                                     Contingent
          28425 Championship Dr                                                 Unliquidated
          Moreno Valley, CA 92555                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McLain, John                                                          Contingent
          14324 Travers Ct                                                      Unliquidated
          Moreno Valley, CA 92553                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McLean Company Rentals                                                Contingent
          477 S. Palm Canyon Drive Suite 1                                      Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McLintock Janet                                                       Contingent
          657 Eaglewood Court                                                   Unliquidated
          Qualicum Beach, BC V9K0A3                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McLure John                                                           Contingent
          10 Gillingham Ave.                                                    Unliquidated
          Winnipeg, Manitoba R3T3S9                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McManus John                                                          Contingent
          1180 High Road                                                        Unliquidated
          Santa Barbara, CA 93108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McMillan, James                                                       Contingent
          46 Lake Shore Road                                                    Unliquidated
          Grosse Pointe Farms, MI 48326                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.102
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McQuillen Karen                                                       Contingent
          235 Lowell Street                                                     Unliquidated
          Reading, MA 01867                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McQuitty, William                                                     Contingent
          3125 11th Street                                                      Unliquidated
          Silvis, IL 61282                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McRoberts, Carol                                                      Contingent
          PO Box 162                                                            Unliquidated
          Turlock, CA 95381-0162                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McVicar Diarmid                                                       Contingent
          823 Mallory Avenue                                                    Unliquidated
          Parksville, BC V9P2M1                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Melanson, David                                                       Contingent
          1053 Malibu Canyon                                                    Unliquidated
          Brea, CA 92821                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mele, Lynne                                                           Contingent
          214 Quail Covey Ct                                                    Unliquidated
          Lincoln, CA 95648                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Menotti, Patricia                                                     Contingent
          3395 Brownstone Court                                                 Unliquidated
          Post Falls, ID 83854                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.102
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mercedes-Benz Financial                                               Contingent
          PO Box 5209                                                           Unliquidated
          Carol Stream, IL 60197-5209                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mercedes-Benz of Palm Springs                                         Contingent
          4095 East Palm Canyon Drive                                           Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Merinuk, Edward                                                       Contingent
          192 Malibu Dr                                                         Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Merriman Cecily                                                       Contingent
          P.O.Box 245 8368 Dolly Varden                                         Unliquidated
          Kings Beach, CA 96143                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Merritt, Carmen                                                       Contingent
          6401 45th Place North                                                 Unliquidated
          Crystal, MN 55428                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Metzger, Gary                                                         Contingent
          23762 Mulligan Mile                                                   Unliquidated
          Rapid City, SD 57702                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Meyers, Jean                                                          Contingent
          11307 Lorene St                                                       Unliquidated
          Whittier, CA 90601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.103
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mezzoni, Ed                                                           Contingent
          703 Apple Ct                                                          Unliquidated
          Windor, CO 80550                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miao, Jessica                                                         Contingent
          1132 S Spring Meadow Dr                                               Unliquidated
          West Covina, CA 91791                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael McConnell                                                     Contingent
          14 Monarch Bay Plaza Suite 292                                        Unliquidated
          Dana Point, CA 92629                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michael Merino                                                        Contingent
          5881 Gloxina Drive                                                    Unliquidated
          Yorba Linda, CA 92887                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michaels Custom Framing & Gallery                                     Contingent
          1717 E Vista Chino A7-424                                             Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michele Sarna                                                         Contingent
          67 E. Sutton Place                                                    Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Michele Sarna, AIF, AWMA                                              Contingent
          74137 Academy Lane E.                                                 Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.104
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mickelson, Mark                                                       Contingent
          9230 SE Johns Ct                                                      Unliquidated
          Happy Valley, OR 97086                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mictchell, Marilyn                                                    Contingent
          9217 Atlantis St.                                                     Unliquidated
          Spring Valley, CA 91977                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Middleton, Kari                                                       Contingent
          39087 Paradise Way                                                    Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Midorikawa, Yosuke                                                    Contingent
          100 Bayview Circle Sutie 6000                                         Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miguel Contreras Foundation                                           Contingent
          P.O. Box 57218                                                        Unliquidated
          Los Angeles, CA 90057                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mike Lugay Design Solutions                                           Contingent
          142 Paseo de la Concha Unit i                                         Unliquidated
          Redondo Beach, CA 90277                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mike McConnell                                                        Contingent
          34004 Selva Road, Unit 377                                            Unliquidated
          Dana Point, CA 92629                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.104
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miles Ann                                                             Contingent
          26 Ocean Grove Lane                                                   Unliquidated
          Waretown, NJ 08758                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miles Bryan                                                           Contingent
          #3- 14655 32nd Avenue                                                 Unliquidated
          Surrey, AL V4P3R6                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miller, Donna                                                         Contingent
          2568 Highland Trail                                                   Unliquidated
          Bullhead City, AZ 86442                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miller, J.F.                                                          Contingent
          1531 E Jefferson Way Apt 212                                          Unliquidated
          Simi Valley, CA 93065                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miller, Taylor                                                        Contingent
          PO Box 1801                                                           Unliquidated
          Running Springs, CA 92382                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mills, Mardi                                                          Contingent
          3618 NE 137th St.                                                     Unliquidated
          Seattle, WA 98125                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miltner, William                                                      Contingent
          580 Canyon Vista Drive                                                Unliquidated
          Newbury Park, CA 91320                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.105
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mince, David                                                          Contingent
          5751 Cochran Street                                                   Unliquidated
          Simi Valley, CA 93063                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mission Hills Employee Scholarship Fund                               Contingent
          78-091 Red Hawk Lane                                                  Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mitchell, Cynthia                                                     Contingent
          12945 Caminito Dosamantes                                             Unliquidated
          12945 Caminito, CA 92128                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Miwa, Grace                                                           Contingent
          2300 Maple Avenue Unit 99                                             Unliquidated
          Torrance, CA 90503                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mizell Senior Center                                                  Contingent
          480 S. Sunrise Way                                                    Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mizzigili, Karin                                                      Contingent
          3843 W Avenue N3                                                      Unliquidated
          Palmdale, CA 93551                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Moisey, Bruce                                                         Contingent
          31375 Faja Caballeros                                                 Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.106
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Moore John                                                            Contingent
          262175 Poplar Hill Dr. NW                                             Unliquidated
          Calgary, Alberta T3R1C9                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Moore, Michael                                                        Contingent
          8 Crown Court                                                         Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Moorhouse, Kathy                                                      Contingent
          2552 SInging Vista Way                                                Unliquidated
          El Cajon, CA 92019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Moraveck, Henry                                                       Contingent
          7443 W. 81st Street                                                   Unliquidated
          Los Angeles, CA 90045                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Moreno, Alejandro                                                     Contingent
          12581 Spindletop Rd                                                   Unliquidated
          San Diego, CA 92129                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morgan Karen                                                          Contingent
          2928 Denver St.                                                       Unliquidated
          San Diego, CA 92117                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morgan Pressel Foundation                                             Contingent
          7559 Fairmont Ct                                                      Unliquidated
          Boca Raton, FL 33496                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.107
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morgan Stanley Smith Barney LLC                                       Contingent
          70 West Madison Suite 500                                             Unliquidated
          Chicago, IL 60602                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morgan-Saucedo, Frances                                               Contingent
          PO Box 62                                                             Unliquidated
          LaCoste, TX 78039                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morken Doreen                                                         Contingent
          11329 Stroke Cutters Drive                                            Unliquidated
          Taft, CA 93268                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morris Desert Media                                                   Contingent
          1321 North Gene Autry Trail                                           Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morris, James                                                         Contingent
          17920 NE 154th Street                                                 Unliquidated
          Woodinville, WA 98072                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morris, Roy                                                           Contingent
          2515 Fourth Ave Apt 2408                                              Unliquidated
          Seattle, WA 98121                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morrison, Nancy                                                       Contingent
          213 Mapleridge Drive                                                  Unliquidated
          Mankato, MN 56001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.107
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Morrison, Tara                                                        Contingent
          6333 College Grove Way Unit # 11-101                                  Unliquidated
          San Diego, CA 92115                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mortimer, Leslie                                                      Contingent
          112 Brookline St                                                      Unliquidated
          Moraga, CA 94556                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mosel, Susan                                                          Contingent
          131 Elm Street                                                        Unliquidated
          Oregon, WI 5375-1525                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mourning Star Center of the VNAIC                                     Contingent
          42600 Cook St.     Ste. 202                                           Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mrachek Rebecca                                                       Contingent
          7212 Eads Ave.                                                        Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mt. Jacinto Ladies Golf Team                                          Contingent
          1499 N. State St.                                                     Unliquidated
          San Jacinto, CA 92583                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mueninghoff, Eric                                                     Contingent
          PO Box 5373                                                           Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.108
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mulcahy, Walter                                                       Contingent
          81579 Avenida De Baile                                                Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mules, Heather                                                        Contingent
          904 Chi Chester                                                       Unliquidated
          Gabriel Island, BC V0R1X1                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mullet, Michele                                                       Contingent
          16221 Black Bart Dr                                                   Unliquidated
          Willits, CA 95490                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mullins, Suzanne                                                      Contingent
          253 South Lane                                                        Unliquidated
          El Cajon, CA 92021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mumford Colleen                                                       Contingent
          2600 NE Minnehaha St. # 137                                           Unliquidated
          Vancouver, WA 98665                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mupas, Garry                                                          Contingent
          10425 La Donia Lane                                                   Unliquidated
          Mentone, CA 92359                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Murao, Junichi                                                        Contingent
          870 Hilgard Ave 412                                                   Unliquidated
          Los Angeles, CA 90024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.109
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Murphy John                                                           Contingent
          11503-100th Ave. Ste505                                               Unliquidated
          Edmonton, Alberta T5K2K7                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Museum of the Moving Image                                            Contingent
          36-01 35 Avenue                                                       Unliquidated
          Astoria, NY 11106                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Musselman, Kim                                                        Contingent
          50-19160-119th Avenue                                                 Unliquidated
          Pitt Meadows, BC V3Y2L7                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mustain, Wendy                                                        Contingent
          981 King John Way                                                     Unliquidated
          El Dorado Hills, CA 95762                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          My Little Flower Shop                                                 Contingent
          861 N. Palm Canyon Drive                                              Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nagata, Koji                                                          Contingent
          25 Pacifica # 5334                                                    Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nance Noella                                                          Contingent
          74051 Erin St.                                                        Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.109
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NAPLIA (North American Professional Liab                              Contingent
          161 Worcester Rd #504                                                 Unliquidated
          Framingham, MA 01701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Narinson, Edward                                                      Contingent
          1535 N Kenmore Ave Apt 1A                                             Unliquidated
          Los Angeles, CA 90027                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NASD Regulation, Inc.                                                 Contingent
          NASD Regulation Inc. CRD-IARD                                         Unliquidated
          Philadelphia, PA 19175-9995                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Naslund, Katherine                                                    Contingent
          2550 Resevoir Rd                                                      Unliquidated
          Clarkston, WA 99403                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nason Richard                                                         Contingent
          7703 E. Bisbee Rd                                                     Unliquidated
          Scottsdale, AZ 85258                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nat'l Notary Assoc.                                                   Contingent
          P.O. Box 541032                                                       Unliquidated
          Los Angeles, CA 90054-1032                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Natalier, Michelle                                                    Contingent
          4008 Rochester Rd                                                     Unliquidated
          San Diego, CA 92116                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.110
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          National Center for Lesbian Rights                                    Contingent
          870 Market Street Suite 370                                           Unliquidated
          San Francisco, CA 94102                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          National Labor College                                                Contingent
          10000 New Hampshire Avenue                                            Unliquidated
          Silver Springs, MD 20903                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          National Notary Association                                           Contingent
          PO Box 541032                                                         Unliquidated
          Los Angeles, CA 90054-1032                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nebraska Dept. of Insurance                                           Contingent
          Terminal Bldg.                                                        Unliquidated
          Lincoln, NE 68508-3690                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nelson H D                                                            Contingent
          79269 Sign of Spring                                                  Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nelson, Robert                                                        Contingent
          9109 Webb Kay                                                         Unliquidated
          Dallas, TX 75243                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nelson, WIlliam                                                       Contingent
          1010 Leyland                                                          Unliquidated
          West Vancouver, BC V7T2L4                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.111
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $200.00
          Neofunds by Neopost                                                   Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 740407                                                         Disputed
          Tampa, FL 33630-3139
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Neofunds by Neopost                                                   Contingent
          P.O. Box 30193,                                                       Unliquidated
          Tampa, FL 33630-3193                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $432.05
          NeoPost                                                               Contingent
          Attn: Corporate Officer                                               Unliquidated
          2304 Tarpley Rd., Ste. 134                                            Disputed
          Carrollton, TX 75006
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9071                         Is the claim subject to offset?     No       Yes


 3.111
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NeoPost                                                               Contingent
          2304 Tarpley Road, Suite 134                                          Unliquidated
          Carrollton, TX 75006                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nettleton Inc                                                         Contingent
          81608 Rancho Santana Dr                                               Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nevada Division of Insurance                                          Contingent
          1818 E. College Pkwy Suite 103                                        Unliquidated
          Carson City, NV 89706                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          New Systems Exterminating                                             Contingent
          P.O. Box 5039                                                         Unliquidated
          Playa Del Rey, CA 90296                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.111
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Newport Beach Chamber of Commerce                                     Contingent
          20351 Irvine Avenue #C-5                                              Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Neymeyer, Dennis                                                      Contingent
          22813 77th Avenue SE                                                  Unliquidated
          Woodinville, WA 98072                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NHRA Medical Group, Inc.                                              Contingent
          471 N. Old Newport Blvd. #302                                         Unliquidated
          Newport Beach, CA 92663                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholas Cunnington                                                   Contingent
          21 Granville Street                                                   Unliquidated
          Ladera Ranch, CA 92694                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholson, Joan                                                       Contingent
          405 1488 Hornby Street                                                Unliquidated
          Vancouver, BC V6Z1X3                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicholson, Suzzanne                                                   Contingent
          184 Mafeking Avenue                                                   Unliquidated
          Ottawa, Ontario K1K2V5                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nick Cunnington                                                       Contingent
          2230 W. Everest Lane, Suite 100                                       Unliquidated
          Meridian, ID 83646                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.112
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicole Smaga                                                          Contingent
          3710 E Calle de Carlos Apt 3                                          Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicole Smaga Opsis Architecture                                       Contingent
          920 NW 17th Ave.                                                      Unliquidated
          Portland, OR 97209                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nicoll, Timothy                                                       Contingent
          3091 Meadowstone Dr                                                   Unliquidated
          Simi Valley, CA 93063                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nielsen, Keith                                                        Contingent
          2164 North Berne Drive                                                Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Niles Laura                                                           Contingent
          19 Jackdaw Ct.                                                        Unliquidated
          Sacrament, CA 95834                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nishiguchi Jun                                                        Contingent
          854 Saint Vincent                                                     Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nishimaki Yoshihito                                                   Contingent
          3305 Kashiwa St.                                                      Unliquidated
          Torrance, CA 90505                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.113
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nolan-Houston, Norma                                                  Contingent
          10569 Lanigan Rd                                                      Unliquidated
          Apple Valley, CA 92308                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Nolfi, Mary                                                           Contingent
          34800 Staccato St                                                     Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Noteworthy Moving                                                     Contingent
          521 Commercial Street                                                 Unliquidated
          Glendale, CA 91203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NYNEX                                                                 Contingent
          P.O. Box 1100                                                         Unliquidated
          Albany, NY 12250-0001                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          O'Conner Louise                                                       Contingent
          24 Brookside Circle                                                   Unliquidated
          Ogunquit, ME 03907                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          O'Connor, James                                                       Contingent
          78755 Iron Bark Drive                                                 Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oak Valley Golf Academy                                               Contingent
          20530 Earlgate St. Ste.100                                            Unliquidated
          Diamond Bar, CA 91789                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.114
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oberaigne Thomas                                                      Contingent
          74134 Scholar Lane East                                               Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ocean Train, LLC Attn: Live Magazine                                  Contingent
          611 S. Palm Canyon Drive Suite 7-548                                  Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Office of Finance, City of Los Angeles                                Contingent
          P.O. Box 30716                                                        Unliquidated
          Los Angeles, CA 90030-0716                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ofifce of the Secretary of State                                      Contingent
          PO Box 83720                                                          Unliquidated
          Boise, ID 83720-0080                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ohtsuki, Koh                                                          Contingent
          14010 North Creek Dr # 3012                                           Unliquidated
          Mill Creek, WA 98012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Okamoto, Clifton                                                      Contingent
          73826 Masson Street                                                   Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Okey, Marjorie                                                        Contingent
          69466 Camino Bonita                                                   Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.114
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Olive Crest                                                           Contingent
          73-725 El Paseo Dr.                                                   Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Olson, Erik                                                           Contingent
          1704 Malvern Hill Place                                               Unliquidated
          Duluth, GA 90097                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          On Target Media                                                       Contingent
          31855 Date Palm Dr Suite 3-181                                        Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          One America                                                           Contingent
          Attn: LBX 5391                                                        Unliquidated
          350 East Devon Avenue                                                 Disputed
          Itasca, IL 60143
                                                                             Basis for the claim:    Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.115
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,878.00
          One El Paseo North, LLC                                               Contingent
          Attn: Legal Dept.                                                     Unliquidated
          1919 Grand Ave., Suite 2A
                                                                                Disputed
          San Diego, CA 92109
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Lease of business premises in Palm Desert, CA
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.115
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          One El Paseo North, LLC                                               Contingent
          Attn: Thomas J. Polis                                                 Unliquidated
          Polis & Associates, APLC                                              Disputed
          19800 MacArthur Blvd., Suite 1000
          Irvine, CA 92612                                                   Basis for the claim:    Counsel to One El Paseo North LLC. For Notice
                                                                             Purposes Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.115
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ong Encina                                                            Contingent
          6 River Glade Court                                                   Unliquidated
          Sacramento, CA 95831                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Opera Arts                                                            Contingent
          P.O. Box 5433                                                         Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Operation Good Works, Inc.                                            Contingent
          75400 Gerald Ford Drive #110                                          Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Orange County Clerk-Recorder Attn: Ficti                              Contingent
          12 Civic Center Plaza, Room 106                                       Unliquidated
          Santa Ana, CA 92701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Orange County, Make-A-Wish                                            Contingent
          14232 Red Hill Ave                                                    Unliquidated
          Tustin, CA 92780                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Orenelas, Louis                                                       Contingent
          422 Robinson Drive                                                    Unliquidated
          Tustin, CA 92782                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oshona Karen                                                          Contingent
          7811 N. Neva                                                          Unliquidated
          Niles, IL 60714                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.116
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OToole, Maryann                                                       Contingent
          9007 SVL                                                              Unliquidated
          Victorville, CA 92395                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Otsubo, Nobumasa                                                      Contingent
          8775 Costa Verde Blvd # 301                                           Unliquidated
          San Diego, CA 92122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Oughton, Carolyne                                                     Contingent
          459 Brookmere Cres. SW                                                Unliquidated
          Calgary, AB T2W2R2                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ouzts, Debra                                                          Contingent
          1 Stormy Night Lane Sun City Hilton Head                              Unliquidated
          Bluffton, SC 29909                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Owens, G.L.                                                           Contingent
          2212 Mills Park Circle                                                Unliquidated
          Milford, IA 51351                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ozawa, Steve                                                          Contingent
          850 E Ocean Blvd # 1602                                               Unliquidated
          Long Beach, CA 90802                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pachciarz, Judith                                                     Contingent
          12135 Emilita St.                                                     Unliquidated
          North Hollywood, CA 91607                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.116
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pacific Advisors                                                      Contingent
          480 N. Indian Hill Blvd. Suite 2A                                     Unliquidated
          Claremont, CA 91711                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pacific Investment Management Company (P                              Contingent
          Client Billing Department PO Box 512129                               Unliquidated
          Los Angeles, CA 90051-0129                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Packer, Les                                                           Contingent
          254 Desert Falls Drive East                                           Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pagay Kevin                                                           Contingent
          94-1228C kipa'a Place                                                 Unliquidated
          Waipahu, HI 96797                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palacios, Eleanor                                                     Contingent
          144 Hermann St                                                        Unliquidated
          San Francisco, CA 94102                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Desert Chamber of Commerce                                       Contingent
          72-559 Highway 111                                                    Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Desert High School Cheer                                         Contingent
          74-910 Aztec Road                                                     Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.117
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Desert Middle School -Odyssey of th                              Contingent
          40880 Avenida Calafia                                                 Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs Alarm                                                    Contingent
          P.O. Box 3294                                                         Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs Art Museum                                               Contingent
          P.O.Box 2310                                                          Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs Art Museum PS                                            Contingent
          101 Museum Dr.                                                        Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs Chamber                                                  Contingent
          190 West Amado Road                                                   Unliquidated
          Palm Springs, CA 92262-5519                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs Disposal Svc.                                            Contingent
          P.O. Box 2711                                                         Unliquidated
          Palm Springs, CA 92263-2711                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs International Film Festival                              Contingent
          181 South Civic Drive Suite 1                                         Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.118
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs Life                                                     Contingent
          1745 Greens Road                                                      Unliquidated
          Houston, TX 92262-5507                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs Mirror And Glass                                         Contingent
          34040 Date Palm Dr Cathedral City 92234                               Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs ModCom                                                   Contingent
          PO Box 4738                                                           Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs Post Office Attn: Brian                                  Contingent
          333 E Amado Road                                                      Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs SunUp Rotary Foundation                                  Contingent
          31855 Date Palm Dr. Suite 3-318                                       Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palm Springs USO                                                      Contingent
          3400 E Tahquitz Canyon Way Ste 9                                      Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Palms To Pines Mirror & Glass, Inc                                    Contingent
          83-791 Ave 45                                                         Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.118
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paquin Michael                                                        Contingent
          25656 Spicewood Street                                                Unliquidated
          Corona, CA 92883                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Parden, George JR                                                     Contingent
          198 Laverne Way                                                       Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pare, Marsha                                                          Contingent
          5717 E Rocking Horse Way                                              Unliquidated
          Orange, CA 92869                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pare, Marshas                                                         Contingent
          5717 E Rocking Horse Way                                              Unliquidated
          Orange, CA 92869                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pareto Systems                                                        Contingent
          101-1593 Sutherland Ave                                               Unliquidated
          Kelowna, BC V1Y5Y7                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Park, Steve                                                           Contingent
          4816 Palm Drive                                                       Unliquidated
          La Canada, CA 91011                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Parkinson's Resource Organization                                     Contingent
          74-478 Highway 111                                                    Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.119
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Partee Susan                                                          Contingent
          297 Paseo Primavera                                                   Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pasemko, Ruth                                                         Contingent
          212 4074 Gellatly Rd                                                  Unliquidated
          Westbank, BC V4T2S8                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pastry Swan Bakery                                                    Contingent
          68-444 Perez Rd Suite C                                               Unliquidated
          Cathederal City, CA 92234                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patmore, Barry                                                        Contingent
          16732 Monte Hemoso Do                                                 Unliquidated
          Pacific Palasides, CA 90272                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patrick Scott                                                         Contingent
          375 Grenville Ave.                                                    Unliquidated
          Orillia, CA L3V7P5                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Patrone, Jerry                                                        Contingent
          65093 Blue Sky Circle                                                 Unliquidated
          Desert Hot Springs, CA 92240                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pattok, Dan                                                           Contingent
          316 W lake Samish Dr                                                  Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.120
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pattok, R Dan                                                         Contingent
          316 W Lake Samish Dr # 11                                             Unliquidated
          Bellingham, WA 98229                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paul E. Stansen, APC                                                  Contingent
          26500 Agoura Road #545                                                Unliquidated
          Calabasas, CA 91302                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paula Hart                                                            Contingent
          8309 Payton                                                           Unliquidated
          Irvine, CA 92620                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Paws & Hearts                                                         Contingent
          74-854 Velie Way                                                      Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PDHS Dance Team Boosters                                              Contingent
          74910 Aztec Way                                                       Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peeler, Donald                                                        Contingent
          290 Coble Drive                                                       Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peet, Lana                                                            Contingent
          16465 Sarape Drive                                                    Unliquidated
          San Diego, Ca 92281                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.120
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pelletier Gerry                                                       Contingent
          18 Bleinham Court                                                     Unliquidated
          Thornhill, Ontario L3T5t4                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Penny Salamida                                                        Contingent
          76906 Scimitar Way                                                    Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pennycook, Rod                                                        Contingent
          31 Via Bella                                                          Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PenSys Inc.                                                           Contingent
          2440 Professional Drive Suite 100                                     Unliquidated
          Roseville, CA 95661                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Penta Building Group                                                  Contingent
          44-250 Monterey Group                                                 Unliquidated
          Palm Desert, CA 92269                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peralta, Nelson                                                       Contingent
          238 East 82nd Street                                                  Unliquidated
          Los Angeles, CA 90003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Perez Rosa                                                            Contingent
          8 Porter St.                                                          Unliquidated
          San Francisco, CA 94110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.121
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Perez, John                                                           Contingent
          8288 Kirkwood Ct                                                      Unliquidated
          Rancho Cucamonga, CA 91730                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Perfect Weather                                                       Contingent
          P.O. Box 13308                                                        Unliquidated
          Palm Desert, CA 92255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Perry, Jeffrey                                                        Contingent
          16410 Argent Road                                                     Unliquidated
          Chino Hills, CA 91709                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Perry, Shonna                                                         Contingent
          69752 Camino Pacifico                                                 Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Perusek, Gail                                                         Contingent
          1287 Summit Ave                                                       Unliquidated
          Province, OH 44107                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peterson, Dale                                                        Contingent
          3528 Ben Hogan Lane                                                   Unliquidated
          Billings, MT 59106                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Peterson, Philip                                                      Contingent
          5519 W 70th Street                                                    Unliquidated
          Edina, MN 55439                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.122
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Petrie, Ronald                                                        Contingent
          6631 Rockglen Avenue                                                  Unliquidated
          San Diego, CA 92111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Petty, Kathleen                                                       Contingent
          4335 Van Nuys Blvd # 309                                              Unliquidated
          Sherman Oaks, CA 91403                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pfeiffer, Rosemary                                                    Contingent
          5012 Palmetto Ave.                                                    Unliquidated
          Pacifica, CA 94044                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phipps Kimberly                                                       Contingent
          9 Lago De Palmas                                                      Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Piechocki, Maria                                                      Contingent
          405 Pearl St                                                          Unliquidated
          Redondo Beach, CA 90277                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PIHRA District 18 Treasurer                                           Contingent
          c/o Lund & Guttry LLP 39700 Bob Hope Dri                              Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pike Lois                                                             Contingent
          634 Hospitality Dr.                                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.123
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Piro, Leslie                                                          Contingent
          1212 Green St                                                         Unliquidated
          Glendale, CA 91205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pitney Bowes                                                          Contingent
          P.O.Box 371887                                                        Unliquidated
          Pittsburgh, PA 15250-7887                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pitney Works                                                          Contingent
          PO Box 85042                                                          Unliquidated
          Louisville, KY 40285-5042                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PKS Conversion Team                                                   Contingent
          18 Corporate Woods Blvd 4th Floor                                     Unliquidated
          Albany, NY 12211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Plaga, Julie                                                          Contingent
          1076 Jamie Drive                                                      Unliquidated
          Concord, CA 94518                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Plappert, Russ                                                        Contingent
          1750 Blackbird Circle                                                 Unliquidated
          Carlsbad, CA 92011                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Platamone, Chris                                                      Contingent
          37818 Drexell Dr                                                      Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.123
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Point 7 West                                                          Contingent
          51-025 Avenida Mendoza Suite 102                                      Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Polar Barr Air Conditioning, Inc.                                     Contingent
          41921 Beacon Hill                                                     Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Polsinelli PC                                                         Contingent
          PO Box 878681                                                         Unliquidated
          Kansas City, MO 64187-8681                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pon Gary                                                              Contingent
          232 Hawkviwe Manor Place NW                                           Unliquidated
          Calgary, Alberta t3g2z6                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ponech Bill                                                           Contingent
          1159 Glacier Drive                                                    Unliquidated
          Lethbridge, Alberta T1K3G4                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Poole, April                                                          Contingent
          3061 Buena Vista Dr                                                   Unliquidated
          Springfield, IL 62707                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Poon, Karen                                                           Contingent
          4499 Via Marisol # 237                                                Unliquidated
          Los Angeles, CA 90042                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.124
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pope, Eileen                                                          Contingent
          2101 Wilmette Ave                                                     Unliquidated
          Wilmette, IL 60091                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Posey, Wendy                                                          Contingent
          39872 Somerset Ave                                                    Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pospyhalla, Diane                                                     Contingent
          408 West Oak Street                                                   Unliquidated
          Cottage Grove, CA 53527                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Post Master                                                           Contingent
          74801 Hovley Lane East                                                Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PostNet                                                               Contingent
          74-998 Country Club Dr.                                               Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Potter Joan                                                           Contingent
          659 Oleander Dr.                                                      Unliquidated
          Los Angeles, CA 90042                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Poulin, Rebecca                                                       Contingent
          235 Lowell Street                                                     Unliquidated
          Reading, MA 01867                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.125
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Poulsen, Kathelene                                                    Contingent
          3838 Fawn Run Way                                                     Unliquidated
          Antelope, CA 95843                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Poulsen, Kathlene                                                     Contingent
          3838 Fawn Run Way                                                     Unliquidated
          Antelope, CA 95843                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Powell, Mark                                                          Contingent
          27840 Mount Triumph Way                                               Unliquidated
          Yorba Linda, CA 92887                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Poxon, Eva                                                            Contingent
          7317 Fitzsimmons Road South                                           Unliquidated
          Whistler, BC V0N1B7                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pratt, Juanita                                                        Contingent
          7475 Dancy Rd                                                         Unliquidated
          San Diego, CA 92126                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Presensoft                                                            Contingent
          720 N. Post Oak Road Suite 300                                        Unliquidated
          Houston, TX 77024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Prest Vuksic Architects                                               Contingent
          44530 San Pablo Avenue Suite 200                                      Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.125
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Price Cindy                                                           Contingent
          9971 Scripps Westview Way # 21                                        Unliquidated
          San Diego, CA 92131                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Print Technology Solutions                                            Contingent
          1600 N. Kraemer Blvd.                                                 Unliquidated
          Anaheim, CA 92806                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Priority Mailing Systems                                              Contingent
          1843 Western Way                                                      Unliquidated
          Torrance, CA 90501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Prometheus Global Media                                               Contingent
          770 Broadway 15th Floor                                               Unliquidated
          New York, NY 10003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $45.00
          Proshred Security                                                     Contingent
          Attn: Corporate Officer                                               Unliquidated
          17951 Sky Park Circle, Suite D                                        Disputed
          Irvine, CA 92614
                                                                             Basis for the claim:    Document shredding services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.126
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Proulx, Jennifer                                                      Contingent
          1830 Monterey Avenue                                                  Unliquidated
          Berkeley, CA 94707                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pry Anita                                                             Contingent
          13626 Joshua Lane                                                     Unliquidated
          Chino, CA 91710                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.126
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PS Art Museum                                                         Contingent
          101 North Museum Drive                                                Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PS Regional Association of REALTORS                                   Contingent
          4045 E. Ramon Road                                                    Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PS SunUp Rotary Foundation                                            Contingent
          31855 Date Palm Drive Suite 3-138                                     Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PSHA Attn: Clubs Fore Kids                                            Contingent
          P.O. Box 4507                                                         Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ptacek, Mary                                                          Contingent
          2748 Canarsy Ct                                                       Unliquidated
          Henderson, NV 89052                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pummill, Don                                                          Contingent
          1905 Orange Avenue Apt 1406                                           Unliquidated
          Redlands, CA 92373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pung Julie                                                            Contingent
          4535 Yorktown Lane N.                                                 Unliquidated
          Plymouth, MN 55442                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.127
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Purchase Power                                                        Contingent
          P.O. Box 856402                                                       Unliquidated
          Louisville, KY 40285-6042                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Purshe Kaplan Sterling Investments                                    Contingent
          18 Corporate Woods Blvd. 4th Floor                                    Unliquidated
          Albany, NY 12211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quagliani, Dennis                                                     Contingent
          5 University Circle                                                   Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Qualls Sheila                                                         Contingent
          32707 Dorset Ct.                                                      Unliquidated
          Temecula, CA 92592                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Qucackenbush, Larry                                                   Contingent
          P.O.Box 2199                                                          Unliquidated
          Victorville, CA 92393                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quin, Carol                                                           Contingent
          611 S Palm Canyon Dr 7316                                             Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quinteros, Joe                                                        Contingent
          27108 Calendula Street                                                Unliquidated
          Corona, CA 92883                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.127
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quirante, Margaret                                                    Contingent
          PO Box 31                                                             Unliquidated
          Joshua Tree, CA 92252                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          R & R Brodcasting                                                     Contingent
          2100 E Tahquitz Canyon Way                                            Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          R2 LLC                                                                Contingent
          P.O. Box 540731                                                       Unliquidated
          North Salt Lake, UT 84054                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rachel Zeidman                                                        Contingent
          41 Madison Avenue 33rd Floor                                          Unliquidated
          New York, NY 10010                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rachubka David                                                        Contingent
          2050 Fearn Ave.                                                       Unliquidated
          Los Osos, CA 93402                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rafael Gary                                                           Contingent
          3625 Lurline Way                                                      Unliquidated
          Santa Rosa, CA 95405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ramco Electrical Company                                              Contingent
          3645 Globe Avenue                                                     Unliquidated
          Los Angeles, CA 90066                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.128
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ramones, Sheldon                                                      Contingent
          342 Eola Drive                                                        Unliquidated
          Walnut, CA 91789                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rancho Mirage Chamber of Commerce                                     Contingent
          42520 Bob Hope Drive                                                  Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Randolph, Robert                                                      Contingent
          3136 Corte Hermosa                                                    Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ranney, Helen                                                         Contingent
          5346 Isle Royal Court                                                 Unliquidated
          West Bloomfield, MI 48323                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAP Foundation                                                        Contingent
          73710 Fred Waring Dr # 102                                            Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rapid Advance                                                         Contingent
          c/o Anthony F. Giuliano, Esq.                                         Unliquidated
          Pryor & Mandelup, LLP                                                 Disputed
          675 Old Country Rd.
          Westbury, NY 11590                                                 Basis for the claim:    Counsel to Rapid Advance. For notice purposes
                                                                             only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.129
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $278,800.00
          Rapid Advance                                                         Contingent
          4500 East West Highway, 6th Floor                                     Unliquidated
          Bethesda, MD 20814
                                                                                Disputed
          Date(s) debt was incurred Various Dates
                                                                             Basis for the claim:    Business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Rasco Jane                                                            Contingent
          39124 Channel Drive                                                   Unliquidated
          Cathedreal City, CA 92234                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Ratford Meg                                                           Contingent
          5689 Snowdon Place                                                    Unliquidated
          San Jose, CA 95138                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Rea, Charles                                                          Contingent
          315 E 67th St                                                         Unliquidated
          Kansas City, MO 64113                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $213.26
          Ready Refresh                                                         Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 856158                                                         Disputed
          Louisville, KY 40285-6158
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.129
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Rebeiro Irene                                                         Contingent
          7606 Circle Hill Dr.                                                  Unliquidated
          Oakland, CA 94605                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Reed Wanda                                                            Contingent
          1504 Saran Court                                                      Unliquidated
          Oceanside, CA 92056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.129
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reed, Leonard                                                         Contingent
          650 N. Hawes Rd Space 4612                                            Unliquidated
          Mesa, AZ 85207                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Regal Cinemas, Inc.                                                   Contingent
          P.O. Box 844360                                                       Unliquidated
          Los Angeles, CA 90084                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Regional Access Project Foundation                                    Contingent
          73710 Fred Waring Drive, #102                                         Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Registrar-Recorder                                                    Contingent
          12400 E. Imperial Highway Room 1006                                   Unliquidated
          Norwalk, CA 90606                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reid Reynolds, Janice                                                 Contingent
          2485 Westham Island Road                                              Unliquidated
          Delta, BC V4K3N2                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reiff, Elliot                                                         Contingent
          40 Crooked Stick Drive                                                Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reillyworld Inc. DBA Crystal Cleaning                                 Contingent
          P.O.Box 4216                                                          Unliquidated
          Palm Desert, CA 92261                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.130
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reiter, Joanne (Joey)                                                 Contingent
          7034 51st Ave. NE                                                     Unliquidated
          Seattle, WA 98115                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Renda, Connie                                                         Contingent
          4207 Ridgeway                                                         Unliquidated
          San Diego, CA 92116                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Resendez, Joaquin                                                     Contingent
          9826 Manhattan Dr                                                     Unliquidated
          Bakersfield, CA 93312                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Resort Parking Services, Inc.                                         Contingent
          68364 Commercial Rd Ste A                                             Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Resound Productions                                                   Contingent
          9706 Van Ruiten Street                                                Unliquidated
          Bellflower, CA 90706                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Resurreccion Eliseo                                                   Contingent
          3261 Cedar Avenue                                                     Unliquidated
          Long Beach, CA 90806                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reynaldo J. Carreon M.D. Foundation                                   Contingent
          P.O. Box 1420                                                         Unliquidated
          Indio, CA 92202                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.131
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rich, Stevan                                                          Contingent
          45354 Driftwood Dr                                                    Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard, Michael                                                      Contingent
          70 Waterview Drive                                                    Unliquidated
          La Salle, AL R0G0A2                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richards, Debra                                                       Contingent
          98 Easthom Road                                                       Unliquidated
          Gabriola Island, BC V0R1X2                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richter, Karin                                                        Contingent
          7341 Chaparral Drive                                                  Unliquidated
          Shingle Springs, CA 95682                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ricks, Sean                                                           Contingent
          517 E Park Ave # 14                                                   Unliquidated
          Santa Maria, CA 93454                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ridder, Susan                                                         Contingent
          3176 Brockon Ave                                                      Unliquidated
          Riverside, CA 92501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Riedlsperger, Max                                                     Contingent
          6640 Camino Poletti                                                   Unliquidated
          San Lius Obispo, CA 93401                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.132
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rinker Ron                                                            Contingent
          30424 Calle De Suenos                                                 Unliquidated
          Rancho Palos Verdes, CA 90275                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Riopelle, Connie                                                      Contingent
          4235 Westridge Dr                                                     Unliquidated
          Williamsburg, MI 49690                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rios, Richard                                                         Contingent
          11549 Windcrest Lane 237                                              Unliquidated
          San Diego, CA 92128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rita Hart                                                             Contingent
          9327 Donna Ave                                                        Unliquidated
          Northridge, CA 91324-2808                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rita Romero                                                           Contingent
          571 S Calle Encilia #B                                                Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rivero Builders INC                                                   Contingent
          43-650 Sentiero                                                       Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Riverside County Clerk                                                Contingent
          PO Box 751                                                            Unliquidated
          Riverside, CA 92502-0751                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.132
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Riverside County Treasurer                                            Contingent
          P.O. Box 12005                                                        Unliquidated
          Riverside, CA 92502-2205                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rizzo, Marc                                                           Contingent
          1352 Crestmont Dr.                                                    Unliquidated
          Diamond Bar, CA 91765                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ro, Sarah                                                             Contingent
          11 Summer Breeze                                                      Unliquidated
          Irvine, CA 92603                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roatcap, Donna                                                        Contingent
          26782 Calle Almanza                                                   Unliquidated
          Capistrano Beacj, CA 92624                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roberts, Sande                                                        Contingent
          PO Box 2797                                                           Unliquidated
          Arnold, CA 95223                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rogan, Christine                                                      Contingent
          4114 Elizabeth Court                                                  Unliquidated
          Cypress, CA 90630                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rogers Janet                                                          Contingent
          8980 Watson Court                                                     Unliquidated
          Delta, BC V4C8A1                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.133
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rogoff, John                                                          Contingent
          57513 Santa Rosa Trails                                               Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roland M. Ornelas                                                     Contingent
          42-349 Whisper Rock Street                                            Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roman Sheila                                                          Contingent
          9 Church Street                                                       Unliquidated
          Bowmanville, Ontario L1C1S2                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rooney, Kenneth                                                       Contingent
          42570 Tennessee                                                       Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roop, William                                                         Contingent
          14427 Crestwood Ave                                                   Unliquidated
          Poway, CA 92064                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rose, Robin                                                           Contingent
          54 Catania Lane                                                       Unliquidated
          Napa, CA 94558                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rosen, Jo                                                             Contingent
          74478 Hwy 111                                                         Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.134
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ross Biesinger                                                        Contingent
          79944 Dewsbury Drive                                                  Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roth Joan                                                             Contingent
          4007 Dogleg Tr                                                        Unliquidated
          Medina, OH 44256                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Roto-Rooter                                                           Contingent
          2141 Industrial Ct.                                                   Unliquidated
          Vista, CA 92081                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rubenstein, Jonathan                                                  Contingent
          260 Harbor St                                                         Unliquidated
          Glencoe, IL 60022                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ruggles, Kevin                                                        Contingent
          9353 Easton View Lane                                                 Unliquidated
          Rockford, IL 61107                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rumbaugh FInancial Inc                                                Contingent
          73525 El Paseo Suite 2516                                             Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryan Delaney, CFA                                                     Contingent
          20740 Via Marisa                                                      Unliquidated
          Yorba Linda, CA 92886                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.134
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryan John                                                             Contingent
          3127 SW 346th Place                                                   Unliquidated
          Federal Way, WA 98023                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryback, Steven                                                        Contingent
          6560 Oakridge Rd                                                      Unliquidated
          San Diego, CA 92120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ryter, Angela                                                         Contingent
          2005 Montana Ave                                                      Unliquidated
          Saint Paul, AL 55119                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sacks Allan                                                           Contingent
          79235 Toronja Street                                                  Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sacred Heart School                                                   Contingent
          43775 Deep Canyon Rd.                                                 Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SafeHouse of the Desert                                               Contingent
          72710 E. Lynn St.                                                     Unliquidated
          Thousand Palms, CA 92276                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAG-AFTRA
          c/o Perkins Coie LLP                                                  Contingent
          Attn: Sara L. Chenetz                                                 Unliquidated
          1888 Century Park East                                                Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:    Counsel to SAG-AFTRA. For Notice Purposes Only.
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


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 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name


 3.135
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $487,472.66
          SAG-AFTRA
          c/o Perkins Coie LLP                                                  Contingent
          Attn: Sara L. Chenetz                                                 Unliquidated
          1888 Century Park East                                                Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Saito Alyce                                                           Contingent
          75750 Heritage West                                                   Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Saito, Yoshinori                                                      Contingent
          12362 Carmel Country Rd # 202                                         Unliquidated
          San Diego, CA 92130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Salo, Laurie                                                          Contingent
          9516 Carmel Road                                                      Unliquidated
          Atascadero, CA 93422                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Salsburg, John                                                        Contingent
          811 S green Tee Road                                                  Unliquidated
          Hampstead, NC 28443                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Sammis, Annie                                                         Contingent
          606 Ansel Road                                                        Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.136
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sampson Davita                                                        Contingent
          3575 Lehigh Drive Apt.21                                              Unliquidated
          Santa Clara, AL 95051                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sanchez, Agueda                                                       Contingent
          2452 6th Ave W                                                        Unliquidated
          Seattle, WA 98119                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sanchez, Dana                                                         Contingent
          42349 Whisper Rock St.                                                Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sanders Bob                                                           Contingent
          79680 Baya                                                            Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sanders Paris                                                         Contingent
          721 W. Ave. E SPC 14                                                  Unliquidated
          Lancaster, CA 93534                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Santana, Heather J.                                                   Contingent
          8168 Manitoba Street                                                  Unliquidated
          Playa Del Rey, CA 90293                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sarna, Michele T.                                                     Contingent
          67 E. Sutton Place                                                    Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.136
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sartor Nancy                                                          Contingent
          4500 Rutgers Way                                                      Unliquidated
          Sacramento, CA 95821                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sather, Harland                                                       Contingent
          1855 Bel Aire Drive                                                   Unliquidated
          Glendale, CA 91201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Satoh, Ryusuke                                                        Contingent
          3915 Nobel Dr # 1                                                     Unliquidated
          San Diego, CA 92122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saucedo, Ray                                                          Contingent
          1351 Nettleton Ct                                                     Unliquidated
          Riverside, AL 92506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saunders Gary                                                         Contingent
          882 Balboa Lane                                                       Unliquidated
          Foster City, CA 94404                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saunders Judith                                                       Contingent
          1789 North Marengo Ave                                                Unliquidated
          Pasadena, CA 91103                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Savatski Jane                                                         Contingent
          2825 Schaefer Circle                                                  Unliquidated
          Appleton, WI 54915                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.137
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Saville Linda                                                         Contingent
          80 394 Ave 48                                                         Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Schaefer Joyce                                                        Contingent
          5421 Paseo De La Peraza                                               Unliquidated
          Tucson, AZ 85750                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Schettini-Brown, Diana                                                Contingent
          1839 E. Edgecomb St.                                                  Unliquidated
          Covina, CA 91724                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Schiliro, Lisa                                                        Contingent
          2080 Marguerite St                                                    Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Schlittner, Lisa                                                      Contingent
          1980 Rosecrest Drive                                                  Unliquidated
          Oakland, CA 94602                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Schroeder, Joan                                                       Contingent
          1117 Humbug Way                                                       Unliquidated
          Auburn, CA 95603                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Schrupp Ann                                                           Contingent
          P.O.Box 727                                                           Unliquidated
          Crosslake, MN 56442-0727                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.138
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Schultz, Suzanne                                                      Contingent
          2109 Second Avenue #4                                                 Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Science Math & Robotic Tech Edu                                       Contingent
          37623 Waveney Street                                                  Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scolaro, Bernadette                                                   Contingent
          940 Logan St.                                                         Unliquidated
          Sioux City, IA 51105                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scott Beaty                                                           Contingent
          3280 N. Sand Spring Drive                                             Unliquidated
          Palm Springs, CA 92261                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scott Russell                                                         Contingent
          45-325 Panorama Drive Apt. 13                                         Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scott, Erin                                                           Contingent
          6440 Corbin Ave.                                                      Unliquidated
          Reseda, CA 91335                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Screen Actors Guild Foundation                                        Contingent
          5757 Wilshire Blvd PH-1                                               Unliquidated
          Los Angeles, CA 90036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.138
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Seaman, Nita                                                          Contingent
          17 Flax Ct                                                            Unliquidated
          Coto de Caza, CA 92679                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Seany Foundation                                                      Contingent
          3530 Camino Del Rio N, Suite 101                                      Unliquidated
          San Diego, CA 92108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Secretary of State                                                    Contingent
          P.O. Box 944230                                                       Unliquidated
          Sacramento, CA 94244-2300                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Secretary of State, Securities Division                               Contingent
          555 East Washington Avenue                                            Unliquidated
          Las Vegas, NV 89101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Securi-Key                                                            Contingent
          78206 Varner Road #D149                                               Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Securities & Exchange Commission                                      Contingent
          Attn: Bankruptcy Counsel                                              Unliquidated
          444 South Flower St., #900                                            Disputed
          Los Angeles, CA 90071-9591
                                                                             Basis for the claim:    For notice purposes only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Securities & Exchange Commission                                      Contingent
          Attn: Bankruptcy Counsel                                              Unliquidated
          100 F Street, NE                                                      Disputed
          Washington, DC 20549
                                                                             Basis for the claim:    For notice purposes only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.139
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Security Service Systems                                              Contingent
          6733 S. sepulveda Blvd. ste 100                                       Unliquidated
          Los Angeles, CA 90045                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Selby Steve                                                           Contingent
          203 Si Town Road                                                      Unliquidated
          Castle Rock, WA 98611                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Seongsoo, Kim                                                         Contingent
          207 Saratoga Mine Dr                                                  Unliquidated
          Castle Rock, CO 80108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Settles Trish                                                         Contingent
          125 Whitman St.                                                       Unliquidated
          Stow, AL 01775                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shad Lamm                                                             Contingent
          41094 Laguna Seca Court                                               Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former Advisor. For notice purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaof, Paula                                                          Contingent
          22621 Hazeltine                                                       Unliquidated
          Mission Viejo, CA 92692                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shattuck F. Lamm                                                      Contingent
          41094 Laguna Seca Court                                               Unliquidated
          Bermuda Dunes, CA 92203                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.140
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shaw, Corinne                                                         Contingent
          1187 N Rigo Ranch Rd                                                  Unliquidated
          Prescott Valley, AZ 86314                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shay Janet                                                            Contingent
          24 Cresta Verde                                                       Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shearouse, Dixie                                                      Contingent
          471 Ellis Street                                                      Unliquidated
          Pasadena, CA 91105                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shelby, Charles                                                       Contingent
          9636 Swallow Lane                                                     Unliquidated
          Garden Grove, CA 92841                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shelter from the Storm, Inc.                                          Contingent
          73555 Alessandro Drive                                                Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shepard Cheryl                                                        Contingent
          8621 Manley                                                           Unliquidated
          Prescott Valley, AZ 86314                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shepard Dwight                                                        Contingent
          923 Chippendale Ave.                                                  Unliquidated
          Glendora, CA 91740                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.141
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sherrill Associates                                                   Contingent
          68895 Perez Road                                                      Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shive, Susan                                                          Contingent
          2160 Kimberly Ave                                                     Unliquidated
          Merced, CA 95340                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Showers Donald                                                        Contingent
          20903 Longworth Ave.                                                  Unliquidated
          Lakewood, CA 90715                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shred It                                                              Contingent
          P.O. Box 101007                                                       Unliquidated
          Pasadena, CA 91189-1007                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $113.40
          Shred-it USA LLC                                                      Contingent
          Attn: Corporate Officer                                               Unliquidated
          28883 Network Place                                                   Disputed
          Chicago, IL 60673-1288
                                                                             Basis for the claim:    Document shredding
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shustak Frost & Partners PC                                           Contingent
          Attn: Erwin J. Shustak, Esq.                                          Unliquidated
          401 W. "A" St., Ste 2250                                              Disputed
          San Diego, CA 92101
                                                                             Basis for the claim:    Counsel to Petitioning Creditors. For notice
          Date(s) debt was incurred
                                                                             purposes only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Shyu, Hsini                                                           Contingent
          3 Nidden                                                              Unliquidated
          Irvine, CA 92603                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name


 3.141
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sides Tina                                                            Contingent
          237 Phlox Ave.                                                        Unliquidated
          Redlands, CA 92373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sign-A-Rama                                                           Contingent
          41-945 Boardwalk Suite L                                              Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SIGNATURE PARTY RENTALS                                               Contingent
          82775 Market Street                                                   Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Signature Sculpture                                                   Contingent
          P.O. Box 920                                                          Unliquidated
          Palm Desert, CA 92261                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Silsbury, Kate                                                        Contingent
          585 Las Palmas Drive                                                  Unliquidated
          Santa Barbara, CA 93110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Simmons Lori                                                          Contingent
          9236 Sewall Avenue                                                    Unliquidated
          Laurel, MD 20723                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Simonis, Richard                                                      Contingent
          645 W. Calle De Julio                                                 Unliquidated
          Green Valley, AZ 85614                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.142
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Simpson, Peggy                                                        Contingent
          1215 Porto Grande Unit 1                                              Unliquidated
          Diamond Bar, CA 91765                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Simpson, Terry                                                        Contingent
          6181 Camphor Ave                                                      Unliquidated
          Westminster, CA 92683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sinclair, Char                                                        Contingent
          4488 Silver Creek Rd                                                  Unliquidated
          Buhl, ID 83316                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SingerLewak LLP                                                       Contingent
          10960 Wilshire Blvd 7th Floor                                         Unliquidated
          Los Angeles, CA 90024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sirius XM Radio, Inc.                                                 Contingent
          P.O. Box 78054                                                        Unliquidated
          Phoenix, AZ 85062-8054                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sislofsky Kammy                                                       Contingent
          13579 Laramie Ct.                                                     Unliquidated
          Fontana, CA 92336                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Skrudland Doug                                                        Contingent
          Box 3                                                                 Unliquidated
          Candle Lake, Saskatchewan S0J3E0                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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              Name

 3.143
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Slanhof, Jaroslav                                                     Contingent
          2426 Lionstone Drive                                                  Unliquidated
          Oakville, Ontario L6M4T1                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Slaughter, William                                                    Contingent
          5 Belmonte Drive                                                      Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Slee, Julia                                                           Contingent
          360 Highland Ave                                                      Unliquidated
          Somerville, MA 02144                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Slovak Baron Empey Murphy & Pinkney LLP                               Contingent
          1800 E. Tahquitz Canyon Way                                           Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $933.50
          Smarsh                                                                Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 505265                                                         Disputed
          Saint Louis, MO 63150-5265
                                                                             Basis for the claim:    Archiving/Compliance
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.143
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smiles for Seniors Foundation                                         Contingent
          34455 Yucaipa Blvd # 216                                              Unliquidated
          Yucaipa, CA 92399                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith Angela                                                          Contingent
          14901 Vanguard Lane                                                   Unliquidated
          Huntington Beach, CA 92647                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.143
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith Guy                                                             Contingent
          3121 Alki Ave SW Unit B                                               Unliquidated
          Seattle, AL 98116                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith Jeffrey                                                         Contingent
          931 Edgemont Rd. NW                                                   Unliquidated
          Calgary, Alberta 73A2J1                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith Larry                                                           Contingent
          408 N. Third Avenue                                                   Unliquidated
          Stayton, OR 97383                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith Len                                                             Contingent
          6276 Rodolph Rd                                                       Unliquidated
          Victoria, BC V8Z5V8                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith Sandy                                                           Contingent
          #27F 5757 E. University Blvd.                                         Unliquidated
          Dallas, TX 75206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith, Duane                                                          Contingent
          680 Willow Way                                                        Unliquidated
          Mechanicsburg, PA 17955-8427                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith, Esther                                                         Contingent
          37321 Melrose Drive                                                   Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.144
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith, Greg                                                           Contingent
          1321 Beryl St                                                         Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith, Robert                                                         Contingent
          PO Box 528                                                            Unliquidated
          Twin Peaks, CA 92391                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith, Sharon                                                         Contingent
          59 Demonte Ranch Parkway Ste B 337                                    Unliquidated
          Reno, NV 89521                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Smith, William & Patsy                                                Contingent
          121 Mission Hills Dr                                                  Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Snell, John                                                           Contingent
          5789 Garnet Place                                                     Unliquidated
          Nanaimo, BC V9T6S1                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Snowdeal, Carol                                                       Contingent
          6333 College Grove Way Unit # 11-101                                  Unliquidated
          San Diego, CA 92115                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sobaugh Ida                                                           Contingent
          849 Rolling Hills Drive                                               Unliquidated
          Fullerton, CA 92835                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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              Name

 3.145
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sober in the Sun Inc.                                                 Contingent
          P.O. Box 4584                                                         Unliquidated
          Palm Springs, CA 92263-4584                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SoCal PGA Junior Tour                                                 Contingent
          36201 Champions Drive                                                 Unliquidated
          Beaumont, CA 92223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Socrates Refinishing                                                  Contingent
          44901 Golf Center Pkwy Ste 3                                          Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sokol Cathy                                                           Contingent
          1179 Kingsley Lane                                                    Unliquidated
          Aurora, IL 60505                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SOL PS, LLC                                                           Contingent
          73-081 Fred Waring Dr.                                                Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Solis, Angel                                                          Contingent
          2405 W 18th St Apt #102                                               Unliquidated
          Los Angeles, CA 90019                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Solomon Window Cleaning                                               Contingent
          2201 North Deborah Road                                               Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.145
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Somers Donna                                                          Contingent
          26 Deerhaven Rd.                                                      Unliquidated
          Lincoln, MA 01773                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sommerfeld, Susan                                                     Contingent
          17708 Leemans Ct                                                      Unliquidated
          Minnetonka, MN 55346                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Soriano, Kara                                                         Contingent
          1338 N. Formosa Avenue                                                Unliquidated
          Los Angeles, CA 90046                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Soroptimist House of Hope                                             Contingent
          980 E Tahquitz Canyon Way                                             Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          South Bay Acceptance Corp.                                            Contingent
          P.O. Box 2141                                                         Unliquidated
          Columbus, GA 31902-2141                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Southern CA Gas Co.                                                   Contingent
          P.O. Box C                                                            Unliquidated
          Monterey Park, CA 91756                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,176.96
          Southern California Edison                                            Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 600                                                            Disputed
          Rosemead, CA 91771-0001
                                                                             Basis for the claim:    Electric services
          Date(s) debt was incurred Various
          Last 4 digits of account number 5355                               Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.146
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Southern California Edison                                            Contingent
          P.O. Box 300                                                          Unliquidated
          Rosemead, CA 91772-0001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Southern California Messengers                                        Contingent
          5757 Wilshire Blvd                                                    Unliquidated
          Los Angelas, CA 90036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Southwest Tile                                                        Contingent
          1757 Park View Drive                                                  Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Spectrum Business (cable TV - formerly T                              Contingent
          PO Box 60074                                                          Unliquidated
          City of Industry, CA 91716                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,152.00
          Spectrum Enterprise                                                   Contingent
          Attn: Legal Dept.                                                     Unliquidated
          1900 Blue Crest Lane                                                  Disputed
          San Antonio, TX 78247
                                                                             Basis for the claim:    Internet/Phone
          Date(s) debt was incurred Various
          Last 4 digits of account number 0201                               Is the claim subject to offset?     No       Yes


 3.147
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Spectrum Enterprise                                                   Contingent
          Attn: Legal Dept.                                                     Unliquidated
          1900 Blue Crest Ln,                                                   Disputed
          San Antonio, TX 78247
                                                                             Basis for the claim:    Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Spectrum Enterprise (Internet - formerly                              Contingent
          PO Box 223085                                                         Unliquidated
          Pittsburgh, PA 15251-2085                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.147
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Spencer, Jaamal                                                       Contingent
          4575 Carmen Way                                                       Unliquidated
          Union City, CA 94587                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Spickard Karen                                                        Contingent
          535 San Juan Dr.                                                      Unliquidated
          Durango, CO 81301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Spitzner, William                                                     Contingent
          560 Dancing Cloud Ct                                                  Unliquidated
          Reno, NV 89511                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Spradlin Don                                                          Contingent
          656 27th Street                                                       Unliquidated
          Manhattan Beach, CA 90266                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SSW Mechanical Construction                                           Contingent
          PO Box 3160                                                           Unliquidated
          Palm Springs, CA 92263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          St. Jude Heritage Medical Group
          c/o Weintraub & Selth, APC                                            Contingent
          Daniel J. Weintraub, Esq.                                             Unliquidated
          11766 Wilshire Blvd., #1170                                           Disputed
          Los Angeles, CA 90025
                                                                             Basis for the claim:    Counsel to Creditor. Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.147
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $8,405,619.00
          St. Jude Heritage Medical Group Inc                                   Contingent
          279 E. Imperial Highway Suite 750                                     Unliquidated
          Fullerton, CA 92835
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          St. Margaret's Episcopal School                                       Contingent
          47535 HWY 74                                                          Unliquidated
          Palm Springs, CA 92260                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stacey, Wagley                                                        Contingent
          4236 Meghan Lane                                                      Unliquidated
          Eagan, MN 55122                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stacie, Fletcher                                                      Contingent
          74095 Covered Wagon Trail                                             Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stallard, Sandra                                                      Contingent
          9064 Breckenridge Ave                                                 Unliquidated
          Hesperia, CA 92344                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stampfl, Lory                                                         Contingent
          7943 Sierra Vista St                                                  Unliquidated
          Rancho Cucamonga, CA 91730                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Standage Jeanette                                                     Contingent
          410 Farrel St.       Apt # 319                                        Unliquidated
          South Burlington, VT 05403                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.148
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stanton Lavina                                                        Contingent
          121 2365 Quail Run Dr.                                                Unliquidated
          Kelowna, BC V1V2N5                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Staples Credit Plan                                                   Contingent
          P.O. Box 689020                                                       Unliquidated
          Des Moines, IA 50368-9020                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Staples, Gary                                                         Contingent
          14425 443rd Ave N                                                     Unliquidated
          Plymouth, MN 55446                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Star Magazine                                                         Contingent
          P.O. Box 10940                                                        Unliquidated
          Des Moines, IA 50340-0940                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          State Board of Equalization                                           Contingent
          P.O. Box 945879                                                       Unliquidated
          Sacramento, CA 94279-0098                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          State Of New York Dept. of Financial Ser                              Contingent
          Licensing Services Bureau One Commerce                                Unliquidated
          P                                                                     Disputed
          Albany, NY 12257
                                                                             Basis for the claim:    Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stauch Bonnie                                                         Contingent
          27939 Caraway Lane                                                    Unliquidated
          Santa Clarita, CA 91350                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.149
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steadman, Jo Ann                                                      Contingent
          220 Osprey Circle                                                     Unliquidated
          Saint Marys, GA 31558                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steam King Carpet Care                                                Contingent
          P.O. Box 2878                                                         Unliquidated
          Cathedral City, CA 92235                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Steiner Kathleen                                                      Contingent
          2095 S. Ramitas Way                                                   Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stenton, Richard                                                      Contingent
          80706 Spanish Bay                                                     Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stepanick, Harvey                                                     Contingent
          # 11 -52304 RR 233                                                    Unliquidated
          Sherwood Park Alberta, Alberta T8B1C9                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephen Ross Biesinger                                                Contingent
          79944 Dewsbury Drive                                                  Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephens, Jerry                                                       Contingent
          9071 Enchanted Oak Lane                                               Unliquidated
          Sandy, UT 84094                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.150
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sterlachini, Thomas                                                   Contingent
          32140 N. Echo Canyon Rd.                                              Unliquidated
          San Tan Valley, AZ 85143                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sterling, Seymour                                                     Contingent
          48150 Keaton Way                                                      Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stevens Barbara                                                       Contingent
          72338 Rim Dr.                                                         Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stewart, Douglas                                                      Contingent
          711 W Shoshone Pl                                                     Unliquidated
          Spokane, WA 99203                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stewart, Kate                                                         Contingent
          PO Box 64                                                             Unliquidated
          Mercer Island, WA 98040                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stillman, Gene                                                        Contingent
          42.335 Washington St                                                  Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stinson, Carolyn                                                      Contingent
          PO Box 784                                                            Unliquidated
          Douglas, WY 82633                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.150
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stone, Suzanne                                                        Contingent
          410 N Newstead # 1W                                                   Unliquidated
          Saint Louis, MO 63108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stone-Falk, Ann                                                       Contingent
          2725 Kensington Ct                                                    Unliquidated
          Turlock, CA 95382                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stonebridge Ranch                                                     Contingent
          575 W. Pecos Road                                                     Unliquidated
          Chandler, AZ 85225                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Strauch, Dustin                                                       Contingent
          74468 Parosell St.                                                    Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Strecker, Neil                                                        Contingent
          22206 Tama Drive                                                      Unliquidated
          Lake Forest, CA 92630                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stroke Recovery Center                                                Contingent
          2800 East Alejo Road                                                  Unliquidated
          Palm Springs, CA 92262-6253                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stroney, Karen                                                        Contingent
          106 1st Street                                                        Unliquidated
          Dalton, PA 18414                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.151
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stuart Gary                                                           Contingent
          51450 Range Road 231                                                  Unliquidated
          Sherwood Park, Alberta T8B1K9                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stuhlman, Patti                                                       Contingent
          6517 Tingdale Ave                                                     Unliquidated
          Mpls, MN 55439                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sturgeon Kip                                                          Contingent
          P.O.Box 271                                                           Unliquidated
          Redlands, CA 92373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sullivan, Sean                                                        Contingent
          16119 24th Dr SE.                                                     Unliquidated
          Mill Creek, WA 98012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Summit Riser Systems                                                  Contingent
          15245 Alton Parkway Suite 200                                         Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sunbird Unlimited                                                     Contingent
          21801 Plummer Street                                                  Unliquidated
          Chatsworth, CA 91311                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sunderland, Timothy                                                   Contingent
          8541 San Jacinto Ct                                                   Unliquidated
          Rancho Cucamonga, CA 91711                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.152
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Suneez Window Tinting                                                 Contingent
          77852 Wildcat Drive #1                                                Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sunny's Worldwide Chaueffeured Transport                              Contingent
          23765 Pebble Run Place                                                Unliquidated
          Sterling, VA 20166                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Surety Underwriters Agency, Inc.                                      Contingent
          50 Chestnut Ridge Road                                                Unliquidated
          Montvale, NJ 07645                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Surf & Sand Hotel                                                     Contingent
          1555 S. Coast Highway                                                 Unliquidated
          Laguna Beach, CA 92651                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SurveyMonkey                                                          Contingent
          101 Lytton Avenue                                                     Unliquidated
          Palo Alto, CA 94301                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Suzuki, Takashi                                                       Contingent
          5959 Peacock Ridge Rd # 9                                             Unliquidated
          Rancho Palos Verdes, CA 90275                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Suzuki, Toshiyuki                                                     Contingent
          2391 Fenton Street                                                    Unliquidated
          Chula Vista, CA 91914                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.152
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Svobada, Julianne                                                     Contingent
          25520 Sun City Blvd                                                   Unliquidated
          Sun City, CA 92586                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sween Katie                                                           Contingent
          60749 White Sage Dr.                                                  Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sween, Katie                                                          Contingent
          60749 White Sage Dr                                                   Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sweet Pea Trust                                                       Contingent
          117 Reef Mall                                                         Unliquidated
          Marina Del Rey, CA 90292                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Swerman, Karen                                                        Contingent
          1367 6th Street                                                       Unliquidated
          Fairbanks, AK 99701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Swire Anne                                                            Contingent
          3609 Emory Way                                                        Unliquidated
          Pomona, CA 91767                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tabangcora, Jimmy                                                     Contingent
          3301 Buccaneer Rose Ave                                               Unliquidated
          Bakersfield, CA 93313                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.153
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tabb Maureen                                                          Contingent
          4575 North Ave #10                                                    Unliquidated
          San Diego, CA 92116                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tahquitz Canyon Investors, LLC                                        Contingent
          777 E. Tahquitz Canyon Way Ste 200-01                                 Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Takamori, Shinsuke                                                    Contingent
          4327 W 179th St                                                       Unliquidated
          Torrance, CA 90504                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Take 5 Cosmetics                                                      Contingent
          79405 Highway 111 Suite 9-282                                         Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Takekawa, Scott                                                       Contingent
          9829 Lee Drive                                                        Unliquidated
          Eden Prairie, MN 55347                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tamara Canedo                                                         Contingent
          80-760 Avery Drive                                                    Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tamarac Inc.                                                          Contingent
          701 Fifth Avenue                                                      Unliquidated
          Seattle, WA 98104                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.154
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tammy Hyler                                                           Contingent
          7114 Elrod Road                                                       Unliquidated
          Fairview, TN 37062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taniguchi, Yoshiyuki                                                  Contingent
          1900 Harpers Way                                                      Unliquidated
          Torrance, CA 90501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tapia, Paula                                                          Contingent
          PO Box 2568                                                           Unliquidated
          Palm Desert, CA 92261                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tarango, Deborah                                                      Contingent
          8650 SVL Box                                                          Unliquidated
          Victorville, CA 92395                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tarr, Bob                                                             Contingent
          12562 Perla Ct                                                        Unliquidated
          San Diego, CA 92128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taste of the Wild                                                     Contingent
          47900 Portola Ave                                                     Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tatum Donna                                                           Contingent
          17644 Ponderosa Way                                                   Unliquidated
          Carson, CA 90746                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.154
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taverrite, Michael                                                    Contingent
          44539 Vista Del Mar                                                   Unliquidated
          Temecula, CA 92590                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taylor Kathleen                                                       Contingent
          5195 W. Commons Ct.                                                   Unliquidated
          Rathdrum, ID 83858                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taylor Wilson                                                         Contingent
          1031 Charwood Lane                                                    Unliquidated
          Santa Ana, CA 92705                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Taylor, Blake                                                         Contingent
          212 179 Davie St                                                      Unliquidated
          Vancouver, BC V6Z2Y1                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Team Jupiter LLC c/o James Casey                                      Contingent
          787 N. Palm Canyon Drive                                              Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TelePacific Communications                                            Contingent
          P.O. Box 509013                                                       Unliquidated
          San Diego, CA 92150-9013                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Templeton, Randy                                                      Contingent
          6570 Chico Way                                                        Unliquidated
          Bremerton, WA 98312                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.155
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Terry, Cathleen                                                       Contingent
          745 Torrey Pines Place                                                Unliquidated
          Oceanside, ca 92058                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tharp John                                                            Contingent
          5722 East Mountain Ave.                                               Unliquidated
          Orange, CA 92867                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Actors Fund                                                       Contingent
          729 7th Avenue                                                        Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Bottom Line                                                       Contingent
          312 North Palm Canyon Dr.                                             Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $118.16
          The Desert Sun                                                        Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 2735                                                           Disputed
          Palm Springs, CA 92263
                                                                             Basis for the claim:    Newspaper services
          Date(s) debt was incurred Various
          Last 4 digits of account number 3917                               Is the claim subject to offset?     No       Yes


 3.156
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THE EIGHT-New Beginning NOW                                           Contingent
          78365 HWY 111 #208                                                    Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Enchanted Florist                                                 Contingent
          8126 W. 143rd Street                                                  Unliquidated
          Orland Park, IL 60462                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.156
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The First Tee                                                         Contingent
          45305 Oasis Street                                                    Unliquidated
          Indio, CA 92201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The First Tee of CV                                                   Contingent
          74-945 Sheryl Ave                                                     Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Gas Company                                                       Contingent
          P.O. Box C                                                            Unliquidated
          Monterey Park, CA 91756                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Girlfriend Factor                                                 Contingent
          77734 Country Club Drive, #E                                          Unliquidated
          Palm Desert, CA                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $673.94
          The Hartford                                                          Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 660916                                                         Disputed
          Dallas, TX 75266-0916
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.156
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,893.00
          The Irvine Company                                                    Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 841393
          Los Angeles, CA 90084-1393                                            Disputed

          Date(s) debt was incurred Rent                                     Basis for the claim:    Lease of Debtor's business premises in Irvine,
                                                                             California
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.156
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Irvine Company
          c/o R. Gibson Pagter, Esq.                                            Contingent
          Pagter and Perry Isaacson                                             Unliquidated
          525 N. Cabrillo Park Dr., #104                                        Disputed
          Santa Ana, CA 92701
                                                                             Basis for the claim:    Counsel to Creditor. For notice purposes only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Irvine Company LLC                                                Contingent
          550 Newport Center Drive                                              Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Joselyn Senior Center                                             Contingent
          73750 Catalina Way                                                    Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Lincoln National Life Insurance Comp                              Contingent
          P.O. Box 0821                                                         Unliquidated
          Carol Stream, IL 60132-0821                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Living Desert                                                     Contingent
          47900 Portola Ave.                                                    Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The LPGA Foundation                                                   Contingent
          100 International Golf Dr.                                            Unliquidated
          Daytona Beach, FL 00032-1124                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The NestEggg Group, LLC                                               Contingent
          258 North Palm Canyon Drive                                           Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes


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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name


 3.157
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Pet Rescue Center                                                 Contingent
          P.O.Box 6570                                                          Unliquidated
          La Quinta, CA 92248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Pinnacle Fund Foundation for PS                                   Contingent
          980 E Tahquitz Canyon Way Suite 104                                   Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Printing Place                                                    Contingent
          41651 Corporate Way Suite 5                                           Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Public Record                                                     Contingent
          78-370 HWY 111                                                        Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The SCGA Foundation                                                   Contingent
          3740 Cahuenga Blvd                                                    Unliquidated
          Studio City, CA 91604                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          The Unforgettables Foundation                                         Contingent
          7197 Brockton Ave.                                                    Unliquidated
          Riverside, CA 92506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thermal Sports Marketing LLC                                          Contingent
          P.O.Box 2102                                                          Unliquidated
          Palm Desert, CA 92261                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.158
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thibeault, Ron                                                        Contingent
          Box 6706                                                              Unliquidated
          Bonnyville, Alberta T9N2H2                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thiel, Elizabeth                                                      Contingent
          4506 Carlyle Ct # 723                                                 Unliquidated
          Santa Clara, CA 95054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomas Robert                                                         Contingent
          38351 Crocus Lane                                                     Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thompson, Lori                                                        Contingent
          1873 Menlo Ave                                                        Unliquidated
          Clovis, CA 93611                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomson Compumark                                                     Contingent
          PO Box 71892                                                          Unliquidated
          Chicago, IL 60694-1892                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thomson Reuters (Markets) LLC                                         Contingent
          PO Box 415983                                                         Unliquidated
          Boston, MA 02241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Thornhill Sue                                                         Contingent
          16311 Underhill Lane                                                  Unliquidated
          Huntington Beach, CA 92647                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.159
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Through Kyle's Eyes                                                   Contingent
          40485 Murrieta Hot Springs Road #211                                  Unliquidated
          Murrieta, CA 92563                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timothy Evans                                                         Contingent
          29286 Greenbrier Place                                                Unliquidated
          Highlands, CA 92346                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tiryakian, Gregg                                                      Contingent
          1442 W Fullerton Ave Unit 4C                                          Unliquidated
          Chicago, IL 60614                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TK Electric                                                           Contingent
          68 300 Tachevah Drive                                                 Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Todd Daryl                                                            Contingent
          17500 Wilson Creek Road                                               Unliquidated
          Gallatin Gateway, MT 59730                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tokeim, Sara                                                          Contingent
          20 E. Zeller Street                                                   Unliquidated
          North Liberty, IA 52317                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tolen, Marilyn                                                        Contingent
          12667 Yorkshire Drive                                                 Unliquidated
          Apple Valley, CA 92308                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.159
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tolliver, Robert                                                      Contingent
          30 Del Padre                                                          Unliquidated
          Foothill Ranch, CA 92610                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tolstedt Ron                                                          Contingent
          1852 Prestwick Ct                                                     Unliquidated
          Oxford, MI 48371                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tonita, Gary                                                          Contingent
          2930 Apple Lane                                                       Unliquidated
          Windsor, Ontario N8R1K6                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Top of the Line Signs                                                 Contingent
          75-178 Gerald Ford Dr Suite 4                                         Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Torres, Nancy                                                         Contingent
          1601 N Barton Rd Apt # 2404                                           Unliquidated
          Redlands, CA 92373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Toundasakis Daphne                                                    Contingent
          2529 Emerald Lake Lane                                                Unliquidated
          Elk Grove, CA 95758                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Towill, Doug                                                          Contingent
          1085 Braeside Street                                                  Unliquidated
          West Vancouver, BC V7T2K7                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.160
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,476.92
          TPX Communications                                                    Contingent
          Attn: Corporate Officer                                               Unliquidated
          515 S. Flower St., 47th Fl.                                           Disputed
          Los Angeles, CA 90071-2201
                                                                             Basis for the claim:    Communications services
          Date(s) debt was incurred Various
          Last 4 digits of account number 9140                               Is the claim subject to offset?     No       Yes


 3.160
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TPX Communications                                                    Contingent
          PO Box 509013                                                         Unliquidated
          San Diego, CA 92150-9013                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tracy, Brian                                                          Contingent
          345 Desert Falls Drive East                                           Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tracy, Michael                                                        Contingent
          16390 W 51st Ave                                                      Unliquidated
          Golden, CO 80403                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Training Consultants                                                  Contingent
          P.O Box 20260                                                         Unliquidated
          Fountain View, CA 92708                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Travelers CL Remittance Center                                        Contingent
          P.O. Box 660317                                                       Unliquidated
          Dallas, TX 75266-0317                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Traynor, WIlliam                                                      Contingent
          830 Carnegie # 411                                                    Unliquidated
          Henderson, NV 89052                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.161
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trinity, Rose                                                         Contingent
          36679 Las Begonias                                                    Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Trocha, Laura                                                         Contingent
          26518 Big Horn Way                                                    Unliquidated
          Valencia, CA 91354                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Troutman Sanders LLP                                                  Contingent
          5 Park Plaza Suite 1400                                               Unliquidated
          Irvine, CA 92614                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Troy's Painting                                                       Contingent
          23011 Moulton Parkway Suite H3                                        Unliquidated
          Laguna Hills, CA 92653                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Truelogic LLC                                                         Contingent
          4590 MacArthur Blvd #500                                              Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $90.00
          Truly Nolen of America                                                Contingent
          Attn: Corporate Officer                                               Unliquidated
          68828 Ramon Rd.                                                       Disputed
          Cathedral City, CA 92234-3369
                                                                             Basis for the claim:    Pest control services
          Date(s) debt was incurred Various
          Last 4 digits of account number 1272                               Is the claim subject to offset?     No       Yes


 3.161
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Truly Nolen of America, Inc                                           Contingent
          P.O. Box 12310,                                                       Unliquidated
          Palm Desert, CA 92255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.161
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tschierschwitz Sepp                                                   Contingent
          17777 Langlois Rd Unit 99                                             Unliquidated
          Desert Hot Springs, CA 92241                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tseng, Joe                                                            Contingent
          2255 Melville                                                         Unliquidated
          San Marino, CA 91108                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tsuru Kazuhiro                                                        Contingent
          1800 Oak Street Unit 619                                              Unliquidated
          Torrance, CA 90501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tucker, Buddy                                                         Contingent
          PO Box 2690                                                           Unliquidated
          McCall, AL 83638                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tucker, Neil                                                          Contingent
          21 Celestial Gardens                                                  Unliquidated
          Lewisham SE135RP, London .                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Turner, Elizabeth                                                     Contingent
          PMB 214 14080 Oalm Dr Ste D                                           Unliquidated
          Desert Hot Springs, CA 92240                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Turner, Kevin                                                         Contingent
          5645 Verdun Ave                                                       Unliquidated
          Los Angeles, CA 90043                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.162
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tyer Michael                                                          Contingent
          11949 Riverside Dr. #33                                               Unliquidated
          Lakeside, CA 92040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          U.S. Postal Service                                                   Contingent
          1133 Camelback Street                                                 Unliquidated
          Newport Beach, CA 92658-9998                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Uemura, Robert                                                        Contingent
          15515 Manhattan Pl                                                    Unliquidated
          Gardena, CA 90249                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ulmer and Berne LLP                                                   Contingent
          1660 West Second Street Suite 1100                                    Unliquidated
          Cleveland, OH 44113                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          United Cancer Research Society                                        Contingent
          P.O. Box 271                                                          Unliquidated
          Redlands, CA 92373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          United Cerebral Palsy Inland Empire                                   Contingent
          35-325 Date Palm Drive Suite 139                                      Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $134.04
          United Parcel Service (UPS)                                           Contingent
          Attn: Legal Dept.                                                     Unliquidated
          PO Box 894820                                                         Disputed
          Los Angeles, CA 90189-4820
                                                                             Basis for the claim:    Shipping services
          Date(s) debt was incurred Various
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
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 3.163
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          United States Treasury                                                Contingent
          Internal Revenue Service                                              Unliquidated
          Ogden, UT 84201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          United Telecom                                                        Contingent
          4221 Wilshire Blvd # 140                                              Unliquidated
          Ogden, CA 90010                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          United Way of the Desert                                              Contingent
          P.O. Box 1990                                                         Unliquidated
          Los Angeles, CA 92263                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Unum                                                                  Contingent
          655 N. Central Avenue                                                 Unliquidated
          Palm Springs, CA 91203                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          UPS                                                                   Contingent
          P.O. Box 894820,                                                      Unliquidated
          Los Angeles, CA 90189-4820                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          UPS Supply Chain Solutions                                            Contingent
          28013 Network Place                                                   Unliquidated
          Los Angeles, IL 60673                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ura, Koji                                                             Contingent
          19001 South Western Avenue                                            Unliquidated
          Torrance, CA 90501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.163
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Urban Garden                                                          Contingent
          P.O. Box 3272                                                         Unliquidated
          Chicago, CA 90212                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Urbaniak Michele                                                      Contingent
          253 N. Rafael Walk                                                    Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          US Bank                                                               Contingent
          PO BOX 790401                                                         Unliquidated
          Beverly Hills, MO 63179                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          USPS (Newport Business Reply mail)                                    Contingent
          1133 Camelback St                                                     Unliquidated
          Venice, CA 92658-9998                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          USPS - Hovely Office                                                  Contingent
          74801 Hovely Ln East                                                  Unliquidated
          ST Louis, CA 92260-1921                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          USPS - Marina Del Rey                                                 Contingent
          313 Grand Blvd.                                                       Unliquidated
          Palm Desert, CA 90291                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          USPS Palm Desert Business Reply Mail Att                              Contingent
          74801 Hovley Lane                                                     Unliquidated
          Newport Beach, CA 92260                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.164
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ustin Karen                                                           Contingent
          200 Netherby Place                                                    Unliquidated
          Pleasant Hill, CA 94523                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vachon Leo                                                            Contingent
          3719 Marine Vista                                                     Unliquidated
          Cabo Hill, B.C. V0R1L1                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Valley Plumbing                                                       Contingent
          78886 Avenue 41                                                       Unliquidated
          Palm Desert, CA 92203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Van Gelder, Jean                                                      Contingent
          12 Hidden Spring Place NW                                             Unliquidated
          Calgary, Alberta T3A5H6                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Van Rensburg, Elaine                                                  Contingent
          4841 Maytime Lane                                                     Unliquidated
          Culver City, CA 90230                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Van Riper, Don                                                        Contingent
          1768 Round Tree Dr                                                    Unliquidated
          Oceanside, CA 92056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Van's Gourmet                                                         Contingent
          2520 Mira Mar Avenue                                                  Unliquidated
          Bermuda Dunes, CA 90815-1758                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.165
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VanderLey P                                                           Contingent
          501-1819 Pendrell Street                                              Unliquidated
          Vancouver, BC V6G1T3                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VanHove Lori                                                          Contingent
          P.O.Box 813                                                           Unliquidated
          Wrightwood, CA 92397                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Variety Childrens Charity of Desert                                   Contingent
          74-040 Hwy 111 Suite JJ-4                                             Unliquidated
          Long Beach, CA 92260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Variety The Children's Charity of the                                 Contingent
          74040 HWY 111 STE. JJ-4                                               Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Varney, Paula                                                         Contingent
          305 Michelle Linnea Dr Apt 19                                         Unliquidated
          Charlotte, NC 28262                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Varni, Douglas                                                        Contingent
          PO Box 705                                                            Unliquidated
          Weimar, CA 95736                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vassios, Calista                                                      Contingent
          45-350 Taos Cove                                                      Unliquidated
          Indian Wells, CA 92210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.166
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vaughan Jim                                                           Contingent
          5461 Soapweed Circle                                                  Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Velaquez Jr, Thomas                                                   Contingent
          25817 Van Leuven St Apt # 145                                         Unliquidated
          Loma Linda, CA 92354                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Verizon                                                               Contingent
          PO Box 920041                                                         Unliquidated
          Dallas, TX 75392-0041                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Verizon Wireless                                                      Contingent
          P.O. Box 660108                                                       Unliquidated
          Dallas, TX 75266-0108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Victor Margaret                                                       Contingent
          17713 Beach Dr. N.E.                                                  Unliquidated
          Lake Forest Park, WA 98155                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Villagran Sherry                                                      Contingent
          2216 Dayton Avenue N.E.                                               Unliquidated
          Renton, WA 98056                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Viox Diann                                                            Contingent
          6220 Roy Street                                                       Unliquidated
          Los Angeles, CA 90042                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.166
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vogt, Jane                                                            Contingent
          730 Stinson Blvd #525                                                 Unliquidated
          Minneapolis, MN 55413                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Voigt Jackie                                                          Contingent
          19908 W. 99th Ct.                                                     Unliquidated
          Lenexa, KS 66220                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vox Femina Los Angeles                                                Contingent
          3341 Caroline Avenue                                                  Unliquidated
          Culver City, CA 90232                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Waldo, Dan                                                            Contingent
          5182 Upperhill Dr.                                                    Unliquidated
          Riverside, CA 92507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Walker Addy                                                           Contingent
          2424 Peppertree Lane                                                  Unliquidated
          Riverside, CA 92506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Walsh, Donna                                                          Contingent
          1233 Lodgepole Dr                                                     Unliquidated
          Hemet, CA 92545                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Walton, Thomas                                                        Contingent
          25611 Quail Run #60                                                   Unliquidated
          Dana Point, CA 92629                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.167
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Waltrip, Kim                                                          Contingent
          47815 Via Firenze                                                     Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ward Linda                                                            Contingent
          5174 Walsh Way                                                        Unliquidated
          San Diego, CA 92115                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ward Neville, Johanna                                                 Contingent
          827 Proctor Wynd                                                      Unliquidated
          Edmonton, Alberta T5T6J3                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ward, Matthew                                                         Contingent
          4035 Verde Vista Drive                                                Unliquidated
          Thousand Oaks, CA 91360                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Warren, Pamela                                                        Contingent
          PO Box 1846                                                           Unliquidated
          Murphys, CA 95247                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Waterhouse, Margaret                                                  Contingent
          4 Woodside Glen Ct.                                                   Unliquidated
          oakland, CA 94602                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Watson, Geraldine                                                     Contingent
          22303 Wax Orchard Rd SW                                               Unliquidated
          Vashon, WA 98070                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.168
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wave AV System Design                                                 Contingent
          37535 Melbourne Street                                                Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wawrzyniak, Judy                                                      Contingent
          93 Akron Street                                                       Unliquidated
          Lockport, NY 14094                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wayne Duncan Insurance                                                Contingent
          13160 Mindanao                                                        Unliquidated
          Marina Del Ray, CA 90292                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wayne, Sandra                                                         Contingent
          12281 Coach                                                           Unliquidated
          Galesburg, MI 49053                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Webb Sharon                                                           Contingent
          2392 N. Eaton Ct.                                                     Unliquidated
          Orange, CA 92867                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Webb Susan                                                            Contingent
          6457 El Capitan Way                                                   Unliquidated
          Livermore, CA 94551                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Weiler, William                                                       Contingent
          333 Canterbury Drive                                                  Unliquidated
          Surrey, BC V3SOJ4                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.168
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Weimann Donald                                                        Contingent
          5738 Roanwood Way                                                     Unliquidated
          Concord, AL 94521                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Weisgerber, Bruce                                                     Contingent
          103 Prairie Dr NE                                                     Unliquidated
          Medicine Hat, AB T1C1S3                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Welch, Lorrie                                                         Contingent
          266-D Rancho Drive                                                    Unliquidated
          Chula Vista, CA 91911                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wessman Holdings LLC                                                  Contingent
          555 S. Sunrise Way Suite 200                                          Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          West Lynda                                                            Contingent
          17879 El Mineral Rd                                                   Unliquidated
          Perris, CA 92570                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          West, Dennis                                                          Contingent
          50 Hamlock Dr                                                         Unliquidated
          Belleville, IL 62221                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Westmacott, Rick                                                      Contingent
          167 Whitegates Cres.                                                  Unliquidated
          Winnipeg, Manitoba R3K1L1                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.169
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Westside Window Washers                                               Contingent
          12203 West Pico Blvd.                                                 Unliquidated
          Los Angeles, CA 90064                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wettstein, William                                                    Contingent
          2406 Apache Ct                                                        Unliquidated
          Janesville, WI 53545                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Whalen Renee                                                          Contingent
          281 Herman Street                                                     Unliquidated
          San Francisco, CA 94117                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Whaley Terri                                                          Contingent
          42935 Tennessee Ave.                                                  Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Whelan Laurie                                                         Contingent
          35 Ridgeview Cirlcle Court                                            Unliquidated
          Ballwin, MO 63021                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          White, Veronica                                                       Contingent
          18 Carr Street                                                        Unliquidated
          Lakewood, CO 80226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Whitlock, Thomas A.                                                   Contingent
          7332 Marina Pacifica Dr North Key # 11                                Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.170
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wilde, Jeanne                                                         Contingent
          430 Wagtail Dr                                                        Unliquidated
          Tracy, CA 95376                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wilhemsen, Larry                                                      Contingent
          2251 Cascade Way                                                      Unliquidated
          Longview, WA 98632                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wilkins Karen                                                         Contingent
          5402 E. McKellips Lot # 237                                           Unliquidated
          Mesa, AZ 85215                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wilkinson, Sarah                                                      Contingent
          600 State Street                                                      Unliquidated
          Portsmouth, NH 03801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Williams Duaine                                                       Contingent
          40188 Via Sonoro                                                      Unliquidated
          Murrieta, CA 92562                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Williams Jeannette                                                    Contingent
          30611 Sparrow Hawk Dr.                                                Unliquidated
          Sun City, CA 92587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Williams Lynn                                                         Contingent
          2727 De Anza Rd. #M-18                                                Unliquidated
          San Diego, CA 92109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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 3.170
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Williams, Justin                                                      Contingent
          1505 Sapphire Dr                                                      Unliquidated
          Carlsbad, CA 92011                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Williamson Adams                                                      Contingent
          936 Detroit Ave Suite G                                               Unliquidated
          Concord, CA 94518                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wilson Jacalyn                                                        Contingent
          67694 S. Natoma Dr.                                                   Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wilson, Sue                                                           Contingent
          16910 15th Avenue NE                                                  Unliquidated
          Shoreline, WA 98155                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Winkler, Jeffrey                                                      Contingent
          16357 Heathfield Dr                                                   Unliquidated
          Whittier, CA 90603                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wolerman Roberta                                                      Contingent
          P.O.Box 19297                                                         Unliquidated
          Newbury, CA 91319                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wolf, Robert                                                          Contingent
          3769 Arapaho Pl                                                       Unliquidated
          Carlsbad, CA 92010                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.171
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wolman, David                                                         Contingent
          12 Porto Cielo Ct                                                     Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Women Leaders Forum                                                   Contingent
          74923 Highway 111                                                     Unliquidated
          Indian Wells, CA 92210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Women's and Children's Crisis Shelter                                 Contingent
          12519-A Washington Blvd.                                              Unliquidated
          Whittier, CA 90602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wonderstar Productions, LLC                                           Contingent
          47815 Via Firenze                                                     Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wong, Dale                                                            Contingent
          12901 Cherokee Rd                                                     Unliquidated
          Rancho Cucamonga, CA 91739                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wong, Mark                                                            Contingent
          1904 Carnegie Ln # 1                                                  Unliquidated
          Redondo Beach, CA 90278                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wong, Robert                                                          Contingent
          1970 Marino Terrace                                                   Unliquidated
          San Marino, CA 91108                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.172
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Woodbridge, Cheryl                                                    Contingent
          81416 Camino los Milagros                                             Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Woods, Jo-Ann                                                         Contingent
          5660 Pray St                                                          Unliquidated
          Bonita, AL 91902                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wootton Diane                                                         Contingent
          828 Via Covello                                                       Unliquidated
          Santa Barbara, CA 93110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WORTH                                                                 Contingent
          PO Box 55421                                                          Unliquidated
          Boulder, CO 80322-5421                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Worthington, Clint                                                    Contingent
          717 Alder Street                                                      Unliquidated
          Edmonds, WA 98020                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Woyak, Candice                                                        Contingent
          2461 Monroe St                                                        Unliquidated
          Eugene, OR 97405                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wright Design Group                                                   Contingent
          125 East Tahquitz Canyon Way                                          Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.173
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wright, Raquel                                                        Contingent
          3319 Lemon Ave                                                        Unliquidated
          Signal Hall, CA 90755                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WSCGA Foundation                                                      Contingent
          402 W Arrow Highway Suite 10                                          Unliquidated
          San Dimas, CA 91773                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wylie, Mitch                                                          Contingent
          720 Castleton Lane                                                    Unliquidated
          Eagan, MN 55123                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wyman, James                                                          Contingent
          27861 Cherry Creek Dr.                                                Unliquidated
          Valencia, CA 91354                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wyndham Electric                                                      Contingent
          44-486 Acacia Drive                                                   Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Wyrick, Carla                                                         Contingent
          3090 Seclusion Cove Drive                                             Unliquidated
          Anchorage, AK 99525                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Xerox Attn: Corporate Officer                                         Contingent
          P.O. Box 202882,                                                      Unliquidated
          Dallas, TX 75320-2882                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
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 3.173
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Xerox Corporation                                                     Contingent
          P.O.Box 7405                                                          Unliquidated
          Pasadena, CA 91109-7405                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Xerox Financial Services                                              Contingent
          45 Glover Ave.                                                        Unliquidated
          Norwalk, CT 06850-1238
                                                                                Disputed
          Date(s) debt was incurred 9/15/2015
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ximenez Mary Theresa                                                  Contingent
          4511 Finley Avenue                                                    Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Xponential Growth Attn: X Growth Solutio                              Contingent
          110 West C St Suite 2001                                              Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Xpress Graphics & Printing                                            Contingent
          42335 Washington Street Suite F                                       Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yamada, Fusayo                                                        Contingent
          18791 Caminito Pasadero # 83                                          Unliquidated
          San Diego, CA 92128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yamauchi, Atsushi                                                     Contingent
          55 Reunion                                                            Unliquidated
          Irvine, CA 92880                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.174
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yamazaki, Kaori                                                       Contingent
          234 S Figueroa St                                                     Unliquidated
          ., . .                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yamazaki, Makoto                                                      Contingent
          2801 Sepulveda Blvd Unit 113                                          Unliquidated
          Torrance, AL 90505                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yeatts, Paulette                                                      Contingent
          64 South Garfield St                                                  Unliquidated
          Denver, CO 80209                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yip, Theresa                                                          Contingent
          5831 Holstein Way                                                     Unliquidated
          Sacramento, CA 95822                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yonekawa, Tatsuya                                                     Contingent
          2048 W 181st St                                                       Unliquidated
          Torrance, CA 90504                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yoon, Jeongwon                                                        Contingent
          2800 Plaza Del Amo #331                                               Unliquidated
          Torrance, CA 90503                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yosemite Waters                                                       Contingent
          226 S. Avenue 54                                                      Unliquidated
          Los Angeles, CA 90042                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.175
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yoshida Naohiro                                                       Contingent
          26628 Whitehorn Dr.                                                   Unliquidated
          Rancho Palos Verdes, CA 90275                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yoshida, Hidenori                                                     Contingent
          6525 Beachview Dr                                                     Unliquidated
          R.P.V., CA 90275                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yoshikawa, Kazuhiro                                                   Contingent
          26100 Narbonne Ave #18                                                Unliquidated
          Lomita, CA 90717                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Young, Ronald                                                         Contingent
          PO Box 39                                                             Unliquidated
          Brownsville, VT 05037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Your News Inc.                                                        Contingent
          P.O. Box 68                                                           Unliquidated
          Dallas, OR 97338                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Your People Professionals                                             Contingent
          2605 S. MIller Street Suite 107                                       Unliquidated
          Santa Maria, CA 93455                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Your Promotional Products                                             Contingent
          PMB 228                                                               Unliquidated
          Palm Desert, CA 92211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
 Debtor       corporation                                                                             Case number (if known)            6:17-bk-15816-MH
              Name

 3.175
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yu, Cody                                                              Contingent
          20616 Buckland Dr                                                     Unliquidated
          Walnut, CA 91789                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yuan, Tengman                                                         Contingent
          1155 Winston Ave                                                      Unliquidated
          San Marino, CA 91108                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Yuke Charlene                                                         Contingent
          5512 Castleford Way                                                   Unliquidated
          Elk Grove, CA 95758                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zach Self Graphic Design                                              Contingent
          3730 Midvale Avenue Apt 11                                            Unliquidated
          Los Angeles, CA 90034                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zaia, Anthony                                                         Contingent
          41595 Deanna Ranch Rd                                                 Unliquidated
          Murrieta, CA 92562                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zaragoza Gonzalo                                                      Contingent
          1332 S. 4th Ave                                                       Unliquidated
          Yuma, AZ 85364                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Zeile, Sammee                                                         Contingent
          40485 Camino Montecito                                                Unliquidated
          Indio, CA 92203                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Integrated Wealth Management, Inc., a California
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              Name

 3.176
 5         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Zimmerman, Marilyn                                                   Contingent
           POB 669                                                              Unliquidated
           Northport, MI 49670                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.176
 6         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Zingle Linda                                                         Contingent
           726 Allendale St.                                                    Unliquidated
           Santa Fe, NM 87505                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.176
 7         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Zukowski, Michael                                                    Contingent
           6 Victorian Lane                                                     Unliquidated
           Medford, NY 11763                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        3,993.08
 5b. Total claims from Part 2                                                                            5b.   +    $                   11,337,770.73

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      11,341,763.81




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